                         IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                    NORTHERN DIVISION


     In re:                                                       Chapter 11

     REMINGTON OUTDOOR COMPANY, INC.,                             Case No. 20-81688-11
     et al.,1
                                                                  Joint Administration Requested
                                 Debtors.


             DEBTORS’ MOTION FOR (I) AN ORDER ESTABLISHING BIDDING
                PROCEDURES AND GRANTING RELATED RELIEF AND
     (II) AN ORDER OR ORDERS APPROVING THE SALE OF THE DEBTORS’ ASSETS

              Remington Outdoor Company, Inc. (“Remington” or the “Company”), and its affiliated

 debtors and debtors in possession in the above-captioned Chapter 11 cases (collectively, the

 “Debtors”) seek entry of an order, substantially in the form attached hereto as Exhibit A (the

 “Bidding Procedures Order”), (i) approving the proposed bidding procedures attached hereto as

 Exhibit B (the “Bidding Procedures”) by which the Debtors will solicit and select the highest or

 otherwise best offer for the sale of substantially all or a portion of their assets (the “Acquired

 Assets”) through one or more sales of the Acquired Assets (each, a “Sale Transaction” or “Sale”);

 (ii) establishing procedures for the assumption and assignment of executory contracts and

 unexpired leases, including notice of proposed cure amounts (the “Assumption and Assignment

 Procedures”); (iii) approving the form and manner of notice with respect to certain procedures,

 protections, schedules, and agreements described herein and attached hereto, including the



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   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.


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 Debtors’ selection of one or more stalking horse bidders (each, a “Stalking Horse Bidder”), if

 any, and the provision of Bid Protections (as defined below) to such Stalking Horse Bidder, if

 necessary; (iv) authorizing but not directing the Debtors’ use of a portion of the sale proceeds to

 pay the Priority Term Loan Obligations and a portion of the FILO Term Loan Obligations; (v)

 scheduling (a) an auction (the “Auction”) if the Debtors receive two (2) or more timely and

 acceptable Qualified Bids (as defined below), and (b) a final hearing (the “Sale Hearing”) to

 approve one or more Sales of the Acquired Assets; and (vi) granting related relief. The Debtors

 further request that, at the Sale Hearing, this Court enter an order or orders (each, a “Sale Order”),

 a proposed version of which will be filed before the Sale Hearing, (x) authorizing the sale of the

 Acquired Assets free and clear of liens, claims, interests, and encumbrances (collectively, the

 “Interests”); (y) authorizing the assumption and assignment of certain executory contracts and

 unexpired leases; and (z) granting related relief. In support of this motion (this “Motion”), the

 Debtors respectfully state as follows:

                                  PRELIMINARY STATEMENT

         1.      By this Motion, the Debtors seek authority to continue a marketing and sale process

 to sell all or substantially all of their Acquired Assets to maximize the value of the Debtors’ estates

 for their creditors.

         2.      Prior to the commencement of the Chapter 11 Cases (as defined below), the Debtors

 spent significant time and effort addressing their numerous balance sheet and operational

 challenges, including soliciting interest from potential investors and buyers. After exploring a

 number of alternative transaction structures and extensive good faith negotiations spanning

 approximately seven months, the Debtors are close to reaching an agreement with potential

 purchasers for the sale of a substantial portion of the Debtors’ assets as a going concern. While

 negotiations are not quite final, the Debtors anticipate designating one or more stalking horse


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 bidders (each, a “Stalking Horse Bidder”) for the various segments of its business shortly after

 the Petition Date (as defined below).

         3.     The Debtors commenced the Chapter 11 Cases with a view toward ensuring that

 the sale process for the sale of substantially all of their assets on a going concern basis maximizes

 the value to their estates, and best protects the interests of their employees, as well as secured and

 unsecured creditors. The Debtors believe that the Bidding Procedures for which they hereby seek

 approval are designed to maximize purchasers’ participation in the Sale while maintaining

 maximum optionality for the Debtors and their stakeholders and are both a valid exercise of the

 Debtors’ business judgment and consistent with their fiduciary obligations to their stakeholders.

         4.     The Debtors seek approval of a sale process that (i) is open to all potential bidders,

 including third parties and current holders of debt in the Debtors’ capital structure; (ii) protects the

 best interests of the Debtors’ estates and stakeholders; and (iii) preserves the Debtors’ right to

 exercise their fiduciary duties should a value-maximizing alternative materialize, including a plan

 of reorganization. This approach is grounded in the Debtors’ belief that conducting a fair and

 robust auction at this time is the most viable option to maximize the distributable value of their

 assets and elicit a market test of the bid offered by any Stalking Horse Bidder. Additionally, the

 Debtors’ secured creditors are supportive of the sale process. For all of the foregoing reasons and

 those set forth herein, the Debtors believe the sale process embodied in the Bidding Procedures is

 a valid exercise of their business judgment, is in the best interests of their estates and creditors,

 and should be approved.

                                           JURISDICTION

         5.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334,

 and the General Order of Reference of the United States District Court for the Northern District




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 of Alabama dated July 16, 1984, as amended July 17, 1984. This matter is a core proceeding

 within the meaning of 28 U.S.C. § 157(b)(2).

         6.    Venue in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         7.    The predicates for the relief requested herein are Sections 105, 363, and 365 of title

 11 of the United States Code (the “Bankruptcy Code”); and rules 2002, 6004, and 6006 of the

 Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                        BACKGROUND

 A.      General Background

         8.    On the date hereof (the “Petition Date”), each of the Debtors commenced a

 voluntary case under Chapter 11 of Bankruptcy Code with the United States Bankruptcy Court for

 the Northern District of Alabama (the “Bankruptcy Court”). Pursuant to Sections 1107(a) and

 1108 of the Bankruptcy Code, the Debtors are continuing to manage their financial affairs as

 debtors-in-possession.

         9.    Contemporaneously herewith, the Debtors filed a motion seeking joint

 administration of their Chapter 11 cases (the “Chapter 11 Cases”) pursuant to Bankruptcy

 Rule 1015(b). As of the date hereof, the United States Bankruptcy Administrator for the Northern

 District of Alabama (the “Bankruptcy Administrator”) has not appointed any official committee

 of unsecured creditors in the Chapter 11 Cases pursuant to Section 1102 of the Bankruptcy Code

 (a “Committee”). No trustee, examiner, or other statutory committee has been appointed in the

 Chapter 11 Cases.

         10.   Founded in 1816, Remington and its subsidiaries are among America’s oldest and

 largest manufacturer of firearms, ammunition, and related products for commercial, military, and

 law enforcement customers. The Debtors own a diverse portfolio of category-defining brands,




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 including Remington, Marlin, Bushmaster, Barnes Bullets, Advanced Armament Corp., and

 Dakota Arms.

         11.     On March 25, 2018, after experiencing a significant decline in sales and revenues,

 Remington and certain of its subsidiaries filed voluntary petitions for relief under Chapter 11 of

 the Bankruptcy Code in the United States Bankruptcy Court for the District of Delaware (the

 “Prior Cases”) to implement a comprehensive balance sheet restructuring pursuant to a joint

 prepackaged plan of reorganization. The Debtors confirmed their Joint Prepackaged Chapter 11

 Plan of Remington Outdoor Company, Inc. and its Affiliated Debtors and Debtors in Possession

 on May 4, 2018, and emerged from the Prior Cases on May 15, 2018 with a more streamlined

 capital structure.

         12.     Although the Prior Cases restructured the balance sheet, the Debtors emerged from

 the Prior Cases with an elevated level of inventory and a wide range of brands that extended the

 Debtors beyond their core focus. Most importantly, the unfavorable business trends continued

 after exit from the Prior Cases.

         13.     In order to provide the Debtors more runway, in late 2018 and early 2019, the

 Debtors commenced a robust process to refinance its existing asset based credit facility (the “Exit

 ABL Facility”) as a means to alleviate covenant concerns and provide new capital. The Debtors

 engaged Ducera Partners LLC, and, where appropriate, Ducera Securities LLC (“Ducera”), to

 advise the Debtors and market the investment. As part of the refinancing process, Ducera

 contacted over sixty (60) potential lenders to solicit financing interest. The Debtors received three

 (3) non-binding indications of interest. Ultimately, the Debtors moved forward with a priority

 term loan facility (the “Priority Term Loan Facility”) from Whitebox Advisors, and the Loan

 and Security Agreement was entered into on April 18, 2019 (the “Priority Term Loan Credit




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 Agreement”), by and among Debtor FGI Operating Company, LLC, as borrower, the other

 Debtors, as guarantors, Cantor Fitzgerald Securities, as administrative agent (the “Priority Term

 Loan Agent”), and the lenders from time to time party thereto (the “Priority Term Loan

 Lenders”), refinancing the Exit ABL Facility, resolving covenant concerns that existed at the time,

 and providing incremental liquidity to the Debtors.

         14.    The Debtors appointed a new chief executive officer, chief financial officer, and

 chief operating officer in 2019. After these appointments, the Debtors undertook an analysis of

 their strategic priorities, various cost-cutting measures, and financing alternatives. The Debtors

 initiated a reduction of excess inventory and sought increased profitability via continued

 improvements in operational efficiencies, growth in international and dealer sales channels, and

 growth in defense and law enforcement channels.

         15.    Despite the Debtors’ efforts, which resulted in significantly improved efficiencies

 and savings, their financial performance continued to deteriorate, owing in large part to the

 inability to purchase raw materials at the required level to grow revenues. At the conclusion of

 2019, the Debtors had realized approximately $437.5 million in total net sales and an adjusted

 EBITDA of $(74.7) million. In comparison, in 2015 and 2016, the Debtors had achieved

 approximately $808.9 million and $865.1 million in sales and $64 million and $119.8 million in

 adjusted EBITDA, respectively.

         16.    The Debtors also continued to face liquidity pressure and were increasingly

 challenged to meet the collateral base floor imposed requirements under the Priority Term Loan

 Facility. That limited availability of the credit line and triggered an obligation to post cash

 collateral in the amount of any difference between the Debtors’ borrowing base and the collateral

 base floor. In February 2020, the Debtors negotiated an amendment to the Priority Term Loan




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 Credit Agreement that reduced the collateral base floor by $7.5 million and deferred a $5 million

 amortization payment for a month and a half, but the amendment did not provide a permanent

 liquidity solution.

           17.      To preserve liquidity, the Debtors deferred payment of the firearms and

 ammunition excise tax under 26 U.S.C. Section 4181 (the “Excise Tax”) in compliance with the

 CARES Act.

           18.      The COVID-19 pandemic has recently sparked increased demand for the Debtors’

 core products. The Debtors, however, have been unable to meet such demand because of the need

 to suspend operations temporarily to respond to the pandemic and insufficient liquidity to fund

 raw material purchases needed to scale up production. As a result, the Debtors’ liquidity remains

 challenged.

           19.      A description of the Debtors and their business is set forth in greater detail in the

 Declaration of Ken D’Arcy in Support of Chapter 11 Petitions and First Day Pleadings of

 Remington Outdoor Company, Inc. and Its Affiliated Debtors and Debtors-Possession (the

 “D’Arcy Declaration”) filed on the Petition Date and is incorporated herein by reference.2

 B.        Specific Background

                         i. The Debtors’ Pre-Petition Marketing and Sales Efforts

           20.      In late 2019, the Debtors embarked on a process to explore strategic alternatives.

 Among the options considered were a potential recapitalization of the Prepetition Facilities,

 refinancing of the Priority Term Loan Facility, a potential equity raise, and a potential sale of the

 Debtors’ assets or merger. The Debtors were willing to entertain both in-court and out-of-court

 options during this process.



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     Capitalized terms used herein without definition have the meanings given to such terms in the D’Arcy Declaration.


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         21.    On December 2, 2019, the Debtors again engaged Ducera to advise them in

 connection with exploring strategic alternatives.      Ducera contacted over 200 potential new

 investors regarding engaging in a potential transaction with the Debtors, including over twenty

 (20) potential lenders regarding a possible refinancing of the Priority Term Loan Facility. Of

 these, approximately forty (40), entered into confidentiality agreements and engaged in further

 dialogue and diligence with Ducera and the Debtors. Ultimately, approximately five (5) potential

 investors submitted non-binding indications of intents with proposed investment terms. One of

 those proposals was a proposal by an entity to purchase the Debtors’ businesses as a going concern

 (the “Potential Bidder”).

         22.    For most of February 2020 and into March 2020, the Debtors with the assistance of

 Ducera and their other advisors negotiated over terms of potential transactions with these parties.

 While some of these parties were forced to halt their participation in the process due to the impacts

 on their businesses from the COVID-19 pandemic, among other reasons, the bid to acquire the

 businesses by the Potential Bidder, emerged as the lead bid.

         23.    Ducera also concurrently engaged in in-depth discussions with all of the Debtors’

 major stakeholders, including the Priority Term Loan Lenders, FILO Lenders, Exit Term Loan

 Lenders, and the Debtors’ major shareholders, to investigate the viability of a consensual out-of-

 court restructuring. None of these stakeholders, however, offered a proposal that was feasible.

         24.    In April 2020, the board of directors of ROC also formed a special restructuring

 committee comprised of solely independent and disinterested directors (the “Restructuring

 Committee”) to, among other things, review and evaluate, with the assistance of legal counsel,

 financial and other advisors, any and all possible transactions available to the Debtors.




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         25.    Although a deal in principle had been reached with the Potential Bidder, in May

 and June 2020, the Debtors, with the assistance of Ducera and its other advisors and under the

 supervision of the Restructuring Committee, made another solicitation for additional bids for the

 Company in order to both further market test the Potential Bidder bid and to serve as back-ups in

 the event that the offer fell through. The Debtors and their advisors engaged a number of parties,

 including private equity firms and strategics to evaluate interest in asset sale transactions. The

 Debtors set a response deadline of June 8, 2020 and received bids through June 15, 2020. During

 the solicitation period, interested parties were requested to provide indications of interest on any

 potential asset sale transactions including both segment and enterprise level transactions.

         26.    The Debtors and the Potential Bidder’s representatives negotiated a final purchase

 agreement and debtor in possession financing agreement on or about June 18, 2020, which

 remained subject to final approval by the Potential Bidder’s regulatory and legal oversight. Among

 other things, the negotiated transaction provided for the assumption by the buyer of many ordinary

 course pre-petition liabilities including taxes and trade accounts payable. While the negotiated

 transaction received certain of the required regulatory approvals, the transaction with the Potential

 Bidder became the subject of public reports, and final approval by the Potential Bidder’s governing

 bodies expected in mid-July 2020 was not completed within the timeframe necessary to move

 forward with the transaction. The Company and the Restructuring Committee concluded that they

 could no longer wait to see if the Potential Bidder could successfully complete the governance

 approval process, whether based upon the negotiated transaction or some modification of that

 agreement. The Debtors extended deadlines for the Potential Bidder and other bidders and then

 worked to develop their options.




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         27.     Multiple parties continued diligence efforts and provided indications of interest. In

 July 2020, the Debtors prepared and distributed a form of asset purchase agreement. As of the

 Petition Date, at least 4 potential purchasers in addition to the Potential Bidder submitted a markup

 of the form asset purchase agreement, and the Debtors continued to receive expressions of interest

 from still other potential bidders who are conducting diligence. The Debtors continue to negotiate

 with each of these bidders. While negotiations progressed, the Debtors had not yet finalized the

 terms of these sales by the time that their liquidity position necessitated this filing. The Debtors

 are assessing all of these options, including sales for all or parts of their businesses.

         28.     The Debtors are also engaged in negotiations with those potential purchasers

 regarding assuming the role of the Stalking Horse Bidder for the purchase of the Acquired Assets

 or a portion thereof comprising a particular segment of the Debtors’ business. For example, it is

 possible that the Debtors may determine to designate a Stalking Horse Bidder for their firearms

 business and a separate Stalking Horse Bidder for its ammunition business. If an agreement is

 reached, a proposed Stalking Horse Bidder may request certain bid protections, including a break-

 up fee and expense reimbursement. The Debtors will provide notice of such designation and any

 requested bid protections as soon as reasonably practicable before the hearing on this Motion.

                         ii.      The Proposed Post-Petition Sale Process

         29.     The Debtors, in consultation with their advisors, believe that pursuing a Sale

 Transaction at this time is the course of action most likely to maximize value and encourage robust

 bidder participation.    Indeed, the proposed sale process takes into consideration the robust

 marketing process engaged in prior to the Petition Date, provides flexibility for the sale of all or a

 portion of the Acquired Assets, and delivers market feedback regarding the value of the bid

 proposed by any Stalking Horse Bidder. This approach represents a sound exercise of the Debtors’




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 business judgment, is consistent with their fiduciary obligation to maximize the recoverable value

 of their estates, and is in the best interest of the Debtors’ estates and creditors.

           30.     Accordingly, by this Motion, the Debtors seek authority to implement the Bidding

 Procedures outlined herein to efficiently market and solicit offers for the Acquired Assets. The

 Debtors believe that the relief requested herein will bolster the prospects of maximizing the value

 of their assets for the benefits of their estates.

 C.        The Proposed Bidding, Notice, and Assumption and Assignment Procedures

                        i. Proposed Timeline for the Sale

           31.     The Debtors propose the following timeline for the Sale:3

                              Deadline                                                       Action
                                                                        Hearing to consider approval of the
     August 17, 2020 at 10:00 a.m. (prevailing Central
                                                                        Bidding Procedures and entry of the
     Time)
                                                                        Bidding Procedures Order
     August 21, 2020                                                    Sale Notice Mailing Date
                                                                        Assumption and Assignment Service
     August 21, 2020
                                                                        Date
     August 24, 2020 at 4:00 p.m. (prevailing Central                   Sale Objection Deadline (defined
     Time)                                                              below)
     September 1, 2020 at 5:00 p.m. (prevailing Central
                                                                        Bid Deadline
     Time)
     September 1, 2020 at 12:00 p.m. (prevailing Central
                                                                        Reply Deadline (defined below)
     Time)
     September 4, 2020 by 4:00 p.m. (prevailing Central
                                                                        Assumption and Assignment
     Time) or 14 days following service of the
                                                                        Objection Deadline (defined below)
     Supplemental Notice of Assumption and Assignment
     September 8, 2020 at 10:00 a.m. (prevailing Central
                                                                        Auction
     Time)
     September 9, 2020                                                  Post-Auction Notice
     September 10, 2020 at 10:00 a.m. (prevailing Central
                                                                        Sale Hearing
     Time)

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   The Debtors, in the exercise of their business judgment, reserve the right to modify these sale-related dates to achieve
 the maximum value for the Assets.



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 The Debtors submit that this proposed timeline is eminently reasonable, will foster robust

 participation in the sale process, is consistent with local practice and custom, and will not prejudice

 any parties in interest.

                    ii. The Bidding Procedures

          32.       The Bidding Procedures are designed to maximize value for the Debtors’ estates,

 while ensuring an orderly and efficient sale process. The Bidding Procedures describe, among

 other things, (i) the procedures for interested parties to access due diligence materials, submit bids,

 and participate in the Auction; (ii) the time, place, and process of any Auction; (iii) the selection

 and approval of any ultimately successful bidders; and (iv) the deadlines with respect to the

 foregoing. The Debtors believe, with the support of their secured creditors, that the Bidding

 Procedures provide for a sale process that will maximize the value of their estates and encourage

 robust participation in the bid process from all potential bidders. Indeed, as discussed above,

 moving forward with this process at this time, and in the manner described herein, will support

 two very important goals: (a) encouraging participation from the widest possible group of bidders

 for the Debtors’ assets; and (b) improving recoveries for the Debtors’ various creditor

 constituencies.

          33.       A summary of the principal terms of the Bidding Procedures, a complete copy of

 which is attached hereto as Exhibit B, is as follows:4

     Assets to Be        All or substantially all of the Acquired Assets either through one sale to a
     Sold (p. 1)         Successful Bidder or multiple sales to multiple Successful Bidders.
                         The Debtors will consider, without limitation: (1) bids to acquire all of the
                         Debtors’ operating segments (the “Whole Company”), including all or
                         substantially all of their assets (a “Whole Company Bid”) or (2) separate bids

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   The following summary is qualified in its entirety by reference to the provisions of the Bidding Procedures. In the
 event of any inconsistencies between the provisions of the Bidding Procedures and the terms herein, the terms of the
 Bidding Procedures shall govern. Capitalized terms not defined in this table shall have the meaning ascribed to them
 in the Bidding Procedures.



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                     to acquire (x) all or a portion of the Debtors’ business segment relating to the
                     design, manufacture and marketing of ammunition (the “Ammunitions
                     Business”), including the production facilities owned or operated by the
                     Debtors in Lonoke, Arkansas, and Mona, Utah, under the Remington and
                     Barnes Bullets brands (an “Ammunitions Business Bid”) and (y) all or a
                     portion of the Debtors’ business segment relating to the design, manufacture
                     and marketing of shotguns, rifles, handguns and modular firearms and related
                     components (the “Firearms Business”) and all or substantially of the Debtors’
                     remaining assets not subject to an Ammunitions Business Bid (a “Firearms
                     Business Bid”).

  Stalking Horse     The Debtors will continue to solicit stalking horse bids for the Debtors’ assets
  Bid (p. 3)         through the Bid Deadline (as defined below). In the event that the Debtors
                     designate one or more Stalking Horse Bidders and enter into an asset purchase
                     agreement with such Stalking Horse Bidders (each, a “Stalking Horse APA”)
                     on or before the Bid Deadline, the Debtors will provide three (3) business
                     days’ notice of the designation of any such Stalking Horse Bidder and an
                     opportunity to object to the designation of such Stalking Horse Bidder and
                     disclosure of any Bid Protections set forth in the applicable Stalking Horse
                     APA.

  Access to          To receive access to due diligence materials and to participate in the bidding
  Diligence          process, an interested party must submit to the Debtors (i) an executed
  Materials (p. 3)   confidentiality agreement in form and substance satisfactory to the Debtors
                     (which, for the avoidance of doubt, may be substantially in the form attached
                     to the Bidding Procedures as Exhibit 2) or may be a confidentiality agreement
                     already in existence between such party and the Debtors, (ii) evidence
                     demonstrating the party’s financial ability to consummate a Sale Transaction
                     for the Acquired Assets or, if such party has been formed for the purpose of
                     entering into a Sale Transaction, evidence from such party’s equity holder(s),
                     sponsor(s) or other financial backer(s) (“Bid Sponsor”), demonstrating such
                     Bid Sponsor’s financial ability to consummate a Sale Transaction, and (iii) a
                     statement that such party has a bona fide interest in purchasing all or some of
                     the Acquired Assets.
                     A party who, in the Debtors’ reasonable discretion, satisfies the requirements
                     set forth in the immediately preceding sentence for receiving access to
                     diligence materials shall be a “Diligence Party.” As promptly as practicable
                     after the Debtors determine that a party is a Diligence Party, the Debtors will
                     deliver to the Diligence Party access to the Debtors’ confidential electronic
                     data room. The Debtors will afford any Diligence Party the time and
                     opportunity to conduct reasonable due diligence before the Bid Deadline (as
                     defined below). Notwithstanding the foregoing, the Debtors reserve the right
                     to withhold any diligence materials that the Debtors determine are sensitive or
                     otherwise not appropriate for disclosure to a Diligence Party who the Debtors
                     determine is a competitor of the Debtors or is affiliated with any competitor
                     of the Debtors. Neither the Debtors nor their representatives shall be obligated


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                   to furnish information of any kind whatsoever to any person that is not
                   determined to be a Diligence Party. The Debtors shall not exclude a party
                   from diligence who has complied with subsections (i) and (ii) of the preceding
                   paragraph, unless they have first consulted with the Consultation Parties (as
                   defined in the Bidding Procedures) regarding such determination.

  Qualification    To be eligible to participate in the Auction, each offer, solicitation, or proposal
  of Bidders and   (each, a “Bid”), and each party submitting such a Bid (each, a “Bidder”) must
  Qualified Bids   satisfy each of the conditions set forth below, as determined by the Debtors.
  (pp. 4-7)        A Bid will not be considered qualified for the Auction if such Bid does not
                   satisfy each of the following conditions (provided, that the Debtors, in
                   consultation with the Bid Consultation Parties may waive or modify the
                   application of such conditions to any Bid):

                      (a)     Good Faith Deposit: Each Bid for all or a portion of the Acquired
                              Assets must be accompanied by a deposit (a “Good Faith
                              Deposit”) submitted by wire transfer of immediately available
                              funds to an account identified by the Debtors. Each Good Faith
                              Deposit must equal (1) in the case of a Bid for all or a portion of
                              the Acquired Assets, the amount of 10% of the proposed cash
                              consideration of such Bid or (2) such other amount as the Debtors
                              determine, in consultation with the Bid Consultation Parties (as
                              defined in the Bidding Procedures); provided, however, that any
                              Prepetition Secured Creditor submitting a Bid primarily composed
                              of a credit bid pursuant to Section 363(k) of the Bankruptcy Code
                              shall not be required to submit a Good Faith Deposit for the portion
                              of the Bid consisting of a credit bid.

                      (b)     Assets: Each Bid must clearly state which of the Acquired Assets
                              the Qualified Bidder is agreeing to purchase and assume, including
                              whether the Bid is a Firearms Bid, an Ammunitions Bid, a Whole
                              Company Bid, or other Bid.

                      (c)     Assumption of Liabilities: Each Bid must clearly state which
                              liabilities and obligations of the Debtors the Qualified Bidder is
                              agreeing to assume.

                      (d)     Bids for Portions of the Assets: A Bid may offer to purchase (i) the
                              Ammunitions Business; (ii) the Firearms Business; (iii) the Whole
                              Company or (iv) a portion of the foregoing. The Debtors may, in
                              consultation with the Bid Consultation Parties, waive or modify the
                              application of the Qualified Bid conditions in respect of Bids.

                      (e)     Purchase Price: Each Bid must clearly set forth the purchase price
                              to be paid for the Acquired Assets proposed to be acquired
                              including and identifying separately any cash and non-cash
                              components. Any Whole Company Bid must clearly set forth the


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                               portion of the purchase price applicable to each of the Firearms
                               Business and the Ammunitions Business.

                      (f)      Same or Better Terms: In the event the Debtors enter into a
                               Stalking Horse APA, each Bid for any Acquired Assets (alone or
                               combined with Bids for other Acquired Assets) must be on terms
                               that, in the Debtors’ business judgment, in consultation with the
                               Bid Consultation Parties, are the same or better than the terms of
                               the Stalking Horse APA applicable to the assets that are the subject
                               of such Bid after taking account of the Bid Protections (as
                               hereinafter defined).

                      (g)      Executed Agreement: Each Bid must be based on the Asset
                               Purchase Agreement attached to the Bidding Procedures as Exhibit
                               1 (the “Form APA”) and must include executed transaction
                               documents, signed by an authorized representative of such Bidder,
                               pursuant to which the Bidder proposes to effectuate a Sale
                               Transaction (the “Modified Purchase Agreement”). A Bid shall
                               also include a copy of the Modified Purchase Agreement marked
                               against the Form APA to show all changes requested by the Bidder
                               (including those related to purchase price). Each such Modified
                               Purchase Agreement must provide for payment in cash at closing
                               of the Expense Reimbursement (as defined below) and Break-Up
                               Fee (as defined below) to any Stalking Horse Bidder that entered
                               into a Stalking Horse APA applicable to the assets that are the
                               subject of such Bid.

                      (h)      Designation of Assigned Contracts and Leases, Payment of Cure
                               Amounts: A Bid must identify any and all executory contracts and
                               unexpired leases of the Debtors that the Bidder wishes to have
                               assumed and assigned to it at closing and provide for the payment
                               of all cure amounts payable with respect to such contracts and
                               leases under the Bankruptcy Code.

                      (i)      Transition Services Agreement: A Bid that is not a Whole
                               Company Bid must indicate its intentions with respect to entering
                               into a transition services agreement with any Successful Bidder for
                               the remainder of the Debtors’ assets.

                      (j)      Corporate Authority: A Bid must include written evidence
                               reasonably acceptable to the Debtors demonstrating appropriate
                               corporate authorization to consummate the proposed Sale
                               Transaction, provided that, if the Bidder is an entity specially
                               formed for the purpose of effectuating the Sale Transaction, then
                               the Bidder must furnish written evidence reasonably acceptable to




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                               the Debtors of the approval of the Sale Transaction by the Bid
                               Sponsor(s) of such Bidder.

                      (k)      Disclosure of Identity of Bidder: A Bid must fully disclose the
                               identity of each entity that will be bidding for or purchasing the
                               Acquired Assets or otherwise participating in connection with such
                               Bid (including any Bid Sponsor(s) if the Bidder is an entity
                               specifically formed for the purpose of effectuating the Sale
                               Transaction), and the complete terms of any such participation,
                               including any binding agreements, arrangements, or
                               understandings concerning a collaborative or joint bid or any other
                               combination concerning the proposed Bid.

                      (l)      Proof of Financial Ability to Perform: A Bid must include written
                               evidence that the Debtors reasonably conclude, in consultation with
                               their advisors and the Bid Consultation Parties, demonstrates that
                               the Bidder has the necessary financial ability to (i) close the Sale
                               Transaction and (ii) provide adequate assurance of future
                               performance under all contracts to be assumed and assigned in such
                               Sale Transaction. Such information must include, inter alia, the
                               following:

                               (1)    contact names and numbers for verification of financing
                                      sources;

                               (2)    evidence of the Bidder’s internal resources and proof of
                                      debt funding commitments from a recognized financial
                                      institution and, if applicable, equity commitments in an
                                      aggregate amount equal to the cash portion of such Bid
                                      (including, if applicable, the Bidder’s payment of cure
                                      amounts) or the posting of an irrevocable letter of credit
                                      from a recognized banking institution issued in favor of the
                                      Debtors in such amount, in each case, as are needed to close
                                      the Sale Transaction;

                               (3)    if the Bidder is an entity specifically formed for the purpose
                                      of effectuating the Sale Transaction, a written commitment
                                      from such entity’s Bid Sponsor(s) to be responsible for such
                                      entity’s obligations in connection with the bidding process;

                               (4)    the Bidder’s current financial statements (audited if they
                                      exist) or other similar financial information reasonably
                                      acceptable to the Debtors;

                               (5)    a description of the Bidder’s pro forma capital structure;
                                      and




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                            (6)    any such other form of financial disclosure or credit-quality
                                   support information or enhancement reasonably requested
                                   by the Debtors, in consultation with the Bid Consultation
                                   Parties, demonstrating that such Bidder has the ability to
                                   close the Sale Transaction.

                      (m)   Regulatory and Third Party Approvals: A Bid must set forth each
                            regulatory and third-party approval required for the Bidder to
                            consummate the Sale Transaction, if any, and the time period
                            within which the Bidder expects to receive such regulatory and
                            third-party approvals (and in the case that receipt of any such
                            regulatory or third-party approval is expected to take more than
                            thirty (30) days following execution and delivery of the Modified
                            Purchase Agreement, those actions the Bidder will take to ensure
                            receipt of such approval(s) as promptly as possible); provided,
                            however, that the timing and likelihood of receiving any such
                            regulatory and third-party approvals will be a consideration in
                            determining the highest or otherwise best Bid.

                      (n)   Contingencies: Each Bid may not be conditioned on obtaining
                            financing or any internal approval, or on the outcome or review of
                            due diligence.

                      (o)   Irrevocable: Each Bid must expressly provide that (1) the Bidder
                            is prepared to consummate the transaction set forth in the Modified
                            Purchase Agreement promptly following entry of the Sale Order
                            and satisfaction of the closing conditions (if any) set forth in the
                            Modified Purchase Agreement, and (2) the offer reflected in such
                            Bid shall remain open and irrevocable until the conclusion of the
                            Auction, provided that if such Bid is accepted as the Successful Bid
                            or the Backup Bid, such Bid shall continue to remain open and
                            irrevocable as provided under “Closing the Auction; Successful
                            Bidder” and “Backup Bidder” in the Bidding Procedures.

                      (p)   Time Frame for Closing: A Bid must be reasonably likely (based
                            on available financing, antitrust or other regulatory issues) to be
                            consummated within an acceptable timeframe.

                      (q)   Acknowledgment: Each Bid must include an acknowledgment and
                            representation by an authorized person of the Bidder that the
                            Bidder: (i) has had an opportunity to conduct any and all required
                            due diligence regarding the Acquired Assets prior to making its
                            offer; (ii) has relied solely upon its own independent review,
                            investigation and/or inspection of any documents and/or the
                            Acquired Assets in making its Bid; (iii) did not rely upon any
                            written or oral statements, representations, promises, warranties, or
                            guaranties whatsoever, whether express or implied (by operation of


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                               law or otherwise), regarding the Acquired Assets or the
                               completeness of any information provided in connection therewith
                               or with the Auction, except as expressly stated in the Modified
                               Purchase Agreement; (iv) has authorization and approval necessary
                               to close on the delivered Modified Purchase Agreement; (v) has
                               irrevocable financing commitment or cash on hand to consummate
                               the proposed sale and pay the purchase price in cash; (vi) is not
                               entitled to any expense reimbursement, break-up fee, or similar
                               type of payment in connection with its Bid; (vii) has not and will
                               not engage in any collusion with respect to any Bids, the Auction
                               or the Sale; (viii) agrees to abide by the terms of the Bidding
                               Procedures; and (ix) after the conclusion of the Auction, if any, will
                               not submit a Bid or seek to reopen the Auction.

                      (r)      Bid Deadline: Each Bid must be received by each of the following
                               parties, in writing, on or before September 1, 2020 at 5:00 p.m.
                               (prevailing Central Time) or such earlier date as may be
                               designated by the Debtors in consultation with the Consultation
                               Parties (the “Bid Deadline”): (i) proposed counsel for the Debtors,
                               O’Melveny        &      Myers LLP,     Attn:     Steve      Warren
                               (swarren@omm.com) and Jennifer Taylor (jtaylor@omm.com);
                               (ii) proposed co-counsel for the Debtors, Burr & Forman LLP,
                               Attn: Derek Meek (dmeek@burr.com) and Hanna Lahr
                               (hlahr@burr.com); (iii) counsel for the Restructuring Committee,
                               Akin Gump Strauss Hauer & Feld LLP, Attn: Sarah Schultz
                               (sschultz@akingump.com)            and        Chance           Hiner
                               (chiner@akingump.com); and (iv) advisors for the Debtors, Ducera
                               Partners, Attn: Bradley Meyer (bmeyer@ducerapartners.com).
                               Promptly upon receipt, the Debtors shall provide all Bids to the Bid
                               Consultation Parties.

                A Bid received from a Bidder on or before the Bid Deadline that meets the
                requirements set forth above for the applicable Acquired Assets shall
                constitute a “Qualified Bid” for such Acquired Assets, and such Bidder shall
                constitute a “Qualified Bidder” for such Acquired Assets. Each Stalking
                Horse APA will be deemed a Qualified Bid for all purposes, and each Stalking
                Horse Bidder will be deemed a Qualified Bidder.




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  Credit Bidding    Notwithstanding anything else contained in the Bidding Procedures, the
  (p. 8)            Prepetition Secured Creditors shall have the right, subject in all respects to the
                    Bankruptcy Code and other applicable law and the satisfaction in cash or
                    assumption of claims secured by senior liens, to credit bid all or any portion
                    of their allowed secured claims at the Auction pursuant to Section 363(k) of
                    the Bankruptcy Code or other applicable law, in accordance with the
                    applicable terms of the Prepetition Credit Documents; provided that such Bid
                    is subject to the Intercreditor Agreement (as defined in the D’Arcy
                    Declaration) and the rights of the Committee as set forth in paragraph 9 of the
                    Bidding Procedures Order.

  Stalking Horse    In the event the Debtors designate one or more Stalking Horse Bidders and
  Bid Protections   enter into a Stalking Horse APA, recognizing a Stalking Horse Bidder’s
  (p. 8)            expenditure of time, energy and resources in connection with the proposed
                    Sale Transaction set forth in any Stalking Horse APA, and the benefit that
                    those efforts provided to all interested parties, if, among other circumstances
                    set forth in the Stalking Horse APA, the Stalking Horse Bidder is not the
                    Successful Bidder, the Debtors may seek authority to pay to such Stalking
                    Horse Bidder a Break-Up Fee and Expense Reimbursement, which will be
                    governed by the provisions of the Stalking Horse APA, if any, and the Bidding
                    Procedures Order.

                    Absent further order of the Court, the Stalking Horse APA shall (i) limit the
                    break-up fee in favor of the Stalking Horse Bidder in an amount of no more
                    than 3.5% of the cash consideration proposed to be paid at closing by the
                    Stalking Horse Bidder under the applicable Stalking Horse APA (the “Break-
                    Up Fee”); (ii) limit any reimbursement for the Stalking Horse Bidder’s and its
                    attorneys’, accountants’, investment bankers’ and representatives’
                    documented fees and expenses actually and reasonably incurred in negotiating
                    and documenting the Stalking Horse APA, and in preserving and protecting
                    Stalking Horse Bidder’s rights and interests as buyer and lender in connection
                    with the Chapter 11 Cases to an amount not to exceed 1.0% of the cash
                    consideration proposed to be paid at closing by the Stalking Horse Bidder
                    under the applicable Stalking Horse APA (the “Expense Reimbursement”);
                    and/or (iii) set the initial overbid protection (the “Minimum Overbid
                    Increment” and, together with the Break-Up Fee and the Expense
                    Reimbursement, the “Bid Protections”) in amounts to be determined by the
                    Debtors in accordance with the Bidding Procedures.

  Auction           If two (2) or more Qualified Bids for the same Acquired Assets are received
  (pp. 8-9)         by the Bid Deadline, the Debtors will conduct the Auction to determine the
                    highest or otherwise best Qualified Bid. Only Qualified Bidders may
                    participate in the Auction.
                    If no Qualified Bid for the Acquired Assets is received by the Bid Deadline
                    (other than that of any Stalking Horse Bidder), the Debtors, in consultation



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                 with the Consultation Parties, may cancel the Auction and seek approval of
                 the transaction contemplated by the Stalking Horse APA, if any.
                 The Auction shall take place on September 8, 2020 at 10:00 a.m. (prevailing
                 Central Time) virtually via video-conferencing technology, or such other
                 place and time as the Debtors shall notify all Qualified Bidders and the
                 Consultation Parties. The Auction shall be conducted according to the
                 following procedures:
                 Only the Debtors, the Consultation Parties, any Stalking Horse Bidder, any
                 Qualified Bidders, and/or other party as the Debtors may determine to include
                 in their discretion, in each case along with their representatives and advisors,
                 shall be entitled to attend the Auction (such attendance to be in person via
                 video-conference) and only any Stalking Horse Bidder, the other Qualified
                 Bidders will be entitled to make any Overbids (as defined below) at the
                 Auction.
                 The Debtors and their advisors shall direct and preside over the Auction, which
                 shall be transcribed. Other than as expressly set forth in the Bidding
                 Procedures, the Debtors (in consultation with the Consultation Parties or, to
                 the extent provided in the Bidding Procedures, the Bid Consultation Parties)
                 may conduct the Auction in the manner they determine will result in the
                 highest or otherwise best offer for any of the Acquired Assets. The Debtors
                 shall use their best efforts to, at least 24 hours prior to commencement of the
                 Auction, provide the Consultation Parties and each Qualified Bidder
                 participating in the Auction with a complete and correct copy of the agreement
                 (either the Stalking Horse APA, if any, or the Modified Purchase Agreement)
                 associated with the Qualified Bid deemed by the Debtors to be the highest or
                 otherwise best bid for the Acquired Assets (such highest or otherwise best
                 Qualified Bid, the “Auction Baseline Bid”). At the start of the Auction, the
                 Debtors shall describe the material terms of the Auction Baseline Bid and each
                 Qualified Bidder participating in the Auction must confirm that (a) it has not
                 engaged in any collusion with respect to the bidding or sale of any of the
                 Acquired Assets described herein, (b) it has reviewed, understands, and
                 accepts the Bidding Procedures, (c) it has consented to the core jurisdiction of
                 the Bankruptcy Court (as described more fully below), and (d) its Qualified
                 Bid is a good faith bona fide offer that it intends to consummate if selected as
                 the Successful Bidder.

  Terms and      An “Overbid” is any bid made at the Auction, in accordance with the
  Announcement   requirements set forth in the Bidding Procedures, subsequent to the Debtors’
  of Overbids    announcement of the respective Auction Baseline Bid. To submit an Overbid
  (pp. 9-11)     for purposes of this Auction, a Bidder must comply with the following
                 conditions:

                        (a)     Minimum Overbid Increments: The initial Overbid, if any,
                                shall provide for total consideration to the Debtors with a value
                                that exceeds the value of the consideration under the Auction


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                             Baseline Bid by an incremental amount that is not less than the
                             sum of (x) $500,000 (the “Minimum Overbid Increment”)
                             plus (y) the aggregate amount of any Bid Protections, without
                             duplication, under the Stalking Horse APA applicable to the
                             assets that are the subject of such Overbid, if any, and each
                             successive Overbid shall exceed the then-existing Overbid by
                             an incremental amount that is not less than the Minimum
                             Overbid Increment. In considering the value of any Overbid,
                             the Debtors shall take into account the effect of the Bid
                             Protections. In the event a Stalking Horse Bidder is designated
                             prior to the Bid Deadline, if such Stalking Horse Bidder bids at
                             the Auction, it will be entitled to “credit” in the amount of the
                             applicable Bid Protections to be counted towards its Bid such
                             that the cash and/or non-cash consideration proposed by it plus
                             the applicable Bid Protection “credit” must exceed the then-
                             existing Overbid by an incremental amount that is not less than
                             the Minimum Overbid Increment. The Debtors reserve the
                             right, in consultation with the Bid Consultation Parties, to
                             announce reductions or increases in the Minimum Overbid
                             Increment at any time during the Auction. Additional
                             consideration in excess of the amount set forth in the respective
                             Auction Baseline Bid may include (i) cash and/or non-cash
                             consideration, provided, however, that the value for such non-
                             cash consideration shall be determined by the Debtors in their
                             reasonable business judgment in consultation with the Bid
                             Consultation Parties (considering factors that include the
                             proposed terms thereof and the creditworthiness of the Bidder)
                             and the Debtors reserve the right to adjust the value of or reject
                             any such non-cash consideration, provided further that the Bid
                             Consultation Parties reserve the right to object to the Debtors’
                             determination and such dispute may be resolved by the Court
                             at the Sale Hearing, and (ii) in the case of a Bid by the
                             Prepetition Secured Creditors, a credit bid of up to the full
                             amount of the such secured creditors’ allowed secured claim,
                             subject to the Bankruptcy Code and other applicable law and
                             the satisfaction in cash or assumption of claims secured by
                             senior liens, provided that such Bid otherwise complies with
                             the requirements set forth in the Bidding Procedures and
                             subject to the rights of the Committee as set forth in paragraph
                             9 of the Bidding Procedures Order.

                       (b)   Remaining Terms Are the Same as for Qualified Bids: Except
                             as modified in the Bidding Procedures, an Overbid at the
                             Auction must comply with the conditions for a Qualified Bid
                             set forth above, provided, however, that the Bid Deadline shall
                             not apply. Any Overbid must include, in addition to the
                             amount and the form of consideration of the Overbid, a


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                              description of all changes requested by the Bidder to the
                              Stalking Horse APA (if any) or Modified Purchase Agreement,
                              as the case may be, in connection therewith. For the avoidance
                              of doubt, any Overbid shall be irrevocable and shall remain
                              open and binding on the Bidder in accordance with these
                              Bidding Procedures and the conditions for a Qualified Bid.

                              At the Debtors’ discretion, to the extent not previously
                              provided (which shall be determined by the Debtors in
                              consultation with the Bid Consultation Parties), a Bidder
                              submitting an Overbid at the Auction must submit, as part of
                              its Overbid, written evidence (in the form of financial
                              disclosure or credit-quality support information or
                              enhancement reasonably acceptable to the Debtors), as the
                              Debtors, in their reasonable business judgment in consultation
                              with the Bid Consultation Parties, may request, demonstrating
                              such Bidder’s ability to consummate the Sale Transaction
                              proposed by such Overbid.

                Announcement and Consideration of Overbids.

                       (a)    Announcement of Overbids: A Bidder submitting an Overbid
                              at the Auction shall announce at the Auction the material terms
                              of such Overbid, including the total amount and type of
                              consideration offered in such Overbid.

                       (b)    Consideration of Overbids: The Debtors reserve the right, in
                              their reasonable business judgment in consultation with the
                              Consultation Parties, to make one or more continuances of the
                              Auction to, among other things: facilitate discussions between
                              the Debtors and individual Qualified Bidders; allow individual
                              Qualified Bidders to consider how they wish to proceed; and
                              give Qualified Bidders the opportunity to provide the Debtors
                              with such additional evidence as the Debtors, in their
                              reasonable business judgment in consultation with the Bid
                              Consultation Parties, may require, that the Qualified Bidder has
                              sufficient internal resources, or has received sufficient non-
                              contingent debt and/or equity funding commitments, to
                              consummate the proposed Sale Transaction at the prevailing
                              Overbid amount; provided that, to the extent the Debtors
                              determine to request that any Qualified Bidder increase the
                              amount of their Good Faith Deposit, the Debtors first shall
                              consult with the Bid Consultation Parties before making such
                              request.

  Closing the   The Auction shall continue until there is only one (1) Qualified Bid for the
  Auction;      Acquired Assets that the Debtors determine in their reasonable business


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     Successful          judgment, in consultation with the Bid Consultation Parties, is the highest or
     Bidder (p. 12)      otherwise best Qualified Bid with respect to the assets to which it pertains, as
                         applicable, at the Auction. Thereafter, the Debtors shall select such Qualified
                         Bid, in consultation with the Bid Consultation Parties, as the overall highest
                         or otherwise best Qualified Bid (such Bid(s), the “Successful Bid(s),” and the
                         Bidder submitting such Successful Bid(s), the “Successful Bidder(s)”). In
                         making this decision, the Debtors shall consider the Bid Assessment Criteria.5
                         The Auction shall close when the Successful Bidder(s) submits fully executed
                         sale and transaction documents memorializing the terms of the Successful
                         Bid(s).
                         Promptly following the Debtors’ selection of the Successful Bid(s) and the
                         conclusion of the Auction, the Debtors shall announce the Successful Bid(s)
                         and Successful Bidder(s) and shall file with the Bankruptcy Court notice of
                         the Successful Bid(s) and Successful Bidder(s).
                         The Successful Bidder(s) shall be required to keep the Successful Bid(s) open
                         and irrevocable until the closing of the transactions contemplated thereby. The
                         Sale and transaction documents approved by the Bankruptcy Court pursuant
                         to the Sale Order shall be irrevocable and enforceable against the Successful
                         Bidder.

     Closing with        Notwithstanding anything in the Bidding Procedures to the contrary, the
     Alternative         Qualified Bid for the Acquired Assets that the Debtors determine in their
     Backup              reasonable business judgment, in consultation with the Bid Consultation
     Bidders (pp.        Parties, is the next highest or otherwise best Qualified Bid(s) with respect to
     12-13)              such Acquired Assets, as applicable, at the Auction after the Successful Bid(s),
                         will be designated as the “Backup Bid(s)” and the Bidder submitting such
                         Backup Bid(s), the “Backup Bidder(s).” The Backup Bidder shall be
                         required to keep the Backup Bid open and irrevocable until the earlier of 5:00
                         p.m. (prevailing Central Time) on the date that is sixty (60) days after the date
                         of entry of the Sale Order (the “Outside Backup Date”) or the closing of the
                         transaction with the Successful Bidder.
                         Following entry of the Sale Order, if the Successful Bidder(s) fails to
                         consummate the Successful Bid(s), the Debtors may, in consultation with the
                         Bid Consultation Parties, designate the applicable Backup Bid to be the new
                         Successful Bid and the Backup Bidder to be the new Successful Bidder, and
                         the Debtors will be authorized, but not required, to consummate the
                         transaction with the Backup Bidder without further order of the Bankruptcy
                         Court. In such case of a breach or failure to perform on the part of the
                         Successful Bidder, the defaulting Successful Bidder’s deposit shall be
                         forfeited to the Debtors. The Debtors specifically reserve the right to seek all
                         available damages, including specific performance, from any defaulting


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  The Prepetition Secured Creditors reserve the right to determine the allocation of the value between the ABL Priority
 Collateral and the TL Priority Collateral in accordance with the terms of the Intercreditor Agreement.


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                     Successful Bidder (including any Backup Bidder designated as a Successful
                     Bidder) in accordance with the terms of the Bidding Procedures.

  Modification of    The Debtors (in consultation with the Bid Consultation Parties), in the exercise
  Bidding and        of their fiduciary duties for the purpose of maximizing value for their estates
  Auction            from the sale process, may modify the Bidding Procedures and implement
  Procedures (p.     additional procedural rules for conducting the Auction. Specifically, among
  11)                other things, the Debtors, in consultation with the Bid Consultation Parties,
                     may determine to select more than one Successful Bid and more than one
                     Successful Bidder (and/or more than one Backup Bid and more than one
                     Backup Bidder, in which event such Backup Bids may provide for groupings
                     of Acquired Assets that are different from the groupings of Acquired Assets
                     reflected in the Successful Bid(s)) for separate portions of the Acquired Assets.

 D.      Notice Procedures

         34.    The Debtors propose the following notice procedures to be implemented in

 connection with the sale process.

                    i. Notice of Sale, Auction, and Sale Hearing

         35.    Within seven (7) days after the entry of the Bidding Procedures Order or as soon as

 reasonably practicable thereafter (the “Mailing Date”), the Debtors shall serve a sale notice,

 substantially in the form attached hereto as Exhibit C (the “Sale Notice”), the Form APA, the

 Bidding Procedures Order, and the Bidding Procedures by first-class mail, postage prepaid, or, for

 those parties who have consented to receive notice by the Electronic Case Files (“ECF”) system,

 by ECF, upon (i) all entities reasonably known to have expressed an interest in a transaction with

 respect to all or part of the Acquired Assets within the past two years; (ii) all entities known to

 have asserted any lien, claim, interest, or encumbrance in or upon or with respect to any of the

 Acquired Assets; (iii) all federal, state, and local regulatory or taxing authorities or recording

 offices which have a reasonably known interest in the relief granted herein; (iv) counsel for the

 Committee, if any; (v) counsel to Cantor Fitzgerald Securities, as Priority Term Loan Agent under

 the Debtors’ prepetition Priority Term Loan Credit Agreement; (vi) counsel to Ankura Trust

 Company, LLC, as FILO Agent under the Debtors’ prepetition FILO Term Loan Agreement, and


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 as Exit Term Loan Agent under the Debtors’ prepetition Exit Term Loan Agreement; (vii) counsel

 to the FILO Lenders; (viii) counsel to the Stalking Horse Bidder, if any; (ix) counsel to Whitebox

 Advisors LLC; (x) counsel for the Restructuring Committee; (xi) counsel to the Huntsville Note

 holder; (xii) the Bankruptcy Administrator; (xiii) the Securities and Exchange Commission; (xiv)

 the Internal Revenue Service; (xv) counsel to the United Mine Workers of America; and (xvi) all

 known creditors of the Debtors, including their contract counterparties; provided, however, that to

 the extent email addresses are available, parties referenced in this paragraph 35 may be served by

 email. The Debtors request that such notice be deemed sufficient and proper notice of the Sale

 Transaction with respect to known interested parties.

          36.        Notice by mail to all parties potentially interested in purchasing the Debtors’

 Acquired Assets or participating in the Auction is impracticable. As a result, the Debtors have

 determined that it is in the best interest of their estates to also provide notice by publication.

 Pursuant to Bankruptcy Rules 2002 and 6004, the Debtors propose to publish the Sale Notice in a

 form substantially similar to the notice attached hereto as Exhibit D, in the New York Times on one

 occasion on the Mailing Date or as soon as reasonably practicable thereafter. In addition, the

 Debtors (i) respectfully request the authority, but not the direction, to publish the Sale Notice in

 additional publications as the Debtors deem appropriate and (ii) will cause the Sale Notice to be

 posted         on     the    website    maintained      for   the     Chapter    11    Cases      at

 https://cases.primeclerk.com/RemingtonOutdoor (the “Case Website”).

                        ii. Date, Time, Place, and Notice of Auction

          37.        The Auction, if any, shall take place on September 8, 2020 at 10:00 a.m.

 (prevailing Central Time) virtually via video-conferencing technology, or such other place and

 time as the Debtors shall notify all Qualified Bidders and the Consultation Parties.




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                     iii. Notice of Successful Bidder

         38.    As soon as reasonably practicable after the conclusion of the Auction, the Debtors

 shall file on the docket, but not serve, a notice identifying any Successful Bidder(s) (the

 “Post-Auction Notice”), substantially in the form attached hereto as Exhibit E.

                     iv. Date, Time, and Place of Sale Hearing

         39.    The Sale Hearing shall be conducted by the Bankruptcy Court on September 10,

 2020 at 10:00 a.m. (prevailing Central Time) or such other date as the Court is available and

 may, in accordance with the Bidding Procedures Order, be adjourned or rescheduled without

 notice. At the Sale Hearing, the Debtors will seek Bankruptcy Court approval of the Successful

 Bid and the Backup Bid (if any). Unless the Bankruptcy Court orders otherwise, the Sale Hearing

 shall be an evidentiary hearing on matters relating to the Sale Transaction(s) and there will be no

 further bidding at the Sale Hearing. In the event that the Successful Bidder cannot or refuses to

 consummate the Sale because of the breach or failure on the part of the Successful Bidder, the

 Backup Bidder will be deemed the new Successful Bidder and the Debtors shall be authorized, but

 not required, to close with the Backup Bidder on the Backup Bid without further order of the

 Bankruptcy Court.

                     v. Objection Deadline

         40.    Any and all objections, if any, to any Sale Transaction but excluding any objection

 based on the specific identity of any Stalking Horse Bidder, the form of any Stalking Horse APA,

 or the specific identity of the Successful Bidder or Backup Bidder (a “Sale Objection”), must be

 filed by August 24, 2020 at 4:00 p.m. (prevailing Central Time) (the “Sale Objection

 Deadline”) and served on (i) proposed counsel for the Debtors, O’Melveny & Myers LLP, 400

 South Hope Street, 18th Floor, Los Angeles, CA                  90071, Attn:       Steve Warren

 (swarren@omm.com) and Jennifer Taylor (jtaylor@omm.com); (ii) proposed co-counsel for the


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 Debtors, Burr & Forman LLP, 420 North 20th Street, Suite 3400, Birmingham, Alabama 35203,

 Attn: Derek Meek (dmeek@burr.com) and Hanna Lahr (hlahr@burr.com); (iii) counsel for the

 Restructuring Committee, Akin Gump Strauss Hauer & Feld LLP, 2300 N. Field Street, Suite

 1800, Dallas, TX 75201, Attn: Sarah Schultz (sschultz@akingump.com); (iv) counsel for the

 Committee, if any; (v) the Bankruptcy Administrator, 400 Well Street, Decatur, Alabama 35602,

 Attn: Richard Blythe (richard_blythe@alnba.uscourts.gov); (vi) counsel to the Stalking Horse

 Bidder, if any; (vii) counsel to the FILO Lenders, Pillsbury Winthrop Shaw Pittman LLP, Four

 Embarcadero Center, 22nd Floor, San Francisco, CA 94111-5998, Attn: Joshua D. Morse

 (joshua.morse@pillsburylaw.com) and Andrew V. Alfano (andrew.alfano@pillsburylaw.com);

 (viii) counsel to Whitebox Advisors LLC, Brown Rudnick LLP, One Financial Center, Boston,

 Massachusetts 02111, Attn: Andreas Andromalos (aandromalos@brownrudnick.com) and Tia C.

 Wallach (twallach@brownrudnick.com); (ix) all parties that have requested notice in the Chapter

 11 Cases (collectively (i)-(ix), the “Objection Recipients”); and (x) counsel to any Successful

 Bidder(s), if known on the Sale Objection Deadline.

         41.    All replies to any Sale Objection or Designated Contract Objection (as defined

 below) must be filed by September 1, 2020 at 12:00 p.m. (prevailing Central Time) (the “Reply

 Deadline”).

         42.    Any party failing to timely file an objection to any Sale Transaction will be forever

 barred from objecting and will be deemed to have consented to any Sale Transaction, including

 the transfer of the Debtors’ right, title and interest in, to, and under the Debtors’ Acquired Assets

 free and clear of any and all liens, claims, encumbrances and other interests in accordance with a

 definitive agreement for any Sale Transaction.




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         43.    Following the Auction, the Debtors shall serve the Post-Auction Notice. The

 Debtor proposes that any objections regarding the adequate assurance of future performance of the

 Successful Bidder or the Backup Bidder (other than the Stalking Horse Bidder) may be raised at

 the Sale Hearing.

 E.      Assumption and Assignment Procedures

         44.    The Debtors propose the procedures set forth below for notifying counterparties to

 executory contracts and unexpired leases of proposed cure amounts in the event the Debtors decide

 to assume and assign such contracts or leases.

                     i. Notice of Assumption and Assignment

         45.    On or before August 21, 2020, (any such date, the “Assumption and Assignment

 Service Date”) the Debtors shall file with the Court, and post on the Case Website, a notice of

 assumption and assignment, substantially in the form attached hereto as Exhibit F (the “Notice of

 Assumption and Assignment”) and, included therewith, a list (the “Designated Contracts List”)

 that specifies (i) each of the Debtors’ executory contracts and unexpired leases (the “Designated

 Contracts”) and (ii) the proposed amount necessary, if any, to cure all monetary defaults, if any,

 under each Designated Contract (the “Cure Costs”). If no Cure Cost is listed on the Designated

 Contracts List, the Debtors believe that there is no Cure Cost, as of the date of such notice. The

 Debtors shall serve, via first class mail, a customized version of the Notice of Assumption and

 Assignment, without the Designated Contracts List, which will include (a) instructions regarding

 how to view that list on the Case Website (the “DCL Instructions”); (b) information necessary

 and appropriate to provide notice of the relevant proposed assumption and assignment of

 Designated Contract(s) and rights thereunder; (c) Cure Costs, if any; and (d) the procedures for

 objecting thereto ((b)-(d) collectively, the “Necessary Notice Information”) on all counterparties

 to the Designated Contracts. The Debtors shall serve, via first class mail, a modified version of


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 the Notice of Assumption and Assignment that contains the DCL Instructions and Necessary

 Notice Information on the Rule 2002 Notice List. Service as set forth herein shall be deemed

 proper, due, timely, good, and sufficient notice and no other or further notice is necessary.

         46.    A counterparty to a Designated Contract listed on the Notice of Assumption and

 Assignment may file an objection (a “Designated Contract Objection”) only if such objection is

 to the proposed assumption and assignment of the applicable Designated Contract or the proposed

 Cure Costs, if any. All Designated Contract Objections (which do not, for the avoidance of doubt,

 include any objection regarding the adequate assurance of future performance of any Stalking

 Horse Bidder, Successful Bidder or the Backup Bidder) must (i) state, with specificity, the legal

 and factual basis for the objection as well as what Cure Costs are required, if any; (ii) include

 appropriate documentation in support thereof; and (iii) be filed and served on the Objection

 Recipients no later than 4:00 p.m. (prevailing Central Time) fourteen (14) days following the

 Assumption and Assignment Service Date (the “Assumption and Assignment Objection

 Deadline”).

         47.    If a counterparty to a Designated Contract files a Designated Contract Objection in

 a manner that is consistent with the requirements set forth above, and the parties are unable to

 consensually resolve the dispute prior to the Sale Hearing, the amount to be paid or reserved with

 respect to such objection will be determined at the Sale Hearing, such later hearing date that the

 Debtors determine in their discretion, or such other date determined by this Court.

                    ii. Supplemental Notice of Assumption and Assignment

         48.    Although the Debtors intend to make a good-faith effort to identify all Designated

 Contracts that may be assumed and assigned in connection with a Sale Transaction, the Debtors

 may discover certain contracts inadvertently omitted from the Designated Contracts list or

 Successful Bidder(s) may identify other executory contracts or unexpired leases that they desire to


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 assume and assign in connection with the Sale. Accordingly, the Debtors reserve the right, at any

 time after the Assumption and Assignment Service Date and before the closing of a Sale

 Transaction, to (i) supplement the list of Designated Contracts on the Notice of Assumption and

 Assignment with previously omitted Designated Contracts in accordance with the definitive

 agreement for a Sale Transaction; (ii) remove a Designated Contract from the list of contracts

 ultimately selected as a Designated Contract that a Successful Bidder proposes be assumed and

 assigned to it in connection with a Sale Transaction; and/or (iii) modify the previously stated Cure

 Cost associated with any Designated Contract.

         49.    In the event that the Debtors exercise any of the rights reserved above, the Debtors

 will promptly serve a supplemental notice of assumption and assignment (a “Supplemental Notice

 of Assumption and Assignment”). The Supplemental Notice of Assumption and Assignment

 will be served by electronic transmission, hand delivery, or overnight mail on the counterparty

 (and its attorney, if known) to each impacted Designated Contract at the last known address

 available to the Debtors. Each Supplemental Notice of Assumption and Assignment will include

 the same information with respect to listed Designated Contracts as was included in the Notice of

 Assumption and Assignment.

         50.    Any counterparty to a Designated Contract listed on a Supplemental Notice of

 Assumption and Assignment may file an objection (a “Supplemental Designated Contract

 Objection”). A Supplemental Designated Contract Objection may be filed only if such objection

 is to the proposed assumption and assignment of the applicable Designated Contract or the

 proposed Cure Costs, if any. All Supplemental Designated Contract Objections (which do not, for

 the avoidance of doubt, include any objection regarding the adequate assurance of future

 performance of any Stalking Horse Bidder, Successful Bidder or the Backup Bidder) must (i) state,




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 with specificity, the legal and factual basis thereof as well as what Cure Costs the objecting party

 believes are required, if any; (ii) include appropriate documentation in support of the objection;

 and (iii) be filed and served on the Objection Recipients no later than fourteen (14) days from the

 date of service of such Supplemental Notice of Assumption and Assignment, which date will be

 set forth in the Supplemental Notice of Assumption and Assignment.

         51.    If a counterparty to a Designated Contract files a Supplemental Designated Contract

 Objection in a manner that is consistent with the requirements set forth above, and the parties are

 unable to consensually resolve the dispute, the Debtors will seek an expedited hearing before the

 Court (a “Supplemental Designated Contract Hearing”) to determine the Cure Costs, if any,

 and approve the assumption of the relevant Designated Contracts. If there is no such objection,

 then the Debtors will obtain an order of this Court, including by filing a certification of no

 objection, (a “Supplemental Designated Contract Order”) fixing the Cure Costs and approving

 the assumption of any Designated Contract listed on a Supplemental Notice of Assumption and

 Assignment.

                    iii. Additional Procedures

         52.    If the counterparty to a Designated Contract does not file and serve a Designated

 Contract Objection or Supplemental Designated Contract Objection in a manner that is consistent

 with the requirements set forth above, such counterparty will be deemed to have consented to the

 assumption and assignment of the Designated Contract to a Successful Bidder as an Acquired

 Contract (as defined below), notwithstanding any anti-alienation provision or other restriction on

 assumption or assignment in the Designated Contract, and shall be forever barred from asserting

 any objection with regard to such assumption and assignment, except with respect to the adequate

 assurance of future performance by such Successful Bidder.




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         53.    Any objections to the proposed form of adequate assurance of future performance

 of a Successful Bidder (other than any Stalking Horse Bidder) must be raised at the Sale Hearing

 or Supplemental Designated Contract Hearing, as applicable, and will be resolved at the hearing

 at which it is raised or, in the Debtors’ discretion, adjourned to a later hearing.

         54.    Absent the filing of a Designated Contract Objection or Supplemental Designated

 Contract Objection and a subsequent order of the Court establishing an alternative Cure Cost,

 (i) the Cure Costs, if any, set forth in the Notice of Assumption and Assignment (or Supplemental

 Notice of Assumption and Assignment) shall be controlling, notwithstanding anything to the

 contrary in any Designated Contract or any other document, and (ii) the counterparty to the

 Designated Contract will be deemed to have consented to the assumption, assignment, and sale of

 the Designated Contract and the Cure Costs, if any, and will be forever barred from asserting any

 other claims related to such Designated Contract against the Debtors or the applicable Successful

 Bidder, or the property of any of them.

         55.    The inclusion of a Designated Contract on the Notice of Assumption and

 Assignment (or Supplemental Notice of Assumption and Assignment) will not (a) obligate the

 Debtors to assume any Designated Contract listed thereon or the Successful Bidder(s) to take

 assignment of such Designated Contract or (b) constitute any admission or agreement of the

 Debtors that such Designated Contract is an executory contract. Only those Designated Contracts

 that are included on a schedule of assumed and Acquired Contracts attached to the final purchase

 agreement with the Successful Bidder(s) (each, an “Acquired Contract”) will be assumed and

 assigned to the Successful Bidder(s).




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         56.      Assignment by the Debtors to the Successful Bidder of a contract, lease or any other

 liability assumed under Section 365 of the Bankruptcy Code or otherwise relieves the Debtors and

 their estates from any such liability so assigned.

                                           RELIEF REQUESTED

         57.      By this Motion, the Debtors request entry of the Bidding Procedures Order, which

 will authorize and approve, among other things: (i) the Bidding Procedures for soliciting bids; (ii)

 the Assumption and Assignment Procedures; (iii) the form and manner of notice with respect to

 certain procedures, protections, schedules, and agreements described herein and attached hereto;6

 (iv) the selection of the Stalking Horse Bidder, if any, and the provision of Bid Protections to such

 Stalking Horse Bidder, if necessary; (v) authorization, but not direction, to pay the Priority Term

 Loan Obligations and a portion of the FILO Term Loan Obligations with the proceeds of the Sale;7

 (vi) scheduling the Auction (if any) and the Sale Hearing; and (vii) granting related relief. At the

 Sale Hearing, the Debtors will also request entry of the Sale Order (or Sale Orders) that will

 approve the Sale Transaction or Sale Transactions.

                                       SUPPORTING AUTHORITY

         58.      Section 363(b)(1) of the Bankruptcy Code provides that “[t]he trustee, after notice

 and a hearing, may use, sell, or lease, other than in the ordinary course of business, property of the

 estate.” 11 U.S.C. § 363(b)(1). Courts, in applying this Section, have required that the sale of a

 debtor’s assets be based upon the sound business judgment of the debtor. See, e.g., In re Gulf

 States Steel, Inc. of Ala., 285 B.R. 497, 515 (Bankr. N.D. Ala. 2002); Dai-Ichi Kangyo Bank, Ltd.



 6
   To the extent that any of the deadlines set forth in this Motion do not comply with the Local Rules, the Debtors
 hereby request a waiver of any such Local Rule.
 7
    By this Motion, the Debtors are seeking the authority, but not the obligation, to pay the Priority Term Loan
 Obligations and a portion of the FILO Term Loan Obligations with the proceeds of the Sale. The Debtors and all
 other parties in interest reserve the right to contest and dispute such relief.


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 v. Montgomery Ward Holding Corp. (In re Montgomery Ward Holding Corp.), 242 B.R. 147

 (Bankr. D. Del. 1999) (holding that an asset sale may be authorized under Section 363 of the

 Bankruptcy Code if the court finds a “sound business purpose” for the sale) (citing Committee of

 Equity Sec. Holders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1070 (2d Cir. 1983)); In

 re Bryan, 2013 WL 4716194 (Bankr. M.D. Ala. Sept. 3, 2013); In re Dunhill Entities, L.P., 2010

 WL 6982622 (Bankr. S.D. Ala. May 25, 2010); see also Official Comm. of Unsecured Creditors

 v. LTV Corp. (In re Chateaugay Corp.), 973 F.2d 141, 143 (2d Cir. 1992) (holding that a judge

 reviewing a Section 363(b) application must find from the evidence presented a good business

 reason to grant such application).

         59.    “[T]he business judgment rule operates as a presumption ‘that directors making a

 business decision, not involving self-interest, act on an informed basis, in good faith and in the

 honest belief that their actions are in the corporation’s best interest.’” Continuing Creditors’

 Comm. of Star Telecomms., Inc. v. Edgecomb, 385 F.Supp.2d 449, 462 (D. Del. 2004) (quoting

 Grobow v. Perot, 539 A.2d 180, 187 (Del. 1988) overruled on other grounds, Brehm v. Eisner,

 746 A.2d 244 (Del. 2000)); see also Ad Hoc Comm. of Equity Holders of Tectonic Network, Inc.

 v. Wolford, 554 F. Supp.2d 538, 555 n.111 (D. Del. 2008) (same). Thus, this Court should grant

 the relief requested in this Motion if the Debtors demonstrate a sound business justification

 therefor. See In re Del. & Hudson Ry. Co., 124 B.R. 169, 179 (D. Del. 1991).

         60.    The Debtors have sound business justifications for selling the Acquired Assets at

 this time. The Debtors are committed to acquitting their fiduciary obligation to maximize

 distributable value for their creditors through realignment of their operating cost structure and

 implementing a process to advance these cases to an expedient, successful exit from Chapter 11.

 The Debtors commenced the Chapter 11 Cases to facilitate a sale to the highest or best bidder on




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 a going concern basis. The Debtors believe that a sale under Section 363 of the Bankruptcy Code

 would provide for the most value-maximizing outcome of these cases and best protect the interests

 of its employees as well as secured and unsecured creditors.

         61.    The Debtors seek approval of a sale process that is calculated to foster the broadest

 possible participation by potential bidders. While the Debtors have not yet designated a stalking

 horse bidder, the Debtors intend to designate one or more stalking horse bids serving as the floor

 while preserving the Debtors’ right to exercise their fiduciary duties should a value-maximizing

 alternative materialize. This approach is grounded in the Debtors’ belief that commencing a fair

 and robust sale and auction process at this time may maximize the distributable value of their

 estates and elicit valuable market feedback regarding any Stalking Horse APA for their

 stakeholders. Additionally, the Debtors’ secured creditors are supportive of the sale process.

         62.    Accordingly, the Debtors submit that the Bidding Procedures are designed to

 maximize the value of the Acquired Assets and that the sale of the Acquired Assets to a Successful

 Bidder (or Successful Bidders) is in the Debtors’ best interests and should be approved.

 A.      The Bidding Procedures Are Fair, Designed To Maximize The Value Received For
         The Acquired Assets and Consistent with the Debtors’ Reasonable Business
         Judgment.

         63.    The Bidding Procedures are consistent with the Debtors’ reasonable business

 judgment and should be approved. Courts have made clear that a debtor’s business judgment is

 entitled to substantial deference. See, e.g., Stanizale v. Nachtomi (In re Tower Air, Inc.), 416 F.3d

 229, 234 (3d Cir. 2005) (indicating the “business judgment rule creates a presumption that

 directors making a business decision, not involving self-interest, act on an informed basis, in good

 faith and in the honest belief that their actions are in the corporation’s best interest” (quotations

 omitted)). To that end, courts recognize that procedures intended to enhance competitive bidding

 are consistent with the goal of maximizing the value received by the estate and therefore are


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 appropriate in the context of bankruptcy sales.       See, e.g., Official Comm. of Subordinated

 Bondholders v. Integrated Res., Inc. (In re Integrated Res., Inc.), 147 B.R. 650, 659 (S.D.N.Y.

 1992), appeal dismissed, 3 F.3d 49 (2d Cir. 1993) (noting that such procedures “encourage bidding

 and to maximize the value of the debtor’s assets”).

         64.    The Debtors believe that the Bidding Procedures are appropriate under Sections

 105 and 363 of the Bankruptcy Code to ensure that the bidding process is fair and reasonable and

 will yield the maximum value for their estates and creditors. The currently proposed Bidding

 Procedures will establish parameters pursuant to which the value of the Acquired Assets may be

 fully tested at the Auction and ensuing Sale Hearing. Such procedures will increase the likelihood

 that the Debtors receive the greatest possible consideration for the Acquired Assets because they

 will ensure a competitive and fair bidding process that will encourage participation by financially

 capable bidders who demonstrate the ability to close such a transaction. Indeed, the Debtors have

 put limited (if any) constraints on the ability of prospective purchasers to bid on the Acquired

 Assets, and instead have encouraged bid flexibility by, inter alia, allowing the Debtors to consider

 all competing offers and to select, in their reasonable business judgment, and after consultation

 with the Consultation Parties (as defined in the Bidding Procedures), the highest or otherwise best

 offer for the Acquired Assets. The Bidding Procedures also provide potential bidders with

 sufficient notice and an opportunity to acquire information necessary to submit a timely and

 informed bid. Further, the Debtors have instituted mechanisms to ensure an open and robust

 bidding process at the Auction.

         65.    The Bidding Procedures are consistent with the precedent in this District. See, e.g.,

 In re Walter Energy, Inc., No. 15-02741-TOM11 (Bankr. N.D. Ala. Nov. 25, 2015) [Doc. 1119];




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 In re Bruno’s Supermarkets, No. 09-00634-BGC11 (Bankr. N.D. Ala. Apr. 14, 2009) [Doc. 652];

 In re Bill Heard Enters., No. 08-83029-JAC11 (Bankr. N.D. Ala. Nov. 14, 2008) [Doc. 596].

         66.    Accordingly, for all of the foregoing reasons, the Debtors believe that the Bidding

 Procedures (i) will encourage robust bidding for the Acquired Assets, (ii) are consistent with other

 procedures previously approved by courts in this District and (iii) are appropriate under the

 relevant standards governing auction proceedings and bidding incentives in bankruptcy

 proceedings and should be approved.

 B.      Bid Protections Are Necessary to Preserve the Value of the Debtors’ Estates.

         67.    By this Motion, the Debtors request approval to enter into a Stalking Horse APA,

 as an exercise of their business judgment and in accordance with the Bidding Procedures, and to

 offer Bid Protections in connection therewith, if necessary. Specifically, the Debtors may offer

 the Stalking Horse Bidder the following Bid Protections: (i) a Break-Up Fee; (ii) the Expense

 Reimbursement; and/or (iii) a Minimum Overbid Increment.

         68.    Approval of these forms of Bid Protections in connection with the sale of significant

 assets pursuant to Section 363 of the Bankruptcy Code has become an established practice in

 Chapter 11 cases. See, e.g., Calpine Corp. v. O’Brien Envtl. Energy, Inc. (In re O’Brien Envtl.

 Energy, Inc.), 181 F.3d 527, 534–35 (3d Cir. 1999); Integrated Res., Inc., 147 B.R. at 656–57

 (noting that overbid procedures and break-up fee arrangements that have been negotiated by a

 debtor are to be reviewed according to the deferential “business judgment” standard, under which

 such procedures and arrangements are “presumptively valid”); In re 995 Fifth Ave. Assocs., L.P.,

 96 B.R. 24, 28 (Bankr. S.D.N.Y. 1989) (holding that the business judgment standard protects

 break-up fees and other contractual provisions negotiated in good faith). Even though bidding

 incentives are measured against a business judgment standard in non-bankruptcy transactions, the

 administrative expense provisions of Section 503(b) of the Bankruptcy Code govern in the


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 bankruptcy context. In re O’Brien, 181 F.3d at 532–33. Accordingly, to be approved, bidding

 incentives must provide some post-petition benefit to the debtor’s estate. See In re O’Brien, 181

 F.3d at 533.

         69.    The Debtors believe that the Bid Protections are a necessary inducement to the

 Stalking Horse Bidder contractually committing to serve as a bidder at a price the Debtors believe

 is fair, while providing the Debtors with an opportunity to enhance the value to their estate through

 an auction process. Without the Bid Protections, a Stalking Horse Bidder may not be willing to

 enter into the Stalking Horse APA. The Bid Protections were negotiated in good faith. Further,

 the amount of the Bid Protections are reasonable and appropriate in light of the size and nature of

 the Sale Transaction and the efforts that have been and will be expended by the Stalking Horse

 Bidder. Payment of the Bid Protections also will not diminish the value of Debtors’ estates, as the

 Debtors do not intend to terminate the Stalking Horse APA and pay the Bid Protections, unless

 doing so would permit the Debtors to accept a better Bid.

         70.    This Court has approved protections similar to the proposed Bid Protections as

 reasonable and consistent with the type and range of Bid Protections typically approved. See, e.g.,

 In re Walter Energy, Inc., No. 15-02741-TOM11 (Bankr. N.D. Ala. Nov. 25, 2015) [Doc. 1119];

 In re Bill Heard Enters., Inc., No. 08-83029-JAC11 (Bankr. N.D. Ala. Nov. 14, 2008) [Doc. 596];

 In re Carraway Methodist Health Sys., No. 06-03501-TOM11 (Bankr. N.D. Ala. Oct. 6, 2006)

 [Doc. 166].




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 C.       Approval of the Sale Is Warranted under Section 363(b) of the Bankruptcy Code.8

          71.      As set forth above, a debtor may be authorized to sell assets out of the ordinary

 course of business pursuant to Section 363 of the Bankruptcy Code and before obtaining a

 confirmed Chapter 11 plan when it demonstrates a sound business purpose for doing so. See In re

 Abbotts Dairies of Pennsylvania, Inc., 788 F.2d 143, 147-49 (3d Cir. 1986) (implicitly adopting

 the “sound business judgment test” of Lionel); Gulf States Steel, Inc. of Ala. 285 B.R. at 515; In re

 Dura Auto. Sys., Inc., No. 06-11202 (KJC), 2007 WL 7728109, at *5 (Bankr. D. Del. Aug. 15,

 2007) (finding that “[t]he Debtors have demonstrated compelling circumstances and a good,

 sufficient, and sound business purpose and justification for the Sale prior to, and outside of, a plan

 of reorganization”); Dai-Ichi Kangyo Bank Ltd. v. Montgomery Ward Holding Corp. (In re

 Montgomery Ward Holding Corp.), 242 B.R. 147, 153 (D. Del. 1999) (“In determining whether to

 authorize the use, sale or lease of property of the estate under [Section 363(b)], courts require the

 debtor to show that a sound business purpose justifies such actions . . . .”); Delaware & Hudson

 Ry. Co., 124 B.R. at 176 (sale of substantially all of debtor’s assets outside of reorganization plan

 is appropriate when a sound business reason justifies such a sale); Comm. of Equity Sec. Holders

 v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1070 (2d Cir. 1983) (concluding that “there

 must be some articulated business justification, other than appeasement of major creditors, for

 using, selling or leasing property out of the ordinary course of business before the bankruptcy


 8
    No consumer privacy ombudsman is required to be appointed in connection with the proposed Sale Transaction.
 Under Section 363(b)(1), property of the estate can be sold other than in the ordinary course of business “except that
 if the debtor in connection with offering a product or a service discloses to an individual a policy prohibiting the
 transfer of personally identifiable information about individuals to persons that are not affiliated with the debtor and
 if such policy is in effect on the date of the commencement of the case, then the trustee may not sell or lease personally
 identifiable information to any person unless: (A) such sale or such lease is consistent with such policy; or (B) [a
 consumer privacy ombudsperson is appointed and makes a report.]” 11 U.S.C. § 363(b)(1) (emphasis added). The
 Remington privacy policy specifically discloses that “We reserve the right to transfer any information, including
 Personal Information, in the event all, or a portion, of our business or assets are sold or transferred, including in
 connection with a sale, merger, consolidation, change in control, transfer of assets, reorganization or liquidation of
 our business.” Because Remington’s policy disclosed to individuals does not in fact prohibit the transfer of personally
 identifiable information in these circumstances, Section 363(b)(1)(B) is not applicable.


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 judge may order such disposition under section 363(b)”); Titusville Country Club v. Pennbank (In

 re Titusville Country Club), 128 B.R. 396, 399 (Bankr. W.D. Pa. 1991) (stating that the “sound

 business purpose test” is appropriate). Once a court has determined there is a sound business

 justification for a sale outside of a plan, the court must also determine that (i) the trustee has

 provided the interested parties with adequate and reasonable notice, (ii) the sale price is fair and

 reasonable and (iii) the purchaser is proceeding in good faith. Delaware & Hudson, 124 B.R. at

 176.

         72.    The Debtors submit that the sale of the Acquired Assets is based upon their sound

 business judgment. As explained above, the Debtors have determined that a sale, conducted in

 accordance with the Bidding Procedures, is in the best interest of their estates. The Debtors believe

 that continuing and concluding the sale process that they have been pursuing for months now will

 allow them to obtain the highest market value available for the Acquired Assets while preserving

 the Debtors’ right to exercise their fiduciary duties should a value-maximizing alternative

 materialize.

         73.    The Debtors also meet the additional requirements necessary to approve a sale

 under Section 363 of the Bankruptcy Code. As stated herein, the Debtors will provide adequate

 notice of the Sale to interested parties, and the Debtors believe that the notice procedures described

 herein are reasonable and adequate under the circumstances. Additionally, the Debtors will enter

 into a purchase agreement with a Successful Bidder after a substantial and deliberate effort to

 market the Acquired Assets is fair and reasonable. Accordingly, the Debtors submit that it is a

 valid exercise of their business judgment to seek the relief requested by this Motion.




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 D.      The Proposed Sale Transaction Satisfies the Requirements of Bankruptcy Code
         Section 363(f) for a Sale Free and Clear of Interests.

         74.     Pursuant to the Form APA, the sale is free and clear of any interest under Section

 363(f) of the Bankruptcy Code, except as provided therein. Section 363(f) of the Bankruptcy Code

 provides that a sale of encumbered property “free and clear of any interest” is permissible, only if

 “applicable non-bankruptcy law permits sale of such property free and clear of such interest,”

 entities holding interests in the property consent to the sale, “such interest is a lien and the price at

 which such property is to be sold is greater than the aggregate value of all liens on such property,

 such interest is in bona fide dispute, or such entity could be compelled, in a legal or equitable

 proceeding, to accept a money satisfaction of such interest.” 11 U.S.C. § 363(f) (emphasis

 supplied).

         75.     Section 363(f) of the Bankruptcy Code is drafted in the disjunctive and, as such, it

 is necessary to meet only one of these five conditions. To the extent an entity with liens on the

 Acquired Assets does not consent to the proposed Sale Transaction, the Debtors believe that they

 will be able to demonstrate at the Sale Hearing satisfaction of the requirements of Section 363(f)

 of the Bankruptcy Code. Alternatively, the Debtors may sell the Acquired Assets free and clear

 of any other interests under Section 363(f)(5), because the liens on any Acquired Assets sold will

 attach to the proceeds of such a sale and entities holding such interests could be compelled to

 accept money satisfaction in legal or equitable proceedings. Accordingly, pursuant to Section 363

 of the Bankruptcy Code, the Debtors may sell the Acquired Assets free and clear of all liens,

 claims, and encumbrances.

         76.     The Debtors also submit that it is appropriate to sell the Acquired Assets free and

 clear of successor liability relating to the Debtors’ business except as otherwise provided pursuant

 to the terms of the agreed-upon asset purchase agreement. Such a provision ensures that the



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 Successful Bidder is protected from any claims or lawsuits premised on the theory that the

 Successful Bidder is a successor in interest to one or more of the Debtors. Courts have consistently

 held that a buyer of a debtor’s assets pursuant to a Section 363 of the Bankruptcy Code sale takes

 free and clear from successor liability relating to the debtor’s business. See, e.g., United States

 v. Knox-Schillinger (In re Trans World Airlines, Inc.), 322 F.3d 283, 288-90 (3d Cir. 2003) (sale

 of assets pursuant to Section 363(f) barred successor liability claims for employment

 discrimination and rights under travel voucher program); United Mine Workers of Am. 1992

 Benefit Plan v. Leckie Smokeless Coal. Co. (In re Leckie Smokeless Coal Co.), 99 F.3d 573, 585-86

 (4th Cir. 1996) (affirming the sale of debtors’ assets free and clear of certain taxes); Amphenol

 Corp. v. Shandler (In re Insilco Techs., Inc.), 351 B.R. 313, 321-22 (Bankr. D. Del. 2006) (stating

 that a 363 sale permits a buyer to take ownership of property without concern that a creditor will

 file suit based on a successor liability theory); In re General Motors Corp., 407 B.R. 463, 505-06

 (Bankr. S.D.N.Y. 2009), aff’d sub nom., In re Motors Liquidation Corp., 428 B.R. 43 (S.D.N.Y.

 2010) & 430 B.R. 65 (S.D.N.Y. 2010) (permitting “[debtor]’s assets to pass to the purchaser free

 and clear of successor liability claims, and in that connection, [] issu[ing] the requested findings

 and associated injunction.”); In re Chrysler LLC, 405 B.R. 84, 111 (Bankr. S.D.N.Y. 2009) (“[I]n

 personam claims, including any potential state successor or transferee liability claims against New

 Chrysler, as well as in rem interests, are encompassed by Section 363(f) and are therefore

 extinguished by the Sale Transaction.”); Gulf States Steel, 285 B.R. at 506.

         77.    The purpose of an order purporting to authorize the transfer of assets free and clear

 of all liens, claims, encumbrances, and all other interests would be frustrated if claimants could

 thereafter use the transfer as a basis to assert claims against a purchaser arising from a seller’s pre-

 sale conduct. Moreover, without such assurances, the Debtors would run the risk that potential




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 bidders may not enter the auction or, if they did, would do so with reduced bid amounts. To that

 end, the Successful Bidder should not be liable under any theory of successor liability relating to

 the Debtors’ businesses, but should hold the Acquired Assets free and clear.

 E.      A Successful Bidder Should Be Entitled to the Protections of Section 363(m) of the
         Bankruptcy Code.

         78.    Pursuant to Section 363(m) of the Bankruptcy Code, a good faith purchaser is one

 who purchases assets for value, in good faith, and without notice of adverse claims. See Miami

 Ctr. Ltd. P’ship v. Bank of New York, 838 F.2d 1547, 1554 (11th Cir. 1988); Mark Bell Furniture

 Warehouse, Inc., v. D. M. Reid Assocs., Ltd. (In re Mark Bell Furniture Warehouse, Inc.), 992

 F.2d 7, 8 (1st Cir. 1993); In re Willemain v. Kivitz, 764 F.2d 1019, 1023 (4th Cir. 1985); In re

 Congoleum Corp., No. 03-51524, 2007 WL 1428477, *2 (Bankr. D. N.J. May 11, 2007); Abbotts

 Dairies of Pa., 788 F.2d 143, 147 (3d Cir. 1986).

         79.    Any agreement consummating a Sale or Sales will be negotiated at arm’s-length by

 sophisticated parties, each represented by their own advisors. Accordingly, the Debtors request

 that the Sale Order (or Sale Orders) include a provision that the Successful Bidder (or Successful

 Bidders) for the Acquired Assets, is a “good faith” purchaser within the meaning of Section 363(m)

 of the Bankruptcy Code. The Debtors believe that providing any Successful Bidder with such

 protection will ensure that the maximum price will be received by the Debtors for the Acquired

 Assets and closing of the same will occur promptly.

 F.      Notice of the Auction and Sale Hearing Is Reasonable and Appropriate.

         80.    The Debtors submit that the Sale Notice as set forth above, along with publication

 of the Sale Notice as described herein on one occasion on the Mailing Date or as soon as reasonably

 practicable thereafter (and in local publications of general circulation as the Debtors deem

 appropriate) is reasonable and appropriate and will be adequate to ensure that all interested parties



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 have the opportunity to bid for the Acquired Assets, and/or object to the proposed sale of the

 Debtors’ Acquired Assets. Accordingly, the Debtors submit that the foregoing method of notice

 is reasonable under the circumstances.

 G.      Assumption and Assignment of Executory Contracts and Unexpired Leases Should
         Be Authorized.

         81.    Section 365(a) of the Bankruptcy Code provides, in pertinent part, that a debtor in

 possession “subject to the court’s approval, may assume or reject any executory contract or

 unexpired lease of the debtor.” 11 U.S.C. § 365(a). The standard governing a debtor’s decision

 to assume or reject an executory contract or unexpired lease is whether the debtor’s reasonable

 business judgment supports assumption or rejection. See, e.g., In re Gardinier, Inc., 831 F.2d 974,

 976, n.2 (11th Cir. 1987); In re HQ Global Holdings, Inc., 290 B.R. 507, 511 (Bankr. D. Del.

 2003) (debtor’s decision to assume or reject executory contract is governed by business judgment

 standard and can only be overturned if decision was product of bad faith, whim, or caprice); In re

 Market Square Inn, Inc., 978 F.2d 116, 121 (3d Cir. 1992) (assumption or rejection of lease “will

 be a matter of business judgment by the bankruptcy court” (citation omitted)); Sharon Steel Corp.

 v. Nat’l Fuel Gas Distrib. Corp., 872 F.2d 36, 39-40 (3d Cir. 1989) (same). If the debtor’s business

 judgment has been reasonably exercised, a court should approve the assumption or rejection of an

 unexpired lease or executory contract. See Grp. of Inst. Investors v. Chicago M. St. P. & P.R.R.

 Co., 318 U.S. 523 (1943); Sharon Steel Corp. v. Nat’l Fuel Gas Distrib. Corp., 872 F.2d at 39-40.

 The business judgment test “requires only that the trustee [or debtor in possession] demonstrate

 that [assumption or] rejection of the contract will benefit the estate.” Wheeling-Pittsburgh Steel

 Corp. v. West Penn Power Co., (In re Wheeling-Pittsburgh Steel Corp.), 72 B.R. 845, 846 (Bankr.

 W.D. Pa. 1987) (quoting In re Stable Mews Assocs., 41 B.R. 594, 596 (Bankr. S.D.N.Y 1984)).

 Any more exacting scrutiny would slow the administration of a debtor’s estate, increase costs,



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 interfere with the Bankruptcy Code’s provision for private control of administration of the estate,

 and threaten the court’s ability to control a case impartially. See Richmond Leasing Co. v. Capital

 Bank, N.A., 762 F.2d 1303, 1311 (5th Cir. 1985) (citation omitted). In addition, for a debtor to

 assume an executory contract, it must “cure, or provide adequate assurance that the debtor will

 promptly cure,” any default, including compensation for any “actual pecuniary loss” relating to

 such default. 11 U.S.C. § 365(b)(1)(A).

            82.   Once an executory contract is assumed, the trustee or debtor in possession may

 elect to assign such contract. See L.R.S.C. Co. v. Rickel Home Ctrs., Inc. (In re Rickel Home Ctr.,

 Inc.), 209 F.3d 291, 299 (3d Cir. 2000) (indicating that “[t]he Code generally favors free

 assignability as a means to maximize the value of the debtor’s estate”); Leonard v. General Motors

 Corp. (In re Headquarters Dodge, Inc.), 13 F.3d 674, 682 (3d Cir. 1994) (noting that purpose of

 Section 365(f) of the Bankruptcy Code is to assist trustee in realizing the full value of the debtor’s

 assets).

            83.   Section 365(f) of the Bankruptcy Code provides that the “trustee may assign an

 executory contract . . . only if the trustee assumes such contract . . . and adequate assurance of

 future performance is provided.” 11 U.S.C. § 365(f)(2). The meaning of “adequate assurance of

 future performance” depends on the facts and circumstances of each case, but should be given a

 “practical, pragmatic construction.” In re Citrus Tower Blvd. Imaging Ctr., LLC, 2012 WL

 1820814, at *5 (Bankr. N.D. Ga. Apr. 2, 2012); In re DBSI, Inc., 405 B.R. 698, 708 (Bankr. D.

 Del. 2009); EBG Midtown S. Corp. v. McLaren/Hart Env. Eng’g Corp. (In re Sanshoe Worldwide

 Corp.), 139 B.R. 585, 592 (S.D.N.Y. 1992); In re Decora Indus., 2002 U.S. Dist. LEXIS 27031,

 at * 23 (D. Del. 2002) (“adequate assurance falls short of an absolute guaranty of payment”




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 (citation omitted)); Carlisle Homes, Inc. v. Azzari (In re Carlisle Homes, Inc.), 103 B.R. 524, 538

 (Bankr. D.N.J. 1988).

         84.    Adequate assurance may be provided by demonstrating the assignee’s financial

 health and experience in managing the type of enterprise or property assigned. See, e.g., In re

 Bygaph, Inc., 56 B.R. 596, 605-06 (Bankr. S.D.N.Y. 1986) (adequate assurance is present when

 prospective assignee of lease from debtor has financial resources and has expressed willingness to

 devote sufficient funding to business to give it strong likelihood of succeeding).

         85.    To facilitate and effect the proposed Sale Transaction, the Debtors request approval

 of the assumption and assignment of any Acquired Contracts to any Successful Bidder under

 Section 365 of the Bankruptcy Code. The Debtors further request that the Sale Order(s) provide

 that the Acquired Contracts will be transferred to, and remain in full force and effect for the benefit

 of, the Successful Bidder(s) notwithstanding any provisions in the Acquired Contracts, including

 those described in Sections 365(b)(2), (f)(1) and (f)(3) of the Bankruptcy Code that prohibit such

 assignment.

         86.    Any Successful Bidder must (i) submit evidence sufficient to demonstrate its

 financial wherewithal and ability to consummate the Sale Transaction, including the assumption

 of the Acquired Contracts at the closing of the purchase agreement and (ii) provide adequate

 assurance of future performance in connection with any assigned executory contracts and leases.

 Furthermore, to the extent that any defaults exist under any executory contract or unexpired lease

 that is to be assumed and assigned in connection with the sale of the Acquired Assets, the

 Successful Bidder will cure any such default prior to such assumption and assignment.

         87.    The Debtors will present facts at the Sale Hearing to demonstrate the financial

 credibility, willingness, and ability of the Successful Bidder to perform under the Acquired




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 Contracts. The Sale Hearing thus will afford the Court and other interested parties the opportunity

 to evaluate the ability of the Successful Bidder to provide adequate assurance of future

 performance under the Acquired Contracts, as required under Section 365(b)(1)(C) of the

 Bankruptcy Code. Further, as set forth above, the Debtors will give notice to all parties to the

 Acquired Contracts of their intention to assume the Acquired Contracts and what the Debtors

 believe are the Cure Costs.

         88.    Accordingly, the Debtors submit that implementation of the proposed Assumption

 and Assignment Procedures is appropriate in the Chapter 11 Cases. The Court therefore should

 have a sufficient basis to authorize the Debtors to reject or assume and assign contracts as will be

 set forth in the Successful Bidder’s purchase agreement.

 H.      Payment of the Priority Term Loan Obligations and a Portion of the FILO Term
         Loan Obligations from the Sale Proceeds Should Be Authorized.

         89.    By this Motion, the Debtors request the authority, but not obligation, to pay (i) the

 Priority Term Loan Obligations in cash from the Sale proceeds and (ii) subject to the Intercreditor

 Agreement, the FILO Term Loan Obligations from the Sale proceeds and, solely to the extent that

 the Priority Term Loan Obligations are paid in full in cash, any amounts in the Dominion Account

 (as defined in the Priority Term Loan Credit Agreement) in an amount equal to $35 million or such

 other amount agreed to by the Debtors and the FILO Term Loan Secured Creditors to be disclosed

 to the Court in advance of the Sale Hearing, it being agreed and understood that (x) any such

 payment shall be funded first, and solely to the extent that the Priority Term Loan Obligations are

 paid in full in cash, from any amounts in the Dominion Account to the extent retained by the

 Debtors after the closing date of the Sale and (y) following entry of the Bidding Procedures Order,

 the Debtors shall negotiate in good faith with the FILO Term Loan Secured Creditors concerning

 such other amount. Any further payment to the FILO Agent, for the account of the FILO Term



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 Loan Secured Creditors, shall be subject to Court order or provided under the Debtors’ Chapter 11

 plan.

         90.    As more fully set forth in the Priority Term Loan Documents and subject to

 Permitted Prior Liens and the Intercreditor Agreement, prior to the Petition Date, to secure

 repayment of the Priority Term Loan Obligations the Debtors granted the Priority Term Loan

 Agent valid, binding, properly perfected, enforceable, non-avoidable first priority security interests

 in and liens on (a) certain assets of the Debtors, including, without limitation, accounts receivable,

 intellectual property, inventory, and proceeds thereof and (b) substantially all other assets of the

 Debtors that do not constitute ABL Priority Collateral. The Priority Term Loan Obligations have

 first priority perfected liens on the Acquired Assets, senior to all other Prepetition Secured

 Obligations. With no dispute as to the validity of the liens securing the Priority Term Loan

 Obligations in the view of the Debtors, the Debtors believe in their good faith judgment that it is

 in the best interests of their stakeholders to repay the Priority Term Loan Obligations promptly

 upon the closing of the Sale in order to cut off the accrual of interest on the Priority Term Loan

 Obligations that would otherwise erode the availability of the Sale proceeds for downstream

 creditors. Accordingly, the Debtors seek authority but not the obligation to repay (i) the Priority

 Term Loan Obligations within three (3) business days of receipt of the cash proceeds from the

 Sale.

         91.    Similarly, as more fully set forth in the FILO Term Loan Documents and subject to

 Permitted Prior Liens and the Intercreditor Agreement, prior to the Petition Date, to secure

 repayment of the FILO Term Loan Obligations the Debtors granted the FILO Agent valid, binding,

 properly perfected, enforceable, non-avoidable (a) first priority security interests in and liens on

 the TL Priority Collateral and (b) second priority security interests in and liens on the ABL Priority




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 Collateral. With no dispute as to the validity of the liens securing the FILO Term Loan Obligations

 in the view of the Debtors, the Debtors believe in their good faith judgment that it is in the best

 interests of their stakeholders to repay a portion of the FILO Term Loan Obligations from the Sale

 proceeds. Subject to the Intercreditor Agreement, the Debtors should be authorized, but not

 directed to pay an amount to be agreed upon by the Debtors and the FILO Term Loan Secured

 Creditors to be disclosed to the Court in advance of the Sale Hearing, which amount would be (a)

 funded first, solely to the extent that the Priority Term Loan Obligations are paid in full in cash,

 from the remaining funds from the Dominion Account and (b) determined in connection with

 agreement upon a wind-down budget that provides for the administrative costs incurred in

 connection with the sale process.

                               REQUEST FOR WAIVER OF STAY

         92.    Bankruptcy Rule 6004(h) provides that an “order authorizing the use, sale, or lease

 of property . . . is stayed until the expiration of 14 days after entry of the order, unless the court

 orders otherwise.” Fed. R. Bankr. P. 6004(h). Bankruptcy Rule 6006(d) further provides that an

 “order authorizing the trustee to assign an executory contract or unexpired lease under § 365(f) is

 stayed until the expiration of 14 days after the entry of the order, unless the court orders otherwise.”

 Fed. R. Bankr. P. 6006(d).

         93.    The Debtors believe that any Sale Transaction should be consummated as soon as

 practicable to preserve and maximize value. Accordingly, the Debtors request that any Sale Order

 approving the sale of the Acquired Assets and the assumption and assignment of the Designated

 Contracts be effective immediately upon entry of such order and that the fourteen-day stay under

 Bankruptcy Rules 6004(h) and 6006(d) be waived.




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                                                NOTICE

         94.     The Debtors will provide notice of this Motion by facsimile, e-mail, overnight

 delivery, or hand delivery to: (i) the Bankruptcy Administrator; (ii) counsel to the Committee, if

 one is appointed; (iii) the holders of the forty largest unsecured claims against the Debtors on a

 consolidated basis; (iv) counsel to Cantor Fitzgerald Securities, as Priority Term Loan Agent under

 the Debtors’ prepetition Priority Term Loan Credit Agreement; (v) counsel to Ankura Trust

 Company, LLC, as FILO Agent under the Debtors’ prepetition FILO Term Loan Agreement, and

 as Exit Term Loan Agent under the Debtors’ prepetition Exit Term Loan Agreement; (vi) counsel

 to the FILO Lenders; (vii) counsel for the Restructuring Committee; (viii) counsel to the Huntsville

 Note holder; (ix) counsel to Whitebox Advisors LLC; (x) the Securities and Exchange

 Commission; (xi) the Internal Revenue Service; (xii) counsel to the United Mine Workers of

 America; and (xiii) all parties entitled to notice pursuant to Local Rule 9013-1(m). Following the

 hearing, a copy of this Motion and any order entered with respect to it will be served on the

 foregoing parties and all parties having filed requests for notice in the Chapter 11 Cases. A copy

 of    this     Motion    is     also    available    on    the    Debtors’   Case    Website      at

 https://cases.primeclerk.com/RemingtonOutdoor. In light of the nature of the relief requested

 herein, the Debtors submit that no other or further notice is necessary.

                                        NO PRIOR REQUEST

         95.     No prior request for the relief sought in this Motion has been made to this or any

 other court.


                               (Remainder of page intentionally left blank)




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          WHEREFORE, the Debtors respectfully request that the Court grant the relief requested

 herein and such other and further relief as the Court may deem just and proper.



 Dated:        July 28, 2020
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                                              Proposed Attorneys for the
                                              Debtors and Debtors in Possession




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                                    Exhibit A

                        Proposed Bidding Procedures Order




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                          IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF ALABAMA
                                     NORTHERN DIVISION


     In re:                                                       Chapter 11

     REMINGTON OUTDOOR COMPANY, INC.,                             Case No. 20-81688-11
     et al.,1
                                                                  Joint Administration Requested
                                 Debtors.


                 ORDER ESTABLISHING BIDDING PROCEDURES RELATING
               TO THE SALES OF ALL OR A PORTION OF THE DEBTORS’ ASSETS

              This matter having come before the Court upon the motion (the “Motion”)2 by Remington

 Outdoor Company, Inc., (“Remington” or the “Company”), and its affiliated debtors and debtors

 in possession (collectively the “Debtors”) in the above-captioned Chapter 11 cases (collectively,

 the “Chapter 11 Cases”), seeking entry of this order (this “Bidding Procedures Order”) (i)

 approving the proposed bidding procedures attached hereto as Exhibit 1 (the “Bidding

 Procedures”) by which the Debtors will solicit and select the highest or otherwise best offer for

 the sale of substantially all or a portion of their assets (the “Acquired Assets”) through one or

 more sales of the Acquired Assets (each, a “Sale Transaction” or “Sale”); (ii) establishing

 procedures for the assumption and assignment of executory contracts and unexpired leases,

 including notice of proposed cure amounts (the “Assumption and Assignment Procedures”);

 (iii) approving the form and manner of notice with respect to certain procedures, protections,


 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.
 2
   Capitalized terms used but not otherwise defined herein have the meanings given to them in the Motion or the
 Bidding Procedures, as applicable.




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 schedules, and agreements described herein and attached hereto, including the Debtors’ selection

 of one or more stalking horse bidders (each, a “Stalking Horse Bidder”), if any, and the provision

 of Bid Protections (as defined below) to such Stalking Horse Bidder, if necessary; (iv) scheduling

 (a) an auction (the “Auction”) if the Debtors receive two (2) or more timely and acceptable

 Qualified Bids (as defined below), and (b) a final hearing (the “Sale Hearing”) to approve one or

 more Sales of the Acquired Assets; and (v) granting related relief; and it appearing that the relief

 requested is in the best interests of the Debtors’ estates, their creditors, and other parties-in-interest;

 and it appearing that this Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

 1334; and it appearing that the Motion is a core proceeding pursuant to 28 U.S.C. § 157; and

 adequate notice of the Motion and opportunity for objection having been given, with no objections

 having been filed, or all objections having been resolved or overruled, as the case may be; and it

 appearing that no other notice need be given; and after due deliberation and sufficient cause

 therefor,

 IT IS HEREBY FOUND AND DETERMINED THAT:

         A.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334,

 and the General Order of Reference of the United States District Court for the Northern District of

 Alabama dated July 16, 1984, as amended on July 17, 1984. This matter is a core proceeding

 pursuant to 28 U.S.C. § 157(b)(2). The predicates for the relief granted herein are Sections 105,

 363, and 365 of the Bankruptcy Code and Bankruptcy Rules 2002, 6004, and 6006. Venue in this

 Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         B.      The legal and factual bases set forth in the Motion establish just cause for the relief

 granted herein. Entry of this Bidding Procedures Order is in the best interests of the Debtors and

 their respective estates, creditors, and all other parties in interest.



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            C.   The notice of the Motion, the Bidding Procedures Hearing, and the proposed entry

 of this Bidding Procedures Order was adequate and sufficient under the circumstances of the

 Chapter 11 Cases, and such notice complied with all applicable requirements of the Bankruptcy

 Code, the Bankruptcy Rules, and the Local Rules. Accordingly, no further notice of the Motion,

 the Bidding Procedures Hearing, or this Bidding Procedures Order is necessary or required.

            D.   The Debtors have demonstrated a compelling and sound business justification for

 the Court to grant the relief requested in the Motion, including, without limitation, to (i) approve

 the Bidding Procedures, including the procedures for selecting one or more Stalking Horse Bidders

 and the provision of the Bid Protections to be determined, (ii) establish the Assumption and

 Assignment Procedures, (iii) approve the form and manner of notice of all procedures, protections,

 schedules, and agreements described in the Motion and attached thereto, (iv) schedule a date for

 the (a) Auction and (b) Sale Hearing; and (v) grant related relief as set forth herein. Such

 compelling and sound business justification, which was set forth in the Motion and on the record

 at the Bidding Procedures Hearing, are incorporated herein by reference and, among other things,

 form the basis for the findings of fact and conclusions of law set forth herein.

            E.   The Bidding Procedures, substantially in the form attached hereto as Exhibit 1 and

 incorporated herein by reference as if fully set forth in this Bidding Procedures Order, are fair,

 reasonable and appropriate and represent the best method for maximizing the value of the Debtors’

 estates.

            F.   The Debtors are authorized to pay the break-up fee and expense reimbursement

 comprising the Bid Protections. The Bid Protections, to the extent payable under any Stalking

 Horse APA, (a)(x) are actual and necessary costs and expenses of preserving the Debtors’ estate

 within the meaning of Section 503(b) of the Bankruptcy Code, and (y) shall be treated as allowed



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 administrative claims against the Debtors’ estates pursuant to Sections 105(a) and 364(c)(1) of the

 Bankruptcy Code, are commensurate to the real and material benefits conferred upon the Debtors’

 estates by the Stalking Horse Bidders, and (c) are fair, reasonable and appropriate, including in

 light of the size and nature of the Sale Transaction, the necessity to announce a sale transaction for

 the Acquired Assets, and the efforts that have been and will be expended by the Stalking Horse

 Bidders. The Bid Protections are a material inducement for, and condition of, each Stalking Horse

 Bidder’s execution of the applicable Stalking Horse APA. Unless it is assured that the Bid

 Protections will be available, the Stalking Horse Bidders are unwilling to remain obligated to

 consummate the Sale Transaction or otherwise be bound under its Stalking Horse APA (including

 the obligations to maintain its committed offer while such offer is subject to higher or better offers

 as contemplated by the Bidding Procedures).

         G.     The Sale Notice and the Publication Notice, substantially in the forms attached to

 the Motion as Exhibit C and Exhibit D, respectively, and incorporated herein by reference as if

 fully set forth in this Bidding Procedures Order, are appropriate and reasonably calculated to

 provide all interested parties with timely and proper notice of the sale of Acquired Assets, including

 the sale of Acquired Assets free and clear of all liens, claims, and encumbrances, the Sale

 Transaction(s), the Bidding Procedures, the Auction and the Sale Hearing, and no other or further

 notice is required.

         H.     The Post-Auction Notice, substantially in the form attached to the Motion as

 Exhibit E and incorporated herein by reference as if fully set forth in this Bidding Procedures

 Order, is appropriate and reasonably calculated to provide all interested parties with timely and

 proper notice of the Successful Bidder(s), and no other or further notice is required.




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         I.       The Assumption and Assignment Notice, substantially in the form attached to the

 Motion as Exhibit F and incorporated herein by reference as if fully set forth in this Bidding

 Procedures Order, is appropriate and reasonably calculated to provide all interested parties with

 timely and proper notice of the potential assumption and assignment of the Designated Contracts

 in connection with the sale of the Acquired Assets and the related Cure Costs, and no other or

 further notice is required.

         J.       The findings of fact and conclusions of law herein constitute the Court’s findings

 of fact and conclusions of law for the purposes of Bankruptcy Rule 7052, made applicable pursuant

 to Bankruptcy Rule 9014. To the extent any findings of facts are conclusions of law, they are

 adopted as such. To the extent any conclusions of law are findings of fact, they are adopted as

 such.

 IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

         1.       The Motion is granted as set forth herein.3

         2.       All objections to the relief requested in the Motion that have not been withdrawn,

 waived, or settled as announced to the Court at the Bidding Procedures Hearing or by stipulation

 filed with the Court are overruled except as otherwise set forth herein.

 I.      The Timeline for the Sale

         3.       The Debtors are authorized to proceed with the Sale Transaction(s) in accordance

 with the Bidding Procedures and are authorized to take any and all actions reasonably necessary

 or appropriate to implement the Bidding Procedures in accordance with the following timeline:




 3
   Notwithstanding anything to the contrary herein, the consummation of any Sale Transaction(s) is subject to entry of
 the Sale Order(s).


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                        Deadline                                          Action
                                                         Hearing to consider approval of the
  August 17, 2020 at 10:00 a.m. (prevailing Central
                                                         Bidding Procedures and entry of the
  Time)
                                                         Bidding Procedures Order
  August 21, 2020                                        Sale Notice Mailing Date
                                                         Assumption and Assignment Service
  August 21, 2020
                                                         Date
  August 24, 2020 at 4:00 p.m. (prevailing Central       Sale Objection Deadline (defined
  Time)                                                  below)
  September 1, 2020 at 5:00 p.m. (prevailing Central
                                                         Bid Deadline
  Time)
  September 1, 2020 at 12:00 p.m. (prevailing Central
                                                         Reply Deadline (defined below)
  Time)
  September 4, 2020 by 4:00 p.m. (prevailing Central
                                                         Assumption and Assignment
  Time) or 14 days following service of the
                                                         Objection Deadline
  Supplemental Notice of Assumption and Assignment
  September 8, 2020 at 10:00 a.m. (prevailing Central
                                                         Auction
  Time)
  September 9, 2020                                      Post-Auction Notice
  September 10, 2020 at 10:00 a.m. (prevailing Central
                                                         Sale Hearing
  Time)

         4.    For the avoidance of doubt, the Debtors reserve the right, and are authorized to,

 modify the above timeline and the Bidding Procedures (the “Modifications”) in accordance with

 the provisions of the Bidding Procedures; provided, however, that the Debtors shall consult with

 the Consultation Parties or, to the extent provided therein, the Bid Consultation Parties, with

 respect to any Modifications.

 II.     The Bidding Procedures

         5.    The Bidding Procedures are approved in their entirety. The Debtors are authorized

 to take any and all actions reasonably necessary or appropriate to implement the Bidding

 Procedures in accordance therewith. The failure to specifically include or reference a particular




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 provision of the Bidding Procedures in this Bidding Procedures Order shall not diminish or impair

 the effectiveness of such provision.

         6.     The Debtors are authorized, in accordance with the Bidding Procedures, to require

 Diligence Parties to submit written indications of interest specifying, among other things, the

 Acquired Assets proposed to be acquired, the amount and type of consideration to be offered, and

 any other material terms to be included in a bid by such party.

         7.     The process and requirements associated with submitting a Qualified Bid are

 approved as fair, reasonable, appropriate and designed to maximize recoveries for the benefit of

 the Debtors’ estates, creditors, and other parties in interest. As further described in the Bidding

 Procedures, the Bid Deadline shall be September 1, 2020 at 5:00 p.m. (prevailing Central

 Time). Any disputes or objections to the selection of Qualified Bid(s), Successful Bid(s), or

 Backup Bid(s) (all as defined in the Bidding Procedures) shall be resolved by this Court at the Sale

 Hearing as set forth herein.

         8.     The Debtors are authorized to conduct the Auction in accordance with the Bidding

 Procedures. The Auction shall take place on September 8, 2020 at 10:00 a.m. (prevailing

 Central Time) virtually via video conferencing technology, or at such other place and time as the

 Debtors shall notify all Qualified Bidders and the Consultation Parties.

         9.     The Prepetition Secured Creditors shall have the right, subject in all respects to the

 Bankruptcy Code and other applicable law and the satisfaction in cash or assumption of claims

 secured by senior liens, to credit bid all or any portion of their allowed secured claims pursuant to

 Section 363(k) of the Bankruptcy Code or other applicable law, in accordance with the applicable

 provisions of the Prepetition Credit Documents and any such credit bid shall be deemed a Qualified

 Bid subject to the Intercreditor Agreement (as defined in the D’Arcy Declaration); provided,



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 however, that nothing herein or in the Bidding Procedures shall affect or in any way limit the right

 or ability of any party in interest, including the Committee, to object to the Prepetition Secured

 Creditors’ right to credit bid, including the nature, amount, or scope of such credit bid, subject to

 the (a) applicable provisions of the Court’s Interim Order Pursuant To 11 U.S.C. §§ 105, 361, 362,

 363, 364, 503 and 507 (I) Authorizing Use Of Cash Collateral, (II) Granting Adequate Protection,

 (III) Modifying Automatic Stay, (IV) Granting Related Relief, and (V) Scheduling A Final Hearing

 [Docket No. __], including paragraph 20 and the Challenge Period (as defined therein), as the same

 may be modified in accordance with its terms and (b) Sale Objection Deadline (as defined below).

 III.    Stalking Horse Bidder and Bid Protections

         10.    In accordance with the Bidding Procedures, the Debtors may designate one or more

 Stalking Horse Bidders for the various segments of their business and may enter into an asset

 purchase agreement with each Stalking Horse Bidder (each, a “Stalking Horse APA”), subject to

 higher or otherwise better offers at the Auction, which establishes a minimum Qualified Bid at the

 Auction with respect to the assets that are the subject thereof.

         11.    Absent further order of the Court, the Stalking Horse APA shall (i) limit the break-

 up fee in favor of the Stalking Horse Bidder in the amount of no more than 3.5% of the cash

 consideration proposed to be paid at closing by the Stalking Horse Bidder under the applicable

 Stalking Horse APA (the “Break-Up Fee”); (ii) limit any reimbursement for the Stalking Horse

 Bidder’s and its attorneys’, accountants’, investment bankers’ and representatives’ documented

 fees and expenses actually and reasonably incurred in negotiating and documenting the Stalking

 Horse APA, and in preserving and protecting Stalking Horse Bidder’s rights and interests as buyer

 and lender in connection with the Chapter 11 Cases to an amount not to exceed 1.0% of the cash

 consideration proposed to be paid by at closing the Stalking Horse Bidder under the applicable

 Stalking Horse APA (the “Expense Reimbursement”); and/or (iii) set the initial overbid

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 protection (the “Minimum Overbid Increment” and, together with the Break-Up Fee and the

 Expense Reimbursement, the “Bid Protections”) in amounts to be determined by the Debtors in

 accordance with the Bidding Procedures. In the event that the Debtors determine that the Bid

 Protections must exceed the amounts set forth herein, the Court shall hold a hearing on the approval

 of any such greater Bid Protections on an expedited basis, upon the request of the Debtors.

         12.      The Bid Protections, to the extent payable under the Stalking Horse APAs, shall (a)

 constitute an allowed administrative expense claim against the Debtors pursuant to Sections 105(a)

 and 364(c)(1) of the Bankruptcy Code. Subject to the foregoing, the Bid Protections shall be paid

 (i) in cash from the proceeds of any approved Sale or (ii) credited against the purchase price if,

 after an Auction, the Stalking Horse Bid, as enhanced at the Auction, is the Successful Bid and the

 Sale contemplated by the Stalking Horse APA (as enhanced at the auction) is consummated.

         13.      In the event that the Debtors select one or more parties to serve as a Stalking Horse

 Bidder, upon such selection, the Debtors shall provide, to all parties on the Rule 2002 List, all

 parties expressing an interest in the Acquired Assets and all parties holding liens on such Acquired

 Assets, three (3) business days’ notice and an opportunity to object to the determination of such

 Stalking Horse Bidder and disclosure of the Bid Protections set forth in the Stalking Horse APA,

 and absent objection, the Debtors selection of such Stalking Horse Bidder shall be deemed

 designated without further order of the Court. To the extent necessary, the Debtors’ right to seek

 this Court’s approval of one or more Stalking Horse Bidders, with notice and a hearing, is hereby

 preserved.

 IV.     Notice Procedures

         14.      The form of Sale Notice substantially in the form attached to the Motion as Exhibit

 C is approved.



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          15.   Within seven (7) days after the entry of this Bidding Procedures Order or as soon

 as reasonably practicable thereafter, the Debtors shall serve the Sale Notice, the Form APA, this

 Bidding Procedures Order, including the Bidding Procedures by first-class mail, postage prepaid,

 or, for those parties who have consented to receive notice by the Electronic Case Files (“ECF”)

 system, by ECF, upon (i) all entities reasonably known to have expressed an interest in a

 transaction with respect to all or part of the Acquired Assets within the past two years; (ii) all

 entities known to have asserted any lien, claim, interest, or encumbrance in or upon or with respect

 to any of the Acquired Assets; (iii) all federal, state, and local regulatory or taxing authorities or

 recording offices which have a reasonably known interest in the relief granted herein; (iv) counsel

 for the Committee, if any; (v) counsel to Cantor Fitzgerald Securities, as Priority Term Loan Agent

 under the Debtors’ prepetition Priority Term Loan Credit Agreement; (vi) counsel to Ankura Trust

 Company, LLC, as FILO Agent under the Debtors’ prepetition FILO Term Loan Agreement, and

 as Exit Term Loan Agent under the Debtors’ prepetition Exit Term Loan Agreement; (vii) counsel

 to FILO Lenders; (viii) counsel to the Stalking Horse Bidder, if any; (ix) counsel to Whitebox

 Advisors LLC; (x) counsel for the Restructuring Committee; (xi) counsel to the Huntsville Note

 holder; (xii) the Bankruptcy Administrator; (xiii) the Securities and Exchange Commission; (xiv)

 the Internal Revenue Service; (xv) counsel to the United Mine Workers of America; and (xvi) all

 known creditors of the Debtors, including their contract counterparties; provided, however, that to

 the extent email addresses are available, parties referenced in this paragraph 15 may be served by

 email.

          16.   Service of the Sale Notice as described above shall be sufficient and proper notice

 of the Sale Transaction with respect to known interested parties.




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         17.    The Publication Notice, substantially in the form attached to the Motion as Exhibit

 D, is approved. The Debtors are directed to publish the Sale Notice, as modified for publication,

 in the New York Times, on one occasion on the Mailing Date or as soon as reasonably practicable

 thereafter. In addition, the Debtors are authorized, but not directed, to (i) publish the Sale Notice

 in additional publications as the Debtors deem appropriate and (ii) cause the Sale Notice to be

 posted on their case information website at https://cases.primeclerk.com/RemingtonOutdoor.

         18.    Service of the Publication Notice as described above shall be sufficient and proper

 notice of the Sale Transaction with respect to all unknown parties.

         19.    The form of the Post-Auction Notice, substantially in the form attached to the

 Motion as Exhibit E is approved. As soon as reasonably practicable after the conclusion of the

 Auction, the Debtors shall file on the docket, but not serve, the Post-Auction Notice identifying

 any Successful Bidder(s).

 V.      Assumption and Assignment Procedures

         20.    The Assumption and Assignment Procedures, as detailed in the Motion and

 incorporated herein by reference as if fully set forth in this Bidding Procedures Order, are

 approved.

         21.    The Notice of Assumption and Assignment, substantially in the form attached to

 the Motion as Exhibit F is approved.

         22.    On or before August 21, 2020 (any such date, the “Assumption and Assignment

 Service Date”), the Debtors shall file with the Court, and post on the Case Website at

 https://cases.primeclerk.com/RemingtonOutdoor, the Notice of Assumption and Assignment and

 Designated Contracts List. If no Cure Cost is listed on the Designated Contracts List, the Debtors

 believe that there is no Cure Cost, as of the date of such notice. On the Assumption and Assignment

 Service Date, the Debtors shall serve, via first-class mail, a customized version of the Notice of

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 Assumption and Assignment that contains the DCL Instructions and Necessary Notice

 Information, but omits the Designated Contracts List, on all counterparties to the Designated

 Contracts. In addition, the Debtors shall serve, via first-class mail, a modified version of the Notice

 of Assumption and Assignment that contains the DCL Instructions and Necessary Notice

 Information, but omits the Designated Contracts List on all parties on the Rule 2002 Notice List.

 Service of such Notice of Assumption and Assignment as set forth herein shall be deemed proper,

 due, timely, good and sufficient notice of, among other things, the proposed assumption and

 assignment of the Designated Contracts and rights thereunder, the Cure Costs, and the procedures

 for objecting thereto, and no other or further notice is necessary.

         23.     Any objection by a counterparty to a Designated Contract (which does not, for the

 avoidance of doubt, include any objection regarding the adequate assurance of future performance

 of any Stalking Horse Bidder, Successful Bidder or the Backup Bidder) (a “Designated Contract

 Objection”) must (i) be to the proposed assumption and assignment of the applicable Designated

 Contract or Cure Costs, if any; (ii) state, with specificity, the legal and factual basis thereof as well

 as what Cure Costs such objecting party believes are required, if any; and (iii) include appropriate

 documentation in support thereof. All Designated Contract Objections must be filed and served

 on (i) proposed counsel for the Debtors, O’Melveny & Myers LLP, 400 South Hope Street, 18th

 Floor, Los Angeles, CA 90071, Attn: Steve Warren (swarren@omm.com) and Jennifer Taylor

 (jtaylor@omm.com); (ii) proposed co-counsel for the Debtors, Burr & Forman LLP, 420 North

 20th Street, Suite 3400, Birmingham, Alabama 35203, Attn: Derek Meek (dmeek@burr.com) and

 Hanna Lahr (hlahr@burr.com); (iii) counsel for the Restructuring Committee, Akin Gump Strauss

 Hauer & Feld LLP, 2300 N. Field Street, Suite 1800, Dallas, TX 75201, Attn: Sarah Schultz

 (sschultz@akingump.com); (iv) counsel for the Committee, if any; (v) the Bankruptcy



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 Administrator, 400 Well Street, Decatur, Alabama 35602, Attn:                    Richard Blythe

 (richard_blythe@alnba.uscourts.gov); (vi) counsel to the Stalking Horse Bidder, if any; (vii)

 counsel to the FILO Lenders, Pillsbury Winthrop Shaw Pittman LLP, Four Embarcadero

 Center, 22nd    Floor,     San    Francisco,    CA     94111-5998,      Attn: Joshua D.     Morse

 (joshua.morse@pillsburylaw.com) and Andrew V. Alfano (andrew.alfano@pillsburylaw.com);

 (viii) counsel to Whitebox Advisors LLC, Brown Rudnick LLP, One Financial Center, Boston,

 Massachusetts 02111, Attn: Andreas Andromalos (aandromalos@brownrudnick.com) and Tia C.

 Wallach (twallach@brownrudnick.com); (ix) all parties that have requested notice in the Chapter

 11 Cases (collectively (i)–(ix), the “Objection Recipients”); and (x) counsel to any Successful

 Bidder(s), if known on the Sale Objection Deadline no later than 4:00 p.m. (prevailing Central

 Time) fourteen (14) days following the Assumption and Assignment Service Date (the

 “Assumption and Assignment Objection Deadline”).

         24.    If a Designated Contract Objection is not consensually resolved before the Sale

 Hearing, the amount to be paid or reserved with respect to such objection shall be determined at

 the Sale Hearing, such later hearing date that the Debtors determine in their discretion, or such

 other date determined by this Court.

         25.    Any time after the Assumption and Assignment Service Date and before the closing

 of a Sale Transaction, the Debtors reserve the right, and are authorized but not directed, to

 (i) supplement the Designated Contracts List with previously omitted Designated Contracts in

 accordance with the definitive agreement for a Sale Transaction, (ii) remove a Designated Contract

 from the list of contracts that a Successful Bidder proposes be assumed and assigned to it in

 connection with a Sale Transaction, or (iii) modify the previously stated Cure Cost associated with

 any Designated Contract.



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         26.     In the event the Debtors exercise any of the rights listed above, the Debtors shall

 promptly serve the Supplemental Notice of Assumption and Assignment by electronic

 transmission, hand delivery, or overnight mail on the counterparty (and its attorney, if known) to

 each Designated Contract listed on the Supplemental Notice of Assumption and Assignment at the

 last known address available to the Debtors. Each Supplemental Notice of Assumption and

 Assignment shall set forth (i) the name and address of the counterparty to the Designated Contract

 listed thereon; (ii) the proposed effective date of the assignment (subject to the right of the

 applicable Successful Bidder, if any, to withdraw such request for assumption and assignment of

 that Designated Contract prior to the closing of the applicable Sale Transaction); (iii) sufficient

 information to identify the Designated Contract; (iv) the Cure Costs, if any; and (v) proposed

 adequate assurance, if known on the Assumption and Assignment Service Date. The Debtors are

 authorized, but not directed, to modify the Supplemental Notice of Assumption and Assignment

 as necessary and appropriate to provide customized individual notice to each Designated Contract

 counterparty.   In addition, the Debtors are authorized, but not directed, to supplement the

 Designated Contract List on the Case Website with any additional Designated Contracts as the

 Debtors deem appropriate in their discretion. Service of such Supplemental Notice of Assumption

 and Assignment as set forth herein shall be deemed proper, due, timely, good and sufficient notice

 of, among other things, the proposed assumption and assignment of the Designated Contracts and

 rights thereunder, the Cure Costs, and the procedures for objecting thereto, and no other or further

 notice is necessary.

         27.     Any objection by a counterparty to a Designated Contract listed on a Supplemental

 Notice of Assumption and Assignment (which does not, for the avoidance of doubt, include any

 objection regarding the adequate assurance of future performance of any Stalking Horse Bidder,



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 Successful Bidder or the Backup Bidder) (a “Supplemental Designated Contract Objection”)

 must (i) be to the proposed assumption and assignment of the applicable Designated Contract or

 the proposed Cure Costs, if any; (ii) state, with specificity, the legal and factual basis thereof as

 well as what Cure Costs such objecting party believes are required, if any; (iii) include appropriate

 documentation in support of the objection; and (iv) be filed and served on the Objection Recipients

 no later than fourteen (14) days from the date of service of such Supplemental Notice of

 Assumption and Assignment.

         28.    If a Supplemental Designated Contract Objection is not consensually resolved by

 the proposed effective date of assignment of the Designated Contract that is the subject of a

 Supplemental Designated Contract Objection, the Debtors shall seek an expedited hearing before

 the Court (a “Supplemental Designated Contract Hearing”) to determine the Cure Costs, if any,

 and approve the assumption of the relevant Designated Contracts. If there is no such objection,

 then the Debtors shall obtain an order of this Court, including by filing a certification of no

 objection, (a “Supplemental Designated Contract Order”) fixing the Cure Costs and approving

 the assumption of any Designated Contract listed on a Supplemental Notice of Assumption and

 Assignment.

         29.    Absent the filing of a Designated Contract Objection or Supplemental Designated

 Contract Objection and a subsequent order of the Court establishing an alternative Cure Cost, the

 Cure Costs, if any, set forth in the Notice of Assumption and Assignment (or Supplemental Notice

 of Assumption and Assignment) shall be controlling, notwithstanding anything to the contrary in

 any Designated Contract or any other document, and the counterparty to the Designated Contract

 will be deemed to have consented to the assumption, assignment, and sale of the Designated

 Contract and the Cure Costs, if any, and will be forever barred from asserting any other claims



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 related to such Designated Contract against the Debtors or the applicable Successful Bidder, or the

 property of any of them, except with respect to adequate assurance of future performance by such

 Successful Bidder. For the avoidance of doubt, any objections to the proposed form of adequate

 assurance of future performance of any Successful Bidder (other than a Stalking Horse Bidder)

 must be raised at the Sale Hearing or Supplemental Designated Contract Hearing, as applicable,

 and will be resolved at the hearing at which it is raised or, in the Debtors’ discretion, adjourned to

 a later hearing.

         30.        The inclusion of a Designated Contract on the Notice of Assumption and

 Assignment (or Supplemental Notice of Assumption and Assignment) will not (a) obligate the

 Debtors to assume any Designated Contract listed thereon nor the Successful Bidder(s) to take

 assignment of such Designated Contract or (b) constitute any admission or agreement of the

 Debtors that such Designated Contract is an “executory” contract.              Only those Designated

 Contracts that are included on a schedule of assumed and Acquired Contracts attached to the final

 purchase agreement with the Successful Bidder(s) (each, an “Acquired Contract”) will be

 assumed and assigned to the Successful Bidder(s).

         31.        Assignment by the Debtors to the Successful Bidder of a contract, lease or any other

 liability assumed under Section 365 of the Bankruptcy Code or otherwise relieves the Debtors and

 their estates from any such liability so assigned.

 VI.     The Sale Hearing

         32.        A Sale Hearing to (i) approve a sale of a portion or substantially all of the Acquired

 Assets to the Successful Bidder(s) and (ii) authorize the assumption and assignment of certain

 executory contracts and unexpired leases shall be held on September 10, 2020 at 10:00 a.m.

 (prevailing Central Time), and may be adjourned or rescheduled without notice, subject to

 paragraph 4 of this Bidding Procedures Order. At the Sale Hearing, the Debtors will seek

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 Bankruptcy Court approval of the Successful Bid(s) and the Backup Bid(s) (if any). Unless the

 Bankruptcy Court orders otherwise, the Sale Hearing shall be an evidentiary hearing on matters

 relating to the Sale Transaction(s) and there will be no further bidding at the Sale Hearing. In the

 event that the Successful Bidder(s) cannot or refuses to consummate the Sale(s) because of the

 breach or failure on the part of such Successful Bidder, the Debtors may, in accordance with the

 Bidding Procedures, designate the Backup Bid to be the new Successful Bid and the Backup Bidder

 to be the new Successful Bidder, and the Debtors shall be authorized, but not required, to

 consummate the applicable transaction with the Backup Bidder without further order of the

 Bankruptcy Court.

         33.    Any and all objections, if any, to any Sale Transaction (but excluding any objection

 based on the specific identity of any Stalking Horse Bidder, the form of any Stalking Horse APA,

 or the specific identity of the Successful Bidder or Backup Bidder) must be filed no later than

 August 24, 2020 at 4:00 p.m. (prevailing Central Time) (the “Sale Objection Deadline”). Any

 and all such objections must be served on the Objection Recipients and counsel to any Successful

 Bidder(s), if known on the Sale Objection Deadline. All replies to such objections must be filed

 by September 1, 2020 at 12:00 p.m. (prevailing Central Time) (the “Reply Deadline”).

         34.    Any party failing to timely file an objection to any Sale Transaction will be forever

 barred from objecting and will be deemed to have consented to any Sale Transaction, including

 the transfer of the Debtors’ right, title and interest in, to, and under the Debtors’ Acquired Assets

 free and clear of any and all liens, claims, encumbrances and other interests in accordance with a

 definitive agreement for any Sale Transaction.

         35.    Promptly following the Auction, the Debtors shall serve the Post-Auction Notice.

 The Debtors propose that any objections regarding the adequate assurance of future performance



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 of the Successful Bidder or the Backup Bidder (other than the Stalking Horse Bidder) may be

 raised at the Sale Hearing.

 VII.     Other Provisions

          36.      Notwithstanding anything herein or in the Bidding Procedures to the contrary, the

 Debtors shall not be permitted to modify the consultation rights of the Consultation Parties or the

 Bid Consultation Parties in the Bidding Procedures absent further order of this Court or the consent

 of any affected Consultation or Bid Consultation Parties.

          37.      The Debtors are authorized and empowered to take such action as may be necessary

 to implement and effect the terms and requirements established under this Bidding Procedures

 Order.

          38.      This Bidding Procedures Order shall be binding on and inure to the benefit of the

 Debtors, including any Chapter 7 or Chapter 11 trustee or other fiduciary appointed for the estates

 of the Debtors.

          39.      This Bidding Procedures Order shall constitute the findings of fact and conclusions

 of law and shall take immediate effect upon execution hereof.

          40.      To the extent this Bidding Procedures Order is inconsistent with any prior order or

 pleading with respect to the Motion in these cases, the terms of this Bidding Procedures Order

 shall govern.

          41.      To the extent any of the deadlines set forth in this Bidding Procedures Order do not

 comply with the Local Rules, such Local Rules are waived and the terms of this Bidding

 Procedures Order shall govern.

          42.      Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 6006(d),

 7062, 9014, or otherwise, this Court, for good cause shown, orders that the terms and conditions

 of this Bidding Procedures Order shall be immediately effective and enforceable upon its entry.

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         43.    This Court shall retain jurisdiction with respect to all matters arising from or related

 to the implementation or interpretation of this Bidding Procedures Order, including, but not limited

 to, any matter, claim, or dispute arising from or relating to the Bidding Procedures, any Stalking

 Horse APA, and the implementation of this Bidding Procedures Order.



 Dated: ___________________, 2020



                                       _______________________________________________
                                       UNITED STATES BANKRUPTCY JUDGE




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                                    Exhibit 1

                               Bidding Procedures




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                                                    Exhibit B

                                              Bidding Procedures

                             REMINGTON OUTDOOR COMPANY, INC.
                                   BIDDING PROCEDURES1

                                                  Introduction

        Remington Outdoor Company, Inc. and several of its subsidiaries (collectively, the
 “Debtors”)2 are debtors in possession in Chapter 11 cases (jointly administered under Case No.
 20-81688-11) pending in the United States Bankruptcy Court for the Northern District of Alabama
 (the “Bankruptcy Court”).

         By the Sale Motion, the Debtors sought approval of, among other things, the procedures
 (the “Bidding Procedures”) by which they will solicit and select the highest or otherwise best
 offer for the sale of all or substantially all of their assets (the “Acquired Assets”) either through
 one sale to a Successful Bidder (as defined below) or multiple sales to multiple Successful Bidders.

        The Debtors will consider, without limitation: (1) bids to acquire all of the Debtors’
 operating segments (the “Whole Company”), including all or substantially all of their assets (a
 “Whole Company Bid”) or (2) separate bids to acquire (x) all or a portion of the Debtors’ business
 segment relating to the design, manufacture and marketing of ammunition (the “Ammunitions
 Business”), including the production facilities owned or operated by the Debtors in Lonoke,
 Arkansas, and Mona, Utah, under the Remington and Barnes Bullets brands (an “Ammunitions
 Business Bid”) and (y) all or a portion of the Debtors’ business segment relating to the design,
 manufacture and marketing of shotguns, rifles, handguns and modular firearms and related
 components (the “Firearms Business”) and all or substantially of the Debtors’ remaining assets
 not subject to an Ammunitions Business Bid (a “Firearms Business Bid”).

        On [____], 2020, the Bankruptcy Court entered an order (the “Bidding Procedures
 Order”), which, among other things, approved the Bidding Procedures set forth below pursuant
 to which the Debtors will solicit bids for the purchase of substantially all or a portion of their
 Acquired Assets.




 1
   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Debtors’
 Motion for (I) an Order Establishing Bidding Procedures and Granting Related Relief and (II) an Order or Orders
 Approving the Sale of the Assets (the “Sale Motion”).
 2
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.



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                                             Key Dates

         These Bidding Procedures provide interested parties with the opportunity to complete
 diligence, to submit competing bids for all or a portion of the Acquired Assets, and to participate
 in an auction to be conducted by the Debtors (the “Auction”).

         The key dates for the sale process are as follows:

                         Deadline                                            Action
                                                              Hearing to consider approval of the
  August 17, 2020 at 10:00 a.m. (prevailing Central
                                                              Bidding Procedures and entry of the
  Time)
                                                              Bidding Procedures Order
  August 21, 2020                                             Sale Notice Mailing Date
                                                              Assumption and Assignment Service
  August 21, 2020
                                                              Date
                                                              Sale Objection Deadline (defined in
                                                              the Bidding Procedures Order)
  August 24, 2020 at 4:00 p.m. (prevailing Central
                                                              excluding any objection based on
  Time)
                                                              identity of Stalking Horse Bidders,
                                                              Successful Bidder or Backup Bidder
  September 1, 2020 at 5:00 p.m. (prevailing Central
                                                              Bid Deadline
  Time)
  September 1, 2020 at 12:00 p.m. (prevailing Central
                                                              Reply Deadline (defined below)
  Time)
                                                              Assumption and Assignment
                                                              Objection Deadline (defined in the
  September 4, 2020 by 4:00 p.m. (prevailing Central          Bidding Procedures Order) excluding
  Time) or 14 days following service of the                   any objection related to adequate
  Supplemental Notice of Assumption and Assignment            assurance of future performance of any
                                                              Stalking Horse Bidder, Successful
                                                              Bidder or Backup Bidder
  September 8, 2020 at 10:00 a.m. (prevailing Central
                                                              Auction
  Time)
  September 9, 2020                                           Post-Auction Notice
  September 10, 2020 at 10:00 a.m. (prevailing Central
                                                              Sale Hearing
  Time)

                                        Stalking Horse APA

       The Debtors will continue to solicit stalking horse bids for the Debtors’ assets through the
 Bid Deadline. In the event that the Debtors designate a stalking horse bidder (a “Stalking Horse
 Bidder”) and enter into an asset purchase agreement with the Stalking Horse Bidder (a “Stalking



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 Horse APA”) on or before the Bid Deadline, the Debtors will provide three (3) business days’
 notice of the designation of the Stalking Horse Bidder and an opportunity to object to the
 designation of such Stalking Horse Bidder and disclosure of any Bid Protections set forth in the
 Stalking Horse APA.

                             Access to Debtors’ Diligence Materials.

         To receive access to due diligence materials and to participate in the bidding process, an
 interested party must submit to the Debtors (i) an executed confidentiality agreement in form and
 substance satisfactory to the Debtors (which, for the avoidance of doubt, may be substantially in
 the form attached hereto as Exhibit 2) or may be a confidentiality agreement already in existence
 between such party and the Debtors, (ii) evidence demonstrating the party’s financial ability to
 consummate a sale transaction for the Acquired Assets (a “Sale Transaction”) or, if such party
 has been formed for the purpose of entering into a Sale Transaction, evidence from such party’s
 equity holder(s), sponsor(s) or other financial backer(s) (“Bid Sponsor”), demonstrating such Bid
 Sponsor’s financial ability to consummate a Sale Transaction, and (iii) a statement that such party
 has a bona fide interest in purchasing all or some of the Acquired Assets.

         A party who, in the Debtors’ reasonable discretion, satisfies the requirements set forth in
 the immediately preceding sentence for receiving access to diligence materials shall be a
 “Diligence Party.” As promptly as practicable after the Debtors determine that a party is a
 Diligence Party, the Debtors will deliver to the Diligence Party access to the Debtors’ confidential
 electronic data room. The Debtors will afford any Diligence Party the time and opportunity to
 conduct reasonable due diligence before the Bid Deadline (as defined below). Notwithstanding
 the foregoing, the Debtors reserve the right to withhold any diligence materials that the Debtors
 determine are sensitive or otherwise not appropriate for disclosure to a Diligence Party who the
 Debtors determine is a competitor of the Debtors or is affiliated with any competitor of the Debtors.
 Neither the Debtors nor their representatives shall be obligated to furnish information of any kind
 whatsoever to any person that is not determined to be a Diligence Party. The Debtors shall not
 exclude a party from diligence who has complied with subsections (i) and (ii) of the preceding
 paragraph, unless they have first consulted with the Consultation Parties (as defined below)
 regarding such determination.

         All due diligence requests must be directed to Ducera Partners, Attn: Bradley Meyer
 (bmeyer@ducerpartners.com) and O’Melveny & Myers LLP, Attn: Logan Tiari
 (ltiari@omm.com).

        Each Diligence Party and Qualified Bidder (as defined below) shall comply with all
 reasonable requests for additional information and due diligence access by the Debtors or their
 advisors regarding such Bidder and its contemplated transaction. Failure by a Diligence Party to
 comply with requests for additional information and due diligence access may be a basis for the
 Debtors to determine, in consultation with the Consultation Parties, that such bidder is not a
 Qualified Bidder. Failure by a Qualified Bidder to comply with requests for additional information
 and due diligence access may be a basis for the Debtors to determine, in consultation with the
 Consultation Parties, that a bid made by such Qualified Bidder is not a Qualified Bid. The Debtors
 reserve the right, in their discretion, in consultation with the Consultation Parties, to permit a
 Diligence Party or Qualified Bidder to remedy any such failure to comply.



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                                       Indications of Interest

         The Debtors reserve the right, in consultation with the Consultation Parties, to require
 Diligence Parties to submit written indications of interest specifying, among other things, the
 Acquired Assets proposed to be acquired, the amount and type of consideration to be offered, and
 any other material terms to be included in a bid by such party. A Diligence Party that fails to
 comply with any such request by the Debtors, in the Debtors’ discretion and in consultation with
 the Consultation Parties, may not be provided further diligence access or be permitted to participate
 further in the auction process. The Debtors also reserve the right to exclude any Diligence Party
 (prior to its submission of a Qualified Bid) from continuing in the auction process if the Debtors
 determine, in consultation with the Consultation Parties, that the consideration proposed to be paid
 by such Diligence Party is insufficient.

                                   Auction Qualification Process

         To be eligible to participate in the Auction, each offer, solicitation, or proposal (each, a
 “Bid”), and each party submitting such a Bid (each, a “Bidder”) must satisfy each of the conditions
 set forth below, as determined by the Debtors. A Bid will not be considered qualified for the
 Auction if such Bid does not satisfy each of the following conditions (provided, that the Debtors,
 in consultation with the Bid Consultation Parties may waive or modify the application of such
 conditions to any Bid):

         (a)    Good Faith Deposit: Each Bid for all or a portion of the Acquired Assets must be
                accompanied by a deposit (a “Good Faith Deposit”) submitted by wire transfer of
                immediately available funds to an account identified by the Debtors. Each Good
                Faith Deposit must equal (1) in the case of a Bid for all or a portion of the Acquired
                Assets, the amount of 10% of the cash consideration offered in such Bid or (2) such
                other amount as the Debtors determine, in consultation with the Bid Consultation
                Parties (as defined below); provided, however, that any Prepetition Secured
                Creditor submitting a Bid primarily composed of a credit bid pursuant to Section
                363(k) of the Bankruptcy Code shall not be required to submit a Good Faith Deposit
                for the portion of the Bid consisting of a credit bid.

         (b)    Assets: Each Bid must clearly state which of the Acquired Assets the Qualified
                Bidder is agreeing to purchase and assume, including whether the Bid is a Firearms
                Bid, an Ammunitions Bid, a Whole Company Bid, or other Bid.

         (c)    Assumption of Liabilities: Each Bid must clearly state which liabilities and
                obligations of the Debtors the Qualified Bidder is agreeing to assume.

         (d)    Bids for Portions of the Assets: A Bid may offer to purchase (i) the Ammunitions
                Business, (ii) the Firearms Business, (iii) the Whole Company or (iv) a portion of
                the foregoing. The Debtors may, in consultation with the Bid Consultation Parties,
                waive or modify the application of the Qualified Bid conditions in respect of Bids.

         (e)    Purchase Price: Each Bid must clearly set forth the purchase price to be paid for
                the Acquired Assets proposed to be acquired including and identifying separately
                any cash and non-cash components. Any Whole Company Bid must clearly set


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               forth the portion of the purchase price applicable to each of the Firearms Business
               and the Ammunitions Business.

         (f)   Same or Better Terms: In the event the Debtors enter into a Stalking Horse APA,
               each Bid for any Acquired Assets (alone or combined with Bids for other Acquired
               Assets) must be on terms that, in the Debtors’ business judgment, in consultation
               with the Bid Consultation Parties, are the same or better than the terms of the
               Stalking Horse APA applicable to the assets that are the subject of such Bid after
               taking account of the Bid Protections.

         (g)   Executed Agreement: Each Bid must be based on the form asset purchase
               agreement attached hereto as Exhibit 1 (the “Form APA”) and must include
               executed transaction documents, signed by an authorized representative of such
               Bidder, pursuant to which the Bidder proposes to effectuate a Sale Transaction (the
               “Modified Purchase Agreement”). A Bid shall also include a copy of the
               Modified Purchase Agreement marked against the Form APA to show all changes
               requested by the Bidder (including those related to purchase price). Each such
               Modified Purchase Agreement must provide for payment in cash at closing of the
               Expense Reimbursement and Break-Up Fee to any Stalking Horse Bidder that
               entered into a Stalking Horse APA applicable to the assets that are the subject of
               such Bid.

         (h)   Designation of Assigned Contracts and Leases, Payment of Cure Amounts: A Bid
               must identify any and all executory contracts and unexpired leases of the Debtors
               that the Bidder wishes to have assumed and assigned to it at closing and provide
               for the payment of all cure amounts payable with respect to such contracts and
               leases under the Bankruptcy Code.

         (i)   Transition Services Agreement: A Bid that is not a Whole Company Bid must
               indicate its intentions with respect to a transition services agreement with any
               Successful Bidder for the remainder of the Debtors’ assets.

         (j)   Corporate Authority: A Bid must include written evidence reasonably acceptable
               to the Debtors demonstrating appropriate corporate authorization to consummate
               the proposed Sale Transaction, provided that, if the Bidder is an entity specially
               formed for the purpose of effectuating the Sale Transaction, then the Bidder must
               furnish written evidence reasonably acceptable to the Debtors of the approval of
               the Sale Transaction by the Bid Sponsor(s) of such Bidder.

         (k)   Disclosure of Identity of Bidder: A Bid must fully disclose the identity of each
               entity that will be bidding for or purchasing the Acquired Assets or otherwise
               participating in connection with such Bid (including any Bid Sponsor(s) if the
               Bidder is an entity specifically formed for the purpose of effectuating the Sale
               Transaction), and the complete terms of any such participation, including any
               binding agreements, arrangements, or understandings concerning a collaborative or
               joint bid or any other combination concerning the proposed Bid.




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         (l)   Proof of Financial Ability to Perform: A Bid must include written evidence that
               the Debtors reasonably conclude, in consultation with their advisors and the Bid
               Consultation Parties, demonstrates that the Bidder has the necessary financial
               ability to (i) close the Sale Transaction and (ii) provide adequate assurance of future
               performance under all contracts to be assumed and assigned in such Sale
               Transaction. Such information must include, inter alia, the following:

               (1)    contact names and numbers for verification of financing sources;

               (2)    evidence of the Bidder’s internal resources and proof of debt funding
                      commitments from a recognized financial institution and, if applicable,
                      equity commitments in an aggregate amount equal to the cash portion of
                      such Bid (including, if applicable, the Bidder’s payment of cure amounts)
                      or the posting of an irrevocable letter of credit from a recognized banking
                      institution issued in favor of the Debtors in such amount, in each case, as
                      are needed to close the Sale Transaction;

               (3)    if the Bidder is an entity specifically formed for the purpose of effectuating
                      the Sale Transaction, a written commitment from such entity’s Bid
                      Sponsor(s) to be responsible for such entity’s obligations in connection with
                      the bidding process;

               (4)    the Bidder’s current financial statements (audited if they exist) or other
                      similar financial information reasonably acceptable to the Debtors;

               (5)    a description of the Bidder’s pro forma capital structure; and

               (6)    any such other form of financial disclosure or credit-quality support
                      information or enhancement reasonably requested by the Debtors, in
                      consultation with the Bid Consultation Parties, demonstrating that such
                      Bidder has the ability to close the Sale Transaction.

         (m)   Regulatory and Third Party Approvals: A Bid must set forth each regulatory and
               third-party approval required for the Bidder to consummate the Sale Transaction,
               if any, and the time period within which the Bidder expects to receive such
               regulatory and third-party approvals (and in the case that receipt of any such
               regulatory or third-party approval is expected to take more than thirty (30) days
               following execution and delivery of the Modified Purchase Agreement, those
               actions the Bidder will take to ensure receipt of such approval(s) as promptly as
               possible); provided, however, that the timing and likelihood of receiving any such
               regulatory and third-party approvals will be a consideration in determining the
               highest or otherwise best Bid.

         (n)   Contingencies: Each Bid may not be conditioned on obtaining financing or any
               internal approval, or on the outcome or review of due diligence.

         (o)   Irrevocable: Each Bid must expressly provide that (1) the Bidder is prepared to
               consummate the transaction set forth in the Modified Purchase Agreement



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               promptly following entry of the Sale Order and satisfaction of the closing
               conditions (if any) set forth in the Modified Purchase Agreement, and (2) the offer
               reflected in such Bid shall remain open and irrevocable until the conclusion of the
               Auction, provided that if such Bid is accepted as the Successful Bid or the Backup
               Bid (each as defined herein), such Bid shall continue to remain open and
               irrevocable as provided under “Closing the Auction; Successful Bidder” and
               “Backup Bidder” below.

         (p)   Time Frame for Closing: A Bid must be reasonably likely (based on available
               financing, antitrust or other regulatory issues) to be consummated within an
               acceptable timeframe.

         (q)   Acknowledgment: Each Bid must include an acknowledgment and representation
               by an authorized person of the Bidder that the Bidder: (i) has had an opportunity
               to conduct any and all required due diligence regarding the Acquired Assets prior
               to making its offer; (ii) has relied solely upon its own independent review,
               investigation and/or inspection of any documents and/or the Acquired Assets in
               making its Bid; (iii) did not rely upon any written or oral statements,
               representations, promises, warranties, or guaranties whatsoever, whether express or
               implied (by operation of law or otherwise), regarding the Acquired Assets or the
               completeness of any information provided in connection therewith or with the
               Auction, except as expressly stated in the Modified Purchase Agreement; (iv) has
               authorization and approval necessary to close on the delivered Modified Purchase
               Agreement; (v) has irrevocable financing commitment or cash on hand to
               consummate the proposed sale and pay the purchase price in cash; (vi) is not
               entitled to any expense reimbursement, break-up fee, or similar type of payment in
               connection with its Bid; (vii) has not and will not engage in any collusion with
               respect to any Bids, the Auction or the Sale; (viii) agrees to abide by the terms of
               the Bidding Procedures; and (ix) after the conclusion of the Auction, if any, will
               not submit a Bid or seek to reopen the Auction.

         (r)   Bid Deadline: Each Bid must be received by each of the following parties, in
               writing, on or before September 1, 2020 at 5:00 p.m. (prevailing Central Time)
               or such earlier date as may be designated by the Debtors in consultation with the
               Consultation Parties (the “Bid Deadline”): (i) proposed counsel for the Debtors,
               O’Melveny & Myers LLP, Attn: Steve Warren (swarren@omm.com) and Jennifer
               Taylor (jtaylor@omm.com); (ii) proposed co-counsel for the Debtors, Burr &
               Forman LLP, Attn:          Derek Meek (dmeek@burr.com) and Hanna Lahr
               (hlahr@burr.com); (iii) counsel for the Restructuring Committee, Akin Gump
               Strauss Hauer & Feld LLP, Attn: Sarah Schultz (sschultz@akingump.com) and
               Chance Hiner (chiner@akingump.com); and (iv) advisors for the Debtors, Ducera
               Partners, Attn: Bradley Meyer (bmeyer@ducerapartners.com). Promptly upon
               receipt, the Debtors shall provide all Bids to the Bid Consultation Parties.

         A Bid received from a Bidder on or before the Bid Deadline that meets the requirements
 set forth above for the applicable Acquired Assets shall constitute a “Qualified Bid” for such
 Acquired Assets, and such Bidder shall constitute a “Qualified Bidder” for such Acquired Assets.



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 Any Stalking Horse APA will be deemed a Qualified Bid for all purposes, and any Stalking Horse
 Bidder will be deemed to be a Qualified Bidder.

         Notwithstanding anything else contained herein, the Prepetition Secured Creditors shall
 have the right, subject in all respects to the Bankruptcy Code and other applicable law and the
 satisfaction in cash or assumption of claims secured by senior liens, to credit bid all or any portion
 of their allowed secured claims at the Auction pursuant to Section 363(k) of the Bankruptcy Code
 or other applicable law, in accordance with the applicable terms of the Prepetition Credit
 Documents, and any such credit bid shall be deemed a Qualified Bid, subject to the Intercreditor
 Agreement (as defined in the D’Arcy Declaration) and the rights of the Committee as set forth in
 paragraph 9 of the Bidding Procedures Order.

                                         Stalking Horse Bid

         Recognizing a Stalking Horse Bidder’s expenditure of time, energy and resources in
 connection with the proposed Sale Transaction set forth in any Stalking Horse APA, and the benefit
 that those efforts provided to all interested parties, if, among other circumstances set forth in the
 Stalking Horse APA, the Stalking Horse Bidder is not the Successful Bidder, the Debtors may seek
 authority to pay to such Stalking Horse Bidder a Break-Up Fee and Expense Reimbursement
 (collectively, the “Bid Protections”), which will be governed by the provisions of the Stalking
 Horse APA, if any, and the Bidding Procedures Order.

        Other than as provided by order of the Bankruptcy Court prior to entry of the Bidding
 Procedures Order, no party submitting a Bid shall be entitled to a break-up fee or expense
 reimbursement except for the Bid Protections for the Stalking Horse Bidder that are approved by
 the Bankruptcy Court. Any substantial contribution claims by any Bidder are deemed waived.

                                   Highest or Otherwise Best Bid

         Whenever these Bidding Procedures refer to the highest or otherwise best Qualified Bid,
 such determination shall take into account any factors the Debtors, in consultation with the Bid
 Consultation Parties, reasonably deem relevant to the value of the Qualified Bid to the estates and
 may include, but are not limited to, the following (i) the amount and nature of the consideration,
 including any Assumed Liabilities (as defined in the Modified Purchase Agreement); (ii) the
 number, type and nature of any changes to the Form APA requested by each Qualified Bidder; (iii)
 the extent to which such modifications are likely to delay closing of the sale of the Acquired Assets
 and the cost to the Debtors of such modifications or delay; (iv) the likelihood of the Qualified
 Bidder being able to close the proposed transaction (including obtaining any required regulatory
 approvals) and the timing thereof; and (v) the net benefit to the Debtors’ estates (collectively, the
 “Bid Assessment Criteria”).

                                               Auction

        If two (2) or more Qualified Bids for the same Acquired Assets are received by the Bid
 Deadline, the Debtors will conduct the Auction to determine the highest or otherwise best
 Qualified Bid. Only Qualified Bidders may participate in the Auction.




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         If no Qualified Bid for the Acquired Assets is received by the Bid Deadline (other than that
 of any Stalking Horse Bidder), the Debtors, in consultation with the Consultation Parties, may
 cancel the Auction and seek approval of the transaction contemplated by the Stalking Horse APA,
 if any.

                                      Procedures for Auction

         The Auction shall take place on September 8, 2020 at 10:00 a.m. (prevailing Central
 Time) virtually via video-conferencing technology, or such other place and time as the Debtors
 shall notify all Qualified Bidders and the Consultation Parties. The Auction shall be conducted
 according to the following procedures:

        Only the Debtors, the Consultation Parties, any Stalking Horse Bidder, any other Qualified
 Bidders, and/or other party as the Debtors may determine to include in their discretion, in each
 case along with their representatives and advisors, shall be entitled to attend the Auction (such
 attendance to be in person via video-conference) and only Qualified Bidders will be entitled to
 make any Overbids (as defined below) at the Auction.

 The Debtors Shall Conduct the Auction.

          The Debtors and their advisors shall direct and preside over the Auction, which shall be
 transcribed. Other than as expressly set forth herein, the Debtors (in consultation with the
 Consultation Parties or, to the extent provided herein, the Bid Consultation Parties) may conduct
 the Auction in the manner they determine will result in the highest or otherwise best offer for any
 of the Acquired Assets. The Debtors shall use their best efforts to, at least 24 hours prior to
 commencement of the Auction, provide the Consultation Parties and each Qualified Bidder
 participating in the Auction with a complete and correct copy of the proposed purchase agreement
 (either the Stalking Horse APA, if any, or the Modified Purchase Agreement) associated with the
 Qualified Bid deemed by the Debtors to be the highest or otherwise best bid for the Acquired
 Assets (such highest or otherwise best Qualified Bid, the “Auction Baseline Bid”). At the start
 of the Auction, the Debtors shall describe the material terms of the Auction Baseline Bid and each
 Qualified Bidder participating in the Auction must confirm that (a) it has not engaged in any
 collusion with respect to the bidding or sale of any of the Acquired Assets described herein, (b) it
 has reviewed, understands, and accepts the Bidding Procedures, (c) it has consented to the core
 jurisdiction of the Bankruptcy Court (as described more fully below), and (d) its Qualified Bid is
 a good faith bona fide offer that it intends to consummate if selected as the Successful Bidder.

 Terms of Overbids.

         An “Overbid” is any bid made at the Auction, in accordance with the requirements set
 forth herein, subsequent to the Debtors’ announcement of the respective Auction Baseline Bid. To
 submit an Overbid for purposes of this Auction, a Bidder must comply with the following
 conditions:

         (a)    Minimum Overbid Increments: The initial Overbid, if any, shall provide for total
                consideration to the Debtors with a value that exceeds the value of the consideration
                under the Auction Baseline Bid by an incremental amount that is not less than the



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               sum of (x) $500,000 (the “Minimum Overbid Increment”) plus (y) the aggregate
               amount of any Bid Protections, if any, without duplication, under any Stalking
               Horse APA applicable to the assets that are the subject of the Overbid, and each
               successive Overbid shall exceed the then-existing Overbid by an incremental
               amount that is not less than the Minimum Overbid Increment. In considering the
               value of any Overbid, the Debtors shall take into account the effect of the Bid
               Protections. In the event a Stalking Horse Bidder is designated prior to the Bid
               Deadline, if such Stalking Horse Bidder bids at the Auction, it will be entitled to
               “credit” in the amount of the applicable Bid Protections to be counted towards its
               Bid such that the cash and/or non-cash consideration proposed by it plus the
               applicable Bid Protection “credit” must exceed the then-existing Overbid by an
               incremental amount that is not less than the Minimum Overbid Increment. The
               Debtors reserve the right, in consultation with the Bid Consultation Parties, to
               announce reductions or increases in the Minimum Overbid Increment at any time
               during the Auction. Additional consideration in excess of the amount set forth in
               the respective Auction Baseline Bid may include (i) cash and/or non-cash
               consideration, provided, however, that the value for such non-cash consideration
               shall be determined by the Debtors in their reasonable business judgment in
               consultation with the Bid Consultation Parties (considering factors that include the
               proposed terms thereof and the creditworthiness of the Bidder) and the Debtors
               reserve the right to adjust the value of or reject any such non-cash consideration,
               provided further that the Bid Consultation Parties reserve the right to object to the
               Debtors’ determination and such dispute may be resolved by the Court at the Sale
               Hearing, and (ii) in the case of a Bid by the Prepetition Secured Creditors, a credit
               bid of up to the full amount of the such secured creditors’ allowed secured claim,
               subject to the Bankruptcy Code and other applicable law and the satisfaction in cash
               or assumption of claims secured by senior liens, provided that such Bid otherwise
               complies with the requirements set forth herein and subject to the rights of the
               Committee as set forth in paragraph 9 of the Bidding Procedures Order.

         (b)   Remaining Terms Are the Same as for Qualified Bids: Except as modified herein,
               an Overbid at the Auction must comply with the conditions for a Qualified Bid set
               forth above, provided, however, that the Bid Deadline shall not apply. Any Overbid
               must include, in addition to the amount and the form of consideration of the
               Overbid, a description of all changes requested by the Bidder to the Stalking Horse
               APA, if any, or Modified Purchase Agreement, as the case may be, in connection
               therewith. For the avoidance of doubt, any Overbid shall be irrevocable and shall
               remain open and binding on the Bidder in accordance with these Bidding
               Procedures and the conditions for a Qualified Bid.

               At the Debtors’ discretion, to the extent not previously provided (which shall be
               determined by the Debtors in consultation with the Bid Consultation Parties), a
               Bidder submitting an Overbid at the Auction must submit, as part of its Overbid,
               written evidence (in the form of financial disclosure or credit-quality support
               information or enhancement reasonably acceptable to the Debtors), as the Debtors,
               in their reasonable business judgment in consultation with the Bid Consultation




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                Parties, may request, demonstrating such Bidder’s ability to consummate the Sale
                Transaction proposed by such Overbid.

 Announcement and Consideration of Overbids.

         (a)    Announcement of Overbids: A Bidder submitting an Overbid at the Auction shall
                announce at the Auction the material terms of such Overbid, including the total
                amount and type of consideration offered in such Overbid.

         (b)    Consideration of Overbids: The Debtors reserve the right, in their reasonable
                business judgment in consultation with the Consultation Parties, to make one or
                more continuances of the Auction to, among other things: facilitate discussions
                between the Debtors and individual Qualified Bidders; allow individual Qualified
                Bidders to consider how they wish to proceed; and give Qualified Bidders the
                opportunity to provide the Debtors with such additional evidence as the Debtors, in
                their reasonable business judgment in consultation with the Bid Consultation
                Parties, may require, that the Qualified Bidder has sufficient internal resources, or
                has received sufficient non-contingent debt and/or equity funding commitments, to
                consummate the proposed Sale Transaction at the prevailing Overbid amount;
                provided that, to the extent the Debtors determine to request that any Qualified
                Bidder increase the amount of their Good Faith Deposit, the Debtors first shall
                consult with the Bid Consultation Parties before making such request.

 Additional Procedures.

         The Debtors (in consultation with the Bid Consultation Parties), in the exercise of their
 fiduciary duties for the purpose of maximizing value for their estates from the sale process, may
 modify the Bidding Procedures and implement additional procedural rules for conducting the
 Auction. Specifically, among other things, the Debtors, in consultation with the Bid Consultation
 Parties, may determine to select more than one Successful Bid and more than one Successful
 Bidder (and/or more than one Backup Bid and more than one Backup Bidder, in which event such
 Backup Bids may provide for groupings of Acquired Assets that are different from the groupings
 of Acquired Assets reflected in the Successful Bid(s)) for separate portions of the Acquired Assets.

 Consent to Jurisdiction as Condition to Bidding.

         All Qualified Bidders shall be deemed to have consented to the core jurisdiction of the
 Bankruptcy Court to enter an order or orders, which shall be binding in all respects, in any way
 related to the Debtors, their Chapter 11 cases, the Bidding Procedures, the applicable purchase
 agreement, the Auction, or the construction and enforcement of documents relating to any Sale
 Transaction and waived any right to a jury trial in connection with any disputes relating to the
 Debtors, their Chapter 11 cases, the Bidding Procedures, the applicable purchase agreement, the
 Auction, or the construction and enforcement of documents relating to any Sale Transaction.

 Sale Is As Is/Where Is.




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         Any of the Acquired Assets sold pursuant to the Bidding Procedures shall be sold free and
 clear of all liens claims and encumbrances as permitted by Section 363(f) of the Bankruptcy Code
 other than any Permitted Liens and Assumed Liabilities and conveyed at Closing in their then-
 present condition, “AS IS, WHERE IS, WITH ALL FAULTS, AND WITHOUT ANY
 WARRANTY WHATSOEVER, EXPRESS OR IMPLIED”, except to the extent set forth in
 the definitive agreement for the Successful Bid, if applicable.

 Closing the Auction; Successful Bidder.

         The Auction shall continue until there is only one (1) Qualified Bid for all or a portion of
 the Acquired Assets that the Debtors determine in their reasonable business judgment, in
 consultation with the Bid Consultation Parties, is the highest or otherwise best Qualified Bid with
 respect to the assets to which it pertains, as applicable, at the Auction. Thereafter, the Debtors
 shall select such Qualified Bid, in consultation with the Bid Consultation Parties, as the overall
 highest or otherwise best Qualified Bid (such Bid(s), the “Successful Bid(s),” and the Bidder
 submitting such Successful Bid(s), the “Successful Bidder(s)”). In making this decision, the
 Debtors shall consider the Bid Assessment Criteria.

         The Auction shall close when the Successful Bidder(s) submits fully executed sale and
 transaction documents memorializing the terms of the Successful Bid(s).

         Promptly following the Debtors’ selection of the Successful Bid(s) and the conclusion of
 the Auction, the Debtors shall announce the Successful Bid(s) and Successful Bidder(s) and shall
 file with the Bankruptcy Court notice of the Successful Bid(s) and Successful Bidder(s).

        The Successful Bidder(s) shall be required to keep the Successful Bid(s) open and
 irrevocable until the closing of the transactions contemplated thereby. The sale and transaction
 documents approved by the Bankruptcy Court pursuant to the Sale Order shall be irrevocable and
 enforceable against the Successful Bidder.

 Backup Bidder.

         Notwithstanding anything in the Bidding Procedures to the contrary, the Qualified Bid for
 the Acquired Assets that the Debtors determine in their reasonable business judgment, in
 consultation with the Bid Consultation Parties, is the next highest or otherwise best Qualified
 Bid(s) with respect to such Acquired Assets, as applicable, at the Auction after the Successful
 Bid(s), will be designated as the “Backup Bid(s)” and the Bidder submitting such Backup Bid(s),
 the “Backup Bidder(s).” The Backup Bidder shall be required to keep the Backup Bid open and
 irrevocable until the earlier of 5:00 p.m. (prevailing Central Time) on the date that is sixty (60)
 days after the date of entry of the Sale Order (the “Outside Backup Date”) or the closing of the
 transaction with the Successful Bidder.

         Following entry of the Sale Order, if the Successful Bidder(s) fails to consummate the
 Successful Bid(s), the Debtors may, in consultation with the Bid Consultation Parties, designate
 the applicable Backup Bid to be the new Successful Bid and the Backup Bidder to be the new
 Successful Bidder, and the Debtors will be authorized, but not required, to consummate the
 transaction with the Backup Bidder without further order of the Bankruptcy Court. In such case



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 of a breach or failure to perform on the part of the Successful Bidder, the defaulting Successful
 Bidder’s deposit shall be forfeited to the Debtors. The Debtors specifically reserve the right to
 seek all available damages, including specific performance, from any defaulting Successful Bidder
 (including any Backup Bidder designated as a Successful Bidder) in accordance with the terms of
 the Bidding Procedures.

                                  Return of Good Faith Deposits

         The Good Faith Deposits of all Qualified Bidders shall be held in one or more accounts by
 the Debtors, but shall not become property of the Debtors’ estates; provided, however, that the
 Good Faith Deposit of any Successful Bidder (including any Backup Bidder that becomes a
 Successful Bidder) may be forfeited to the Debtors or credited towards the purchase price set forth
 in the Successful Bid, in either case as provided in these Bidding Procedures. The Good Faith
 Deposit of any Qualified Bidder that is neither the Successful Bidder nor the Backup Bidder shall
 be returned to such Qualified Bidder not later than seven (7) days after the Sale Hearing. The
 Good Faith Deposit of the Backup Bidder, if any, shall be returned to the Backup Bidder not later
 than three (3) business days after (i) the closing of the transaction with the Successful Bidder for
 the Acquired Assets bid upon by the Backup Bidder and (ii) the Outside Backup Date; provided,
 however, that if the Backup Bid becomes the Successful Bid as provided herein, any subsequent
 breach or failure to perform by the Backup Bidder may result in the forfeit of the Good Faith
 Deposit of the Backup Bidder to the Debtors. Upon the return of the Good Faith Deposits, their
 respective owners shall receive any and all interest that may have accrued thereon. If the
 Successful Bidder consummates the Successful Bid, its Good Faith Deposit shall be credited
 towards the purchase price set forth in the Successful Bid. The provisions of the Stalking Horse
 APA, if any, shall control the terms of the deposit advanced by the Stalking Horse Bidder.

                                      The Consultation Parties

         The Debtors shall consult with the lenders and agents under the Debtors’ prepetition
 Priority Term Loan Credit Agreement, FILO Term Loan Agreement and Exit Term Loan
 Agreement (collectively, the “Consultation Parties” and each, a “Consultation Party”) as
 explicitly provided for in these Bidding Procedures; provided, however, that, in certain
 circumstances as set forth in these Bidding Procedures, the Debtors shall consult only with the Bid
 Consultation Parties (as defined below). The “Bid Consultation Parties” shall be all Consultation
 Parties (and their respective counsel and advisors, if any) other than any Consultation Party (and
 its counsel and advisors, if any) that submits a Bid or has a Bid submitted on its behalf for so long
 as such Bid remains open. For the avoidance of doubt, the Debtors’ obligation to consult with the
 Consultation Parties may, in the Debtors’ discretion, be met by (i) consultation solely with the
 respective counsel and advisors, if any, to each of the Consultation Parties, as set forth in “Auction
 Qualification Process – Bid Deadline” above (collectively, the “Consultation Party Counsel and
 Advisors”); or (ii) consultation with each of the Consultation Parties and their Consultation Party
 Counsel and Advisors at the same time or in separate communications.

                               Reservation of Rights of the Debtors

         Except as otherwise provided in these Bidding Procedures or the Bidding Procedures
 Order, the Debtors further reserve the right, in their reasonable business judgment in consultation



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 with the Consultation Parties or, to the extent provided herein, the Bid Consultation Parties to: (i)
 determine which bidders are Qualified Bidders; (ii) determine which Bids are Qualified Bids; (iii)
 determine which Qualified Bid is the highest or otherwise best proposal and which is the next
 highest or otherwise best proposal; (iv) reject, at any time prior to the closing of the Auction or, if
 no Auction is held, at any time prior to entry of the Sale Order, any Bid that is (a) inadequate or
 insufficient, (b) not in conformity with the requirements of these Bidding Procedures, the
 requirements of the Bankruptcy Code, or (c) contrary to the best interests of the Debtors and their
 estates; (v) waive terms and conditions set forth herein with respect to all potential bidders; (vi)
 impose additional terms and conditions; (vii) extend the deadlines set forth herein; (viii) continue
 or cancel the Auction and/or Sale Hearing in open court, or by filing a notice on the docket of the
 Debtors’ Chapter 11 cases, without further notice; (ix) include any other party as a Consultation
 Party and attendee at the Auction; and (x) modify the Bidding Procedures and implement
 additional procedural rules for conducting the Auction so long as such rules are not inconsistent in
 any material respect with the Bankruptcy Code, the Bidding Procedures Order, or any other order
 of the Court.




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                                   Form APA




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                            Confidentiality Agreement




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                                   Sale Notice




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                         IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                    NORTHERN DIVISION


     In re:                                                       Chapter 11

     REMINGTON OUTDOOR COMPANY, INC.,                             Case No. 20-81688-11
     et al.,1
                                                                  Joint Administration Requested
                                 Debtors.


                      NOTICE OF SALE, AUCTION, AND SALE HEARING

         PLEASE TAKE NOTICE that, on July 27, 2020, the debtors and debtors in possession
 in the above-captioned Chapter 11 cases (collectively, the “Debtors”) filed voluntary petitions for
 relief under Chapter 11 of the Bankruptcy Code.

        PLEASE TAKE FURTHER NOTICE that, on July 27, 2020, the Debtors filed a motion
 (the “Motion”)2 with the United States Bankruptcy Court for the Northern District of Alabama
 (the “Bankruptcy Court”) seeking, among other things, entry of an order (the “Bidding
 Procedures Order”): (i) approving the proposed bidding procedures (the “Bidding Procedures”)
 by which the Debtors will solicit and select the highest or otherwise best offer for the sale of
 substantially all or a portion of their assets (the “Acquired Assets”) through one or more sales of
 the Acquired Assets (each, a “Sale Transaction” or “Sale”); (ii) establishing procedures for the
 assumption and assignment of executory contracts and unexpired leases, including notice of
 proposed cure amounts (the “Assumption and Assignment Procedures”); (iii) approving the
 form and manner of notice with respect to certain procedures, protections, schedules, and
 agreements, including the Debtors’ selection of one or more stalking horse bidders (each, a
 “Stalking Horse Bidder”), if any, and the provision of Bid Protections (as defined below) to such
 Stalking Horse Bidder, if necessary; (iv) scheduling (a) an auction (the “Auction”) if the Debtors
 receive two (2) or more timely and acceptable Qualified Bids (as defined below), and (b) a final
 hearing (the “Sale Hearing”) to approve one or more Sales of the Acquired Assets; and (v)
 granting related relief.

        PLEASE TAKE FURTHER NOTICE that, on [__], 2020, the Bankruptcy Court entered
 the Bidding Procedures Order [Doc. __].


 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.
 2
   Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.




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         PLEASE TAKE FURTHER NOTICE that pursuant to the Bidding Procedures Order,
 the Debtors may designate one or more Stalking Horse Bidders for the various segments of their
 business and may enter into an asset purchase agreement with each Stalking Horse Bidder (each,
 a “Stalking Horse APA”). In the event that the Debtors designate one or more Stalking Horse
 Bidders, the Debtors will provide three (3) business days’ notice and an opportunity to object to
 the designation of such Stalking Horse Bidder and disclosure of the Bid Protections set forth in the
 Stalking Horse APA.

         PLEASE TAKE FURTHER NOTICE that pursuant to the Bidding Procedures Order, if
 the Debtors receive two (2) or more timely and acceptable Qualified Bids for the same Acquired
 Assets, the Debtors will conduct the Auction on [__], 2020 at 10:00 a.m. (prevailing Central
 Time) virtually via video-conference technology, or such other place and time as the Debtors shall
 notify all Qualified Bidders and the Consultation Parties. Any party that wishes to take part in this
 process and submit a bid for the Acquired Assets must submit its Bid by [__], 2020 at 5:00 p.m.
 (prevailing Central Time) (the “Bid Deadline”) and in accordance with the Bidding Procedures.
 Only the Debtors, the Consultation Parties, any Stalking Horse Bidder, any other Qualified Bidder
 and/or other party as the Debtors may determine to include in their discretion, in each case, along
 with their representatives and advisors, shall be entitled to attend the Auction (such attendance to
 be in person via video-conference) and only Qualified Bidders will be entitled to make any
 Overbids at the Auction. The Debtors have the right to adjourn or cancel the Auction at or prior
 to the Auction. All interested or potentially affected parties should carefully read the Bidding
 Procedures and the Bidding Procedures Order.

         PLEASE TAKE FURTHER NOTICE the Sale Hearing to consider approval of the
 sale of the Acquired Assets to the Successful Bidder(s) at the Auction, free and clear of all
 liens, claims, interests, and encumbrances in accordance with Section 363(f) of the
 Bankruptcy Code, will be held before the Honorable Clifton R. Jessup, Jr., United States
 Bankruptcy Judge, 3rd Floor Courtroom, at the United States Bankruptcy Court for the
 Northern District of Alabama located at the U.S. Post Office and Courthouse, 400 Well
 Street, Decatur, Alabama, 35601 on [__], 2020 at 10:00 a.m. (prevailing Central Time).

         PLEASE TAKE FURTHER NOTICE that objections to the Sales(s), if any, must be
 filed and served so as to be actually received by the Objection Recipients no later than [__], 2020
 at 4:00 p.m. (prevailing Central Time).

         PLEASE TAKE FURTHER NOTICE that the Objection Recipients are: (i) proposed
 counsel for the Debtors, O’Melveny & Myers LLP, 400 South Hope Street, 18th Floor, Los
 Angeles, CA 90071, Attn:          Steve Warren (swarren@omm.com) and Jennifer Taylor
 (jtaylor@omm.com); (ii) proposed co-counsel for the Debtors, Burr & Forman LLP, 420 North
 20th Street, Suite 3400, Birmingham, Alabama 35203, Attn: Derek Meek (dmeek@burr.com) and
 Hanna Lahr (hlahr@burr.com); (iii) counsel for the Restructuring Committee, Akin Gump Strauss
 Hauer & Feld LLP, 2300 N. Field Street, Suite 1800, Dallas, TX 75201, Attn: Sarah Schultz
 (sschultz@akingump.com); (iv) counsel for the Committee, if any; (v) the Bankruptcy
 Administrator, 400 Well Street, Decatur, Alabama 35602, Attn:                 Richard Blythe
 (richard_blythe@alnba.uscourts.gov); (vi) counsel to the Stalking Horse Bidder, if any; (vii)
 counsel to the FILO Lenders, Pillsbury Winthrop Shaw Pittman LLP, Four Embarcadero
 Center, 22nd Floor, San Francisco, CA 94111-5998, Attn: Joshua D. Morse



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 (joshua.morse@pillsburylaw.com) and Andrew V. Alfano (andrew.alfano@pillsburylaw.com);
 (viii) counsel to Whitebox Advisors LLC, Brown Rudnick LLP, One Financial Center, Boston,
 Massachusetts 02111, Attn: Andreas Andromalos (aandromalos@brownrudnick.com) and Tia C.
 Wallach (twallach@brownrudnick.com); and (ix) all parties that have requested notice in the
 Chapter 11 Cases.

      PLEASE TAKE FURTHER NOTICE THAT UNLESS AN OBJECTION IS
 TIMELY SERVED AND FILED IN ACCORDANCE WITH THIS NOTICE, IT MAY NOT
 BE CONSIDERED BY THE BANKRUPTCY COURT AND THE BANKRUPTCY COURT
 MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER
 HEARING AND NOTICE.

         PLEASE TAKE FURTHER NOTICE that this Notice of Sale, Auction, and Sale
 Hearing is subject to the terms and conditions of the Motion and the Bidding Procedures Order,
 with such Bidding Procedures Order controlling in the event of any conflict, and the Debtors
 encourage parties in interest to review such documents in their entirety. Parties interested in
 receiving more information regarding the sale of the Acquired Assets and/or copies of any related
 document, including the Motion or the Bidding Procedures Order, may make a written request to:
 Ducera Partners, Attn: Bradley Meyer (bmeyer@ducerpartners.com) and O’Melveny & Myers
 LLP, Attn: Steve Warren (swarren@omm.com) and Jennifer Taylor (jtaylor@omm.com). In
 addition, copies of the Motion and attached Form APA, the Bidding Procedures Order and this
 Notice may be examined by interested parties (i) free of charge at the website established for these
 Chapter      11    cases     by    the    Debtors’      claims     agent,     Prime     Clerk,    at
 https://cases.primeclerk.com/RemingtonOutdoor, or (ii) on the Bankruptcy Court’s electronic
 docket for the Debtors’ Chapter 11 cases, which is posted on the Internet at www.alnb.uscourts.gov
 (a PACER login and password are required and can be obtained through the PACER Service
 Center at www.pacer.psc.uscourts.gov).



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 Dated:        [___], 2020


                                            BURR & FORMAN LLP
                                            Derek F. Meek
                                            Hanna Lahr
                                            420 North 20th Street, Suite 3400
                                            Birmingham, Alabama 35203
                                            Telephone: (205) 251-3000
                                            Facsimile: (205) 458-5100
                                            Email: dmeek@burr.com
                                                   hlahr@burr.com

                                            - and -

                                            O’MELVENY & MYERS LLP
                                            Stephen H. Warren (pro hac vice pending)
                                            Karen Rinehart (pro hac vice pending)
                                            400 South Hope Street
                                            Los Angeles, CA 90071-2899
                                            Telephone: (213) 430-6000
                                            Facsimile: (213) 430-6407

                                            Jennifer Taylor (pro hac vice pending)
                                            Two Embarcadero Center, 28th Floor
                                            San Francisco, CA 94111
                                            Telephone: (415) 984-8700
                                            Facsimile: (415) 984-8701

                                            Proposed Attorneys for the
                                            Debtors and Debtors in Possession




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                                Publication Notice




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                         IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                    NORTHERN DIVISION


     In re:                                                       Chapter 11

     REMINGTON OUTDOOR COMPANY, INC.,                             Case No. 20-81688-11
     et al.,1
                                                                  Joint Administration Requested
                                 Debtors.


                      NOTICE OF SALE, AUCTION, AND SALE HEARING

         PLEASE TAKE NOTICE that, on July 27, 2020, the debtors and debtors in possession
 in the above-captioned Chapter 11 cases (collectively, the “Debtors”) filed voluntary petitions for
 relief under Chapter 11 of the Bankruptcy Code.

        PLEASE TAKE FURTHER NOTICE that, on July 27, 2020, the Debtors filed a motion
 (the “Motion”)2 with the United States Bankruptcy Court for the Northern District of Alabama
 (the “Bankruptcy Court”) seeking, among other things, entry of an order (the “Bidding
 Procedures Order”): (i) approving the proposed bidding procedures (the “Bidding Procedures”)
 by which the Debtors will solicit and select the highest or otherwise best offer for the sale of
 substantially all or a portion of their assets (the “Acquired Assets”) through one or more sales of
 the Acquired Assets (each, a “Sale Transaction” or “Sale”); (ii) establishing procedures for the
 assumption and assignment of executory contracts and unexpired leases, including notice of
 proposed cure amounts (the “Assumption and Assignment Procedures”); (iii) approving the
 form and manner of notice with respect to certain procedures, protections, schedules, and
 agreements, including the Debtors’ selection of one or more stalking horse bidders (each, a
 “Stalking Horse Bidder”), if any, and the provision of Bid Protections (as defined below) to such
 Stalking Horse Bidder, if necessary; (iv) scheduling (a) an auction (the “Auction”) if the Debtors
 receive two (2) or more timely and acceptable Qualified Bids (as defined below), and (b) a final
 hearing (the “Sale Hearing”) to approve one or more Sales of the Acquired Assets; and (v)
 granting related relief.




 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.
 2
   Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.




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     1) ASSET PURCHASE AGREEMENT

         The Debtors filed a form asset purchase agreement with the Motion (the “Form APA”).
 Pursuant to the Bidding Procedures Order, the Debtors may designate one or more Stalking Horse
 Bidders for the various segments of their business and may enter into an asset purchase agreement
 with each Stalking Horse Bidder (each, a “Stalking Horse APA”). In the event that the Debtors
 designate one or more Stalking Horse Bidders, the Debtors will provide three (3) business days’
 notice and an opportunity to object to the designation of such Stalking Horse Bidder and disclosure
 of the Bid Protections set forth in the Stalking Horse APA.

     2) AUCTION

         Pursuant to the Bidding Procedures Order, if the Debtors receive two (2) or more timely
 and acceptable Qualified Bids for the same Acquired Assets, the Debtors will conduct the Auction
 on [__], 2020 at 10:00 a.m. (prevailing Central Time) virtually via video-conference technology,
 or such other place and time as the Debtors shall notify all Qualified Bidders and the Consultation
 Parties. Any party that wishes to take part in this process and submit a bid for the Acquired Assets
 must submit its Bid by [__], 2020 at 5:00 p.m. (prevailing Central Time) (the “Bid Deadline”)
 and in accordance with the Bidding Procedures. Only the Debtors, the Consultation Parties, any
 Stalking Horse Bidder, any other Qualified Bidder and/or other party as the Debtors may determine
 to include in their discretion, in each case, along with their representatives and advisors, shall be
 entitled to attend the Auction (such attendance to be in person via video-conference) and only
 Qualified Bidders will be entitled to make any Overbids at the Auction. The Debtors have the
 right to adjourn or cancel the Auction at or prior to the Auction. All interested or potentially
 affected parties should carefully read the Bidding Procedures and the Bidding Procedures
 Order.

     3) SALE HEARING

         The Sale Hearing to consider approval of the sale of the Acquired Assets to the
 Successful Bidder(s) at the Auction, free and clear of all liens, claims, interests, and
 encumbrances in accordance with Section 363(f) of the Bankruptcy Code, will be held before
 the Honorable Clifton R. Jessup, Jr., United States Bankruptcy Judge, 3rd Floor Courtroom,
 at the United States Bankruptcy Court for the Northern District of Alabama located at the
 U.S. Post Office and Courthouse, 400 Well Street, Decatur, Alabama, 35601 on [__], 2020 at
 10:00 a.m. (prevailing Central Time). Objections to the Sales(s), if any, must be filed and served
 so as to be actually received by the Objection Recipients no later than [__], 2020 at 4:00 p.m.
 (prevailing Central Time). The Objection Recipients are: (i) proposed counsel for the Debtors,
 O’Melveny & Myers LLP, 400 South Hope Street, 18th Floor, Los Angeles, CA 90071, Attn:
 Steve Warren (swarren@omm.com) and Jennifer Taylor (jtaylor@omm.com); (ii) proposed
 co-counsel for the Debtors, Burr & Forman LLP, 420 North 20th Street, Suite 3400, Birmingham,
 Alabama 35203, Attn: Derek Meek (dmeek@burr.com) and Hanna Lahr (hlahr@burr.com); (iii)
 counsel for the Restructuring Committee, Akin Gump Strauss Hauer & Feld LLP, 2300 N. Field
 Street, Suite 1800, Dallas, TX 75201, Attn: Sarah Schultz (sschultz@akingump.com); (iv) counsel
 for the Committee, if any; (v) the Bankruptcy Administrator, 400 Well Street, Decatur, Alabama
 35602, Attn: Richard Blythe (richard_blythe@alnba.uscourts.gov); (vi) counsel to the Stalking
 Horse Bidder, if any; (vii) counsel to the FILO Lenders, Pillsbury Winthrop Shaw Pittman LLP,



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 Four Embarcadero Center, 22nd Floor, San Francisco, CA 94111-5998, Attn: Joshua D. Morse
 (joshua.morse@pillsburylaw.com) and Andrew V. Alfano (andrew.alfano@pillsburylaw.com);
 (viii) counsel to Whitebox Advisors LLC, Brown Rudnick LLP, One Financial Center, Boston,
 Massachusetts 02111, Attn: Andreas Andromalos (aandromalos@brownrudnick.com) and Tia C.
 Wallach (twallach@brownrudnick.com); and (ix) all parties that have requested notice in the
 Chapter 11 Cases.

      PLEASE TAKE FURTHER NOTICE THAT UNLESS AN OBJECTION IS
 TIMELY SERVED AND FILED IN ACCORDANCE WITH THIS NOTICE, IT MAY NOT
 BE CONSIDERED BY THE BANKRUPTCY COURT AND THE BANKRUPTCY COURT
 MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER
 HEARING AND NOTICE.

     4) COPIES OF THE MOTION AND BIDDING PROCEDURES ORDER

         This Notice of Sale, Auction, and Sale Hearing is subject to the terms and conditions of the
 Motion and the Bidding Procedures Order, with such Bidding Procedures Order controlling in the
 event of any conflict, and the Debtors encourage parties in interest to review such documents in
 their entirety. Parties interested in receiving more information regarding the sale of the Acquired
 Assets and/or copies of any related document, including the Motion or the Bidding Procedures
 Order, may make a written request to: Ducera Partners, Attn:                       Bradley Meyer
 (bmeyer@ducerpartners.com) and O’Melveny & Myers LLP, Attn: Steve Warren
 (swarren@omm.com) and Jennifer Taylor (jtaylor@omm.com). In addition, copies of the Motion
 and attached Form APA, the Bidding Procedures Order and this Notice may be examined by
 interested parties (i) free of charge at the website established for these Chapter 11 cases by the
 Debtors’ claims agent, Prime Clerk, at https://cases.primeclerk.com/RemingtonOutdoor, or (ii) on
 the Bankruptcy Court’s electronic docket for the Debtors’ Chapter 11 cases, which is posted on
 the Internet at www.alnb.uscourts.gov (a PACER login and password are required and can be
 obtained through the PACER Service Center at www.pacer.psc.uscourts.gov).




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                                   Exhibit E

                               Post-Auction Notice




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                         IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                    NORTHERN DIVISION


     In re:                                                       Chapter 11

     REMINGTON OUTDOOR COMPANY, INC.,                             Case No. 20-81688-11
     et al.,1
                                                                  Joint Administration Requested
                                 Debtors.



        NOTICE OF SUCCESSFUL AND BACKUP BIDDERS WITH RESPECT TO THE
                      AUCTIONS OF THE DEBTORS’ ASSETS

        PLEASE TAKE NOTICE that, on [__], 2020, the United States Bankruptcy Court for the
 Northern District of Alabama (the “Bankruptcy Court”) entered an order [Doc. __] (the “Bidding
 Procedures Order”): (i) approving the proposed bidding procedures (the “Bidding Procedures”)
 by which the Debtors will solicit and select the highest or otherwise best offer for the sale of
 substantially all or a portion of their assets (the “Acquired Assets”) through one or more sales of
 the Acquired Assets (each, a “Sale Transaction” or “Sale”); (ii) establishing procedures for the
 assumption and assignment of executory contracts and unexpired leases, including notice of
 proposed cure amounts (the “Assumption and Assignment Procedures”); (iii) approving the
 form and manner of notice with respect to certain procedures, protections, schedules, and
 agreements, including the Debtors’ selection of one or more stalking horse bidders (each, a
 “Stalking Horse Bidder”), if any, and the provision of Bid Protections (as defined below) to such
 Stalking Horse Bidder, if necessary; (iv) scheduling (a) an auction (the “Auction”) if the Debtors
 receive two (2) or more timely and acceptable Qualified Bids (as defined below), and (b) a final
 hearing (the “Sale Hearing”) to approve one or more Sales of the Acquired Assets; and (v)
 granting related relief.

         PLEASE TAKE FURTHER NOTICE that, on [__], 2020 at 10:00 a.m. (prevailing
 Central Time), pursuant to the Bidding Procedures Order, the Debtors conducted the Auction(s)
 with respect to certain of the Acquired Assets.




 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.




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        PLEASE TAKE FURTHER NOTICE that, at the conclusion of the Auction, the Debtors,
 in consultation with their professionals and the Bid Consultation Parties, selected the following
 Successful Bidder(s) and Backup Bidder(s) with respect to the Acquired Assets:

  Asset(s)                         Successful Bidder                Backup Bidder




         PLEASE TAKE FURTHER NOTICE that the Sale Hearing to consider approval of
 the sale of the Acquired Assets to the Successful Bidder(s) at the Auction, free and clear of
 all liens, claims, interests, and encumbrances in accordance with Section 363(f) of the
 Bankruptcy Code, will be held before the Honorable Clifton R. Jessup, Jr., United States
 Bankruptcy Judge, 3rd Floor Courtroom, at the United States Bankruptcy Court for the
 Northern District of Alabama located at the U.S. Post Office and Courthouse, 400 Well
 Street, Decatur, Alabama, 35601 on [__], 2020 at 10:00 a.m. (prevailing Central Time). The
 Sale Hearing may be adjourned or rescheduled without notice.

         PLEASE TAKE FURTHER NOTICE that, at the Sale Hearing, the Debtors will seek
 Bankruptcy Court approval of the Successful Bid(s) and the Backup Bid(s) (if any). Unless the
 Bankruptcy Court orders otherwise, the Sale Hearing shall be an evidentiary hearing on matters
 relating to the Sale Transaction(s) and there will be no further bidding at the Sale Hearing. In the
 event that the Successful Bidder(s) cannot or refuses to consummate the Sale(s) because of the
 breach or failure on the part of the Successful Bidder, the Backup Bidder will be deemed the new
 Successful Bidder and the Debtors shall be authorized, but not required, to close with the Backup
 Bidder on the Backup Bid without further order of the Bankruptcy Court.

         PLEASE TAKE FURTHER NOTICE that this Notice of Successful and Backup Bidders
 is subject to the terms and conditions of the Motion and the Bidding Procedures Order, with such
 Bidding Procedures Order controlling in the event of any conflict, and the Debtors encourage
 parties in interest to review such documents in their entirety. Parties interested in receiving more
 information regarding the sale of the Acquired Assets and/or copies of any related document,
 including the Motion or the Bidding Procedures Order, may make a written request to: Ducera
 Partners, Attn: Bradley Meyer (bmeyer@ducerpartners.com) and O’Melveny & Myers LLP, Attn:
 Steve Warren (swarren@omm.com) and Jennifer Taylor (jtaylor@omm.com). In addition, copies
 of the Motion and attached Form APA, the Bidding Procedures Order and this Notice may be
 examined by interested parties (i) free of charge at the website established for these Chapter 11
 cases        by        the      Debtors’      claims        agent,       Prime         Clerk,     at
 https://cases.primeclerk.com/RemingtonOutdoor, or (ii) on the Bankruptcy Court’s electronic
 docket for the Debtors’ Chapter 11 cases, which is posted on the Internet at www.alnb.uscourts.gov
 (a PACER login and password are required and can be obtained through the PACER Service
 Center at www.pacer.psc.uscourts.gov).


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 Dated:        [___], 2020


                                            BURR & FORMAN LLP
                                            Derek F. Meek
                                            Hanna Lahr
                                            420 North 20th Street, Suite 3400
                                            Birmingham, Alabama 35203
                                            Telephone: (205) 251-3000
                                            Facsimile: (205) 458-5100
                                            Email: dmeek@burr.com
                                                   hlahr@burr.com

                                            - and -

                                            O’MELVENY & MYERS LLP
                                            Stephen H. Warren (pro hac vice pending)
                                            Karen Rinehart (pro hac vice pending)
                                            400 South Hope Street
                                            Los Angeles, CA 90071-2899
                                            Telephone: (213) 430-6000
                                            Facsimile: (213) 430-6407

                                            Jennifer Taylor (pro hac vice pending)
                                            Two Embarcadero Center, 28th Floor
                                            San Francisco, CA 94111
                                            Telephone: (415) 984-8700
                                            Facsimile: (415) 984-8701

                                            Proposed Attorneys for the
                                            Debtors and Debtors in Possession




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                                   Exhibit F

                        Assumption and Assignment Notice




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                         IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                    NORTHERN DIVISION


     In re:                                                       Chapter 11

     REMINGTON OUTDOOR COMPANY, INC.,                             Case No. 20-81688-11
     et al.,1
                                                                  Joint Administration Requested
                                 Debtors.



 NOTICE OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES THAT MAY BE
 ASSUMED AND ASSIGNED IN CONNECTION WITH THE SALE OF THE DEBTORS’
     ASSETS AND THE PROPOSED CURE COST WITH RESPECT THERETO

 YOU ARE RECEIVING THIS NOTICE OF EXECUTORY CONTRACTS AND
 UNEXPIRED LEASES THAT MAY BE ASSUMED AND ASSIGNED IN CONNECTION
 WITH THE SALE OF THE DEBTORS’ ASSETS AND THE PROPOSED CURE
 AMOUNT WITH RESPECT THERETO (THE “NOTICE OF ASSUMPTION AND
 ASSIGNMENT”) BECAUSE YOU MAY BE A COUNTERPARTY TO AN EXECUTORY
 CONTRACT OR UNEXPIRED LEASE WITH REMINGTON OUTDOOR COMPANY
 OR ONE OR MORE OF ITS AFFILIATED DEBTORS (COLLECTIVELY, THE
 “DEBTORS”). PLEASE READ THIS NOTICE CAREFULLY AS YOUR RIGHTS MAY
 BE AFFECTED BY THE TRANSACTIONS DESCRIBED HEREIN.

          PLEASE TAKE NOTICE that on July 27, 2020, the Debtors filed a motion (the
 “Motion”)2 with the United States Bankruptcy Court for the Northern District of Alabama (the
 “Bankruptcy Court”) seeking, among other things, entry of an order (the “Bidding Procedures
 Order”): (i) approving the proposed bidding procedures (the “Bidding Procedures”) by which
 the Debtors will solicit and select the highest or otherwise best offer for the sale of substantially
 all or a portion of their assets (the “Acquired Assets”) through one or more sales of the Acquired
 Assets (each, a “Sale Transaction” or “Sale”); (ii) establishing procedures for the assumption and
 assignment of executory contracts and unexpired leases, including notice of proposed cure
 amounts (the “Assumption and Assignment Procedures”); (iii) approving the form and manner
 of notice with respect to certain procedures, protections, schedules, and agreements, including the

 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.
 2
   Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.




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 Debtors’ selection of one or more stalking horse bidders (each, a “Stalking Horse Bidder”), if
 any, and the provision of Bid Protections (as defined below) to such Stalking Horse Bidder, if
 necessary; (iv) scheduling (a) an auction (the “Auction”) if the Debtors receive two (2) or more
 timely and acceptable Qualified Bids (as defined below), and (b) a final hearing (the “Sale
 Hearing”) to approve one or more Sales of the Acquired Assets; and (v) granting related relief.

        PLEASE TAKE FURTHER NOTICE that on [__], 2020, the Bankruptcy Court entered
 the Bidding Procedures Order [Doc. __].

          PLEASE TAKE FURTHER NOTICE that the Bidding Procedures Order, among other
 things, established procedures for the assumption and assignment of certain executory contracts
 and unexpired leases that the Debtors believe they might seek to assume and assign in connection
 with a Sale Transaction (collectively, the “Designated Contracts”) to a purchaser and the
 determination of related Cure Costs (as defined below). The Debtors are parties to numerous
 Designated Contracts and, in accordance with the Bidding Procedures Order, hereby file this notice
 identifying (i) the Designated Contracts, which may be assumed and assigned to the Stalking Horse
 Bidder, if any, or such other Successful Bidder(s) in connection with the Sale Transaction(s) and
 (ii) the proposed amounts, if any, the Debtors believe are owed to the counterparty to the
 Designated Contract to cure any defaults or arrears existing under the Designated Contract (the
 “Cure Costs”), both as set forth on Exhibit 1 attached hereto. Other than the Cure Costs listed on
 Exhibit 1, the Debtors are not aware of any amounts due and owing under the Designated Contracts
 listed therein.

        PLEASE TAKE FURTHER NOTICE that the hearing to approve the sale of the
 Acquired Assets (the “Sale Hearing”) will be held before the Honorable Clifton R. Jessup, Jr.,
 United States Bankruptcy Judge, 3rd Floor Courtroom, at the United States Bankruptcy Court for
 the Northern District of Alabama located at the U.S. Post Office and Courthouse, 400 Well Street,
 Decatur, Alabama, 35601 on [__], 2020 at 10:00 a.m. (prevailing Central Time).

         PLEASE TAKE FURTHER NOTICE that the listing of a Designated Contract on
 Exhibit 1 does not constitute an admission that the Designated Contract is an executory contract
 or unexpired lease as contemplated by Section 365(a) of the Bankruptcy Code or that the Debtors
 have any liability thereunder, and the Debtors expressly reserve all of their rights, claims, causes
 of action, and defenses with respect to the Designated Contracts listed on Exhibit 1.

         PLEASE TAKE FURTHER NOTICE that a counterparty to a Designated Contract listed
 on this Notice of Assumption and Assignment may file an objection (a “Designated Contract
 Objection”) only if such objection is to the proposed assumption and assignment of the applicable
 Designated Contract or the proposed Cure Costs, if any. All Designated Contract Objections must
 (1) state, with specificity, the legal and factual basis for the objection as well as what Cure Costs
 are required, if any, (2) include appropriate documentation in support thereof, and (3) be filed and
 served on the Objection Recipients no later than 4:00 p.m. (prevailing Central Time) fourteen
 (14) days following the Assumption and Assignment Service Date (the “Assignment and
 Assumption Objection Deadline”).

        PLEASE TAKE FURTHER NOTICE that the Objection Recipients are: (i) proposed
 counsel for the Debtors, O’Melveny & Myers LLP, 400 South Hope Street, 18th Floor, Los



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 Angeles, CA 90071, Attn:          Steve Warren (swarren@omm.com) and Jennifer Taylor
 (jtaylor@omm.com); (ii) proposed co-counsel for the Debtors, Burr & Forman LLP, 420 North
 20th Street, Suite 3400, Birmingham, Alabama 35203, Attn: Derek Meek (dmeek@burr.com) and
 Hanna Lahr (hlahr@burr.com); (iii) counsel for the Restructuring Committee, Akin Gump Strauss
 Hauer & Feld LLP, 2300 N. Field Street, Suite 1800, Dallas, TX 75201, Attn: Sarah Schultz
 (sschultz@akingump.com); (iv) counsel for the Committee, if any; (v) the Bankruptcy
 Administrator, 400 Well Street, Decatur, Alabama 35602, Attn:                 Richard Blythe
 (richard_blythe@alnba.uscourts.gov); (vi) counsel to the Stalking Horse Bidder, if any; (vii)
 counsel to the FILO Lenders, Pillsbury Winthrop Shaw Pittman LLP, Four Embarcadero
 Center, 22nd Floor, San Francisco, CA 94111-5998, Attn: Joshua D. Morse
 (joshua.morse@pillsburylaw.com) and Andrew V. Alfano (andrew.alfano@pillsburylaw.com);
 (viii) counsel to Whitebox Advisors LLC, Brown Rudnick LLP, One Financial Center, Boston,
 Massachusetts 02111, Attn: Andreas Andromalos (aandromalos@brownrudnick.com) and Tia C.
 Wallach (twallach@brownrudnick.com); and (ix) all parties that have requested notice in the
 Chapter 11 Cases.

      PLEASE TAKE FURTHER NOTICE THAT IF A COUNTERPARTY TO A
 DESIGNATED CONTRACT FILES A DESIGNATED CONTRACT OBJECTION IN A
 MANNER THAT IS CONSISTENT WITH THE REQUIREMENTS SET FORTH ABOVE,
 AND THE PARTIES ARE UNABLE TO CONSENSUALLY RESOLVE THE DISPUTE
 PRIOR TO THE SALE HEARING, THE AMOUNT TO BE PAID OR RESERVED WITH
 RESPECT TO SUCH OBJECTION WILL BE DETERMINED AT THE SALE HEARING,
 SUCH LATER HEARING DATE THAT THE DEBTORS DETERMINE IN THEIR
 DISCRETION, OR SUCH OTHER DATE DETERMINED BY THIS COURT. ALL
 OTHER OBJECTIONS TO THE PROPOSED ASSUMPTION AND ASSIGNMENT OF
 THE DEBTORS’ RIGHT, TITLE, AND INTEREST IN, TO, AND UNDER THE
 DESIGNATED CONTRACTS WILL BE HEARD AT THE SALE HEARING.

          PLEASE TAKE FURTHER NOTICE that if the counterparty to a Designated Contract
 does not timely file and serve a Designated Contract Objection that is consistent with the
 requirements set forth above by the Assignment and Assumption Objection Deadline, such
 counterparty will be deemed to have consented to the assumption and assignment of the
 Designated Contract to a Successful Bidder, notwithstanding any anti-alienation provision or other
 restriction on assumption or assignment in the Designated Contract, and shall be forever barred
 from asserting any objection with regard to such assumption and assignment and/or Cure Costs set
 forth in Exhibit 1, except with respect to the adequate assurance of future performance by the
 Successful Bidder(s). Any objections to any Stalking Horse Bidder or Successful Bidder’s
 proposed form of adequate assurance of future performance must be raised at the Sale Hearing or
 Supplemental Designated Contract Hearing, as applicable, and will be resolved at the hearing at
 which it is raised or, in the Debtors’ discretion, adjourned to a later hearing.

          PLEASE TAKE FURTHER NOTICE that although the Debtors have made a good faith
 effort to identify all Designated Contracts that might be assumed and assigned in connection with
 a Sale Transaction, the Debtors may discover certain contracts inadvertently omitted from the
 Designated Contracts list or Successful Bidder(s) may identify other executory contracts or
 unexpired leases that they desire to assume and assign in connection with the Sale. Accordingly,
 the Debtors have reserved the right, at any time after the Assumption and Assignment Service Date



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 and before the closing of a Sale Transaction, to (i) supplement the list of Designated Contracts on
 this Notice of Assumption and Assignment with previously omitted Designated Contracts in
 accordance with the definitive agreement for a Sale Transaction, (ii) remove a Designated Contract
 from the list of contracts ultimately selected as a Designated Contract that a Successful Bidder
 proposes be assumed and assigned to it in connection with a Sale Transaction, and/or (iii) modify
 the previously stated Cure Cost associated with any Designated Contract.

         PLEASE TAKE FURTHER NOTICE that in the event that the Debtors exercise any of
 the rights reserved above, the Debtors will promptly serve a supplemental notice of assumption
 and assignment (a “Supplemental Notice of Assumption and Assignment”) by electronic
 transmission, hand delivery, or overnight mail on the counterparty (and its attorney, if known) to
 each impacted Designated Contract at the last known address available to the Debtors.

         PLEASE TAKE FURTHER NOTICE that this Notice of Assumption and Assignment
 is subject to the terms and conditions of the Motion and the Bidding Procedures Order, with such
 Bidding Procedures Order controlling in the event of any conflict, and the Debtors encourage
 parties-in-interest to review such documents in their entirety. Parties with questions regarding the
 Assumption and Assignment Procedures contained herein should contact the Debtors’ counsel at
 the contact information provided below.

        PLEASE TAKE FURTHER NOTICE that the inclusion of a Designated Contract on
 this Notice of Assumption and Assignment (or Supplemental Notice of Assumption and
 Assignment) will not obligate the Debtors to assume any Designated Contract listed thereon or the
 Successful Bidder(s) to take assignment of such Designated Contract. Only those Designated
 Contracts that are included on a schedule of assumed and assigned executory contracts and
 unexpired leases attached to the final purchase agreement with the Successful Bidder(s) (each, an
 “Acquired Contract”) will be assumed and assigned to the Successful Bidder(s).



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 Dated:        [___], 2020


                                            BURR & FORMAN LLP
                                            Derek F. Meek
                                            Hanna Lahr
                                            420 North 20th Street, Suite 3400
                                            Birmingham, Alabama 35203
                                            Telephone: (205) 251-3000
                                            Facsimile: (205) 458-5100
                                            Email: dmeek@burr.com
                                                   hlahr@burr.com

                                            - and -

                                            O’MELVENY & MYERS LLP
                                            Stephen H. Warren (pro hac vice pending)
                                            Karen Rinehart (pro hac vice pending)
                                            400 South Hope Street
                                            Los Angeles, CA 90071-2899
                                            Telephone: (213) 430-6000
                                            Facsimile: (213) 430-6407

                                            Jennifer Taylor (pro hac vice pending)
                                            Two Embarcadero Center, 28th Floor
                                            San Francisco, CA 94111
                                            Telephone: (415) 984-8700
                                            Facsimile: (415) 984-8701

                                            Proposed Attorneys for the
                                            Debtors and Debtors in Possession




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